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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO



  UNITED STATES OF AMERICA ex rel.
  [SEALED], and on behalf of the STATES of        Case Number: 1:19-cv-00771 [UNDER SEAL]
  CALIFORNIA, COLORADO,
  CONNECTICUT, DELAWARE, FLORIDA,
  GEORGIA, HAWAII, ILLINOIS, INDIANA,             Jury Trial Demanded
  IOWA, LOUISIANA, MARYLAND,
  MICHIGAN, MINNESOTA, MONTANA,
  NEVADA, NEW JERSEY, NEW MEXICO,                       QUI TAM FALSE CLAIMS ACT
  NEW YORK, NORTH CAROLINA,                                    COMPLAINT
  OKLAHOMA, RHODE ISLAND,
  TENNESSEE, TEXAS, VERMONT,
  WASHINGTON, the COMMONWEALTH
  OF MASSACHUSETTS, the                                      FILED UNDER SEAL
  COMMONWEALTH OF VIRGINIA, the
  COMMONWEALTH OF PUERTO RICO,
  the DISTRICT OF COLUMBIA, the CITY
  OF CHICAGO, the CITY OF
  HALLANDALE BEACH, BROWARD
  COUNTY, and MIAMI-DADE COUNTY,                    FIRST AMENDED COMPLAINT FOR
                                                   VIOLATIONS OF THE FALSE CLAIMS
       Plaintiffs-Relators,                       ACT, STATE LAW COUNTERPARTS, AND
                                                       LOCAL LAW COUNTERPARTS
  v.

  [SEALED],

       Defendant.




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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO



  UNITED STATES OF AMERICA ex rel.
  JAMES MARCILLA and ISELA CHAVEZ,                 Case Number: 1:19-cv-00771
  and on behalf of the STATES of
  CALIFORNIA, COLORADO,
  CONNECTICUT, DELAWARE, FLORIDA,                  Jury Trial Demanded
  GEORGIA, HAWAII, ILLINOIS, INDIANA,
  IOWA, LOUISIANA, MARYLAND,
  MICHIGAN, MINNESOTA, MONTANA,
  NEVADA, NEW JERSEY, NEW MEXICO,
  NEW YORK, NORTH CAROLINA,
  OKLAHOMA, RHODE ISLAND,
  TENNESSEE, TEXAS, VERMONT,                        FIRST AMENDED COMPLAINT FOR
  WASHINGTON, the COMMONWEALTH                     VIOLATIONS OF THE FALSE CLAIMS
  OF MASSACHUSETTS, the                             ACT, STATE LAW COUNTERPARTS,
  COMMONWEALTH OF VIRGINIA, the                     AND LOCAL LAW COUNTERPARTS
  COMMONWEALTH OF PUERTO RICO,
  the DISTRICT OF COLUMBIA, the CITY
  OF CHICAGO, the CITY OF
  HALLANDALE BEACH, BROWARD
  COUNTY, and MIAMI-DADE COUNTY,

       Plaintiffs-Relators,

  v.

  WALMART INC.,

       Defendant.




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       FIRST AMENDED COMPLAINT FOR FALSE CLAIMS ACT VIOLATIONS
          UNDER 31 U.S.C. § 3729, ET SEQ., STATE LAW COUNTERPARTS,
                      AND LOCAL LAW COUNTERPARTS

                On behalf of the United States of America (“United States”); twenty-six States, the

 District of Columbia, the Commonwealths of Massachusetts, Puerto Rico, and Virginia

 (collectively, the “Whistleblower States”), and the City of Chicago, Miami-Dade County, the City

 of Hallandale Beach, and Broward County, Relators hereby file this First Amended Complaint

 against Defendant Walmart, Inc. (hereinafter “Walmart” or “Defendant”), pursuant to the qui tam

 provisions of the federal False Claims Act, State Whistleblower Statutes and Locality

 Whistleblowers Ordinances.1


 1
   See 31 U.S.C. §§ 3729 et seq. (“FCA”); the California False Claims Act, Cal. Gov’t Code §§
 12650 et seq.; the Colorado Medicaid False Claims Act, Colo. Rev. Stat. §§ 25.5-4-304 et seq.;
 the Connecticut False Claims Act, Conn. Gen. Stat. tit. 4 Ch. 55e §§ 4-274 et seq.; the Delaware
 False Claims and Reporting Act, Del. Code Ann. tit. 6, §§ 1201 et seq.; the District of Columbia
 False Claims Act, D.C. Code §§ 2-308.13 et seq.; the Florida False Claims Act, Fla. Stat. tit. 6, §§
 68.081 et seq.; the Georgia False Medicaid Claims Act, Ga. Code Ann. §§ 49-4-168 et seq.; the
 Hawaii False Claims Act, Haw. Rev. Stat. §§ 661-21 et seq.; the Illinois False Claims Act, 740 Ill.
 Comp. Stat. §§ 175/1 et seq.; the Indiana Medicaid False Claims and Whistleblower Protection
 Act, Ind. Code §§ 5-11-5.7 et seq.; the Iowa False Claims Act, Iowa Code §§ 685.1 et seq.; the
 Louisiana Medical Assistance Programs Integrity Law, La. Rev. Stat. Ann. §§ 46:437.1 et seq.;
 the Maryland False Health Claims Act, Md. Code Ann., Health-Gen. §§ 2-601 et seq.; the
 Massachusetts False Claims Act, Mass. Gen. Laws ch. 12, §§ 5A et seq.; the Michigan Medicaid
 False Claims Act, Mich. Comp. Laws §§ 400.601 et seq.; the Minnesota False Claims Act, Minn.
 Stat. §§ 15C.01 et seq.; the Montana False Claims Act, Mont. Code Ann. §§ 17-8-401 et seq.; the
 Nevada False Claims Act, Nev. Rev. Stat. §§ 357.010 et seq.; the New Jersey False Claims Act,
 N.J. Stat. Ann. §§ 2A:32C-1 et seq.; the New Mexico Fraud Against Taxpayers Act, N.M. Stat.
 Ann. §§ 44-9-3(C)(1) et seq.; the New York False Claims Act, N.Y. State Fin. Law Art. XIII §§
 187 et seq.; the North Carolina False Claims Act, N.C. Gen. Stat. §§ 1-605 et seq.; the Oklahoma
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 R.I. Gen. Laws §§ 9-1.1-1 et seq.; the Tennessee Medicaid False Claims Act, Tenn. Code Ann. §§
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 et seq.; the Texas Medical Assistance Program, Damages, and Penalties Act, Tex. Hum. Res. Code.
 Ann. §§ 32.039 et seq.; the Vermont False Claims Act, Vt. Stat. Ann. tit. 32 §§ 631 et seq.; the
 Virginia Fraud Against Taxpayers Act, Va. Code Ann. §§ 8.01-216.1 et seq.; the Washington State
 Medicaid False Claims Act, Wash. Rev. Code. §§ 74.66.005 et seq.; and the False Claims to


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                  Relators James Marcilla and Isela Chavez bring this action against Walmart under

  the False Claims Act, State Whistleblower Statutes and Locality Whistleblower Ordinances for

  Defendant’s violations of the Controlled Substances Act, 21 U.S.C. § 801, et seq. (the “CSA”) and

  its implementing regulations, 21 C.F.R. § 1301, et seq. and state pharmacy laws and regulations.

  Those violations include: (a) knowingly dispensing controlled substances without a valid

  prescription in violation of 21 U.S.C. § 842(a)(1) and state pharmacy laws and regulations; and (b)

  knowingly and intentionally dispensing controlled substances outside the usual course of the

  professional practice of pharmacy, in violation of 21 U.S.C. § 841(a) and state pharmacy laws and

  regulations. Defendant’s fraudulent conduct caused the Government Programs to pay for

  controlled substances that were medically unnecessary and/or lacked a legitimate medical purpose

  in violation of the False Claims Act (“FCA”), 31 U.S.C. § 3729, et seq., as well as State and Locality

  qui tam laws.

  I.     INTRODUCTION

                  The nation is experiencing a national public health emergency involving opioid

  abuse. The dispensing of controlled substances, including prescription opioid painkillers, without

  a legitimate medical purpose and outside the usual course of professional practice exacerbate this




  Government of Puerto Rico Programs, Contracts, and Services Act, 2018 P.R. Act 154 (H.B. 1627)
  (the aforementioned statutes referred to collectively as the “State Whistleblower Statutes”);
  pursuant to the Chicago False Claims Ordinance, Chicago Mun. Code §§ 1-21-010 to -060, the
  City of Hallandale Beach False Claims Ordinance, Hallandale Beach Code of Ordinances §§ 8-
  201 to -210, the Broward County False Claims Ordinance, Broward Cnty. Code of Ordinances §§
  1-276 to -287, and the Miami-Dade County False Claims Ordinance, Miami-Dade Cty. Code §§
  21-255 to -266 (the aforementioned ordinances referred to collectively as the “Locality
  Whistleblower Ordinances”).


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  crisis. This crisis has touched, and continues to touch, nearly all American individuals and families

  in some way or another.

                 In addition to the opioid epidemic’s human cost, the epidemic has had a monetary

  one as well. Besides financial impacts like the increased costs for health care, substance abuse

  treatment, and law enforcement, the cost of the epidemic has also been felt by Government

  Programs such as Medicare and Medicaid. The Government Programs have paid for inappropriate

  opioid prescriptions because Walmart has intentionally and knowingly disregarded its duties under

  the law to properly examine and ensure that it only dispensed drugs pursuant to a proper

  prescription and for a legitimate medical purpose.

                 Working at numerous Walmart locations in New Mexico and Colorado between

  2007 through the present day, Relators have had front-row seats on how Walmart has both fueled

  and profited from this epidemic by repeatedly dispensing opioids and other controlled substances

  prone to diversion and abuse without a legitimate medical purpose and outside the usual course of

  professional medical practice.

                 Relators witnessed numerous incidents of drug-seeking behaviors at the stores

  where they worked, including the manager of an Albuquerque Walmart pharmacy being escorted

  from the premises by several Walmart employees for alleged diversion of controlled substances;

  long lines all day of customers who were seeking opioid prescriptions (frequently multiple

  prescriptions of hydrocodone in combination with sedative hypnotics, anxiolytics, antiemetics,

  muscle relaxants and anticonvulsants) at the Española and Farmington Walmart pharmacies; and

  customers who were engaged in drug use and illegal transactions selling their opioids right in the

  Walmart parking lots.



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                 Even while rampant drug diversion and abuse was occurring at and around the

  Walmart pharmacies themselves, Relators saw firsthand how Walmart incentivized and pressured

  its pharmacists to fill all prescriptions—regardless of validity—resulting in scores of suspicious

  prescriptions that were clearly inappropriate and/or not medically necessary being filled in

  furtherance of its own profit, the public health and public fisc be damned.

                 Walmart has been subject to duties under the CSA and under state pharmacy law

  and regulations to take special care before dispensing these addictive and dangerous drugs. These

  laws and regulations required Walmart to review each opioid prescription prior to dispensing and

  to make a determination that the prescription is both effective and valid; ensure that each

  prescription for an opioid had been issued for a legitimate medical purpose by an individual

  practitioner acting in the usual course of his or her professional practice; refuse to dispense

  medication if there were reason to believe that the prescription was not issued for a legitimate

  medical purpose; and provide effective systems, controls, and procedures to prevent diversion and

  abuse of opioids. Walmart violated these duties of care by dispensing extremely large amounts of

  opioids from its over 4,400 retail pharmacy stores throughout the United States and this District,

  as alleged in more detail below.

                 Relators have witnessed Walmart’s serial violations. For example, Dr. Marcilla

  worked in the Walmart in Farmington, NM, which has a population of 45,626 people. According

  to DEA ARCOS data, between 2006-2012 the two Farmington Walmart stores dispensed a total

  of 4,612,504 doses of opioids for a total of 61,434,645 MME. The annual average for the

  Farmington Walmarts was 8,776,377 MME. That means that at the highest bounds of the

  recommended MME per day (90 MME/day) the stores were supplying enough opioid prescriptions

  for an average of 267 regimens per day. As the name suggests (and as explained in detail below),

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  MME is an opioid’s dosage equivalency to morphine, providing a constant metric to compare

  opioids of varying types, strengths, and delivery methods.

                  For her part, Dr. Chavez worked in the Walmart in Alamosa Colorado, which has

  a population of 8,780 people. According to DEA ARCOS data, between 2006-2014 the Alamosa

  Walmart store dispensed a total of 2,332,060 doses of opioids for a total of 25,215,745 MME. That

  means that at the highest bounds of the recommended MME per day (90 MME/day) the stores

  were supplying enough opioid prescriptions for an average of 85 regimens per day.

                  Walmart pharmacies around the United States served as the last line of defense

  between dangerous opioids and the public. For this reason, under the CSA and state pharmacy

  laws and regulations, Walmart had the duty to use due care when filling prescriptions and that duty

  went beyond reflexively following the prescription’s directions. Walmart was on notice of signs

  of diversion and abuse, prescriptions which were not medically appropriate, and could not simply

  insist its pharmacists robotically fill prescriptions. This was particularly true when the

  prescriptions were unreasonable on their face because they are written in a quantity, frequency, or

  other manner that a reasonable pharmacy could not dispense or would need to do additional

  investigation and due diligence. Walmart did not fulfill these duties even in instances when it was

  (or reasonably could have been) aware of red flags of diversion and abuse. For example, until only

  very recently Walmart did nothing as a corporation to block prescriptions from physicians who

  had been indicted or whose licenses had been suspended, instead insisting that its pharmacists must

  continue to fill these prescriptions.

                  In Relators’ experience, Walmart has been aware of red flags that should have

  caused its pharmacies to reject or, at the very least, investigate prescriptions before filling them.

  Examples of such red flags have included: doctors who wrote unusually large amounts of opioid

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  prescriptions when compared with similar practitioners in the area; customers with early refills for

  opioid prescriptions and prescriptions with unusual quantities or dosages; customers seeking to fill

  prescriptions written for someone else; multiple consumers appearing at or near the same time

  with opioid prescriptions from the same physician; patients who had driven long distances to have

  a prescription filled; consumers who sought large volumes of controlled substances in the highest

  strength for each prescription type; patients who appeared to be creating cocktails with muscle

  relaxants or tranquilizers; or consumers who paid large amounts of cash for opioid prescriptions

  rather than using some form of insurance.

                 Walmart is one of the largest corporations in the world. This is in large part due to

  its mastery of data—data about its customers, its stores, and its business. But when the use of that

  data expertise would cut into its profits, instead of drive them, Walmart chose to ignore it. Walmart

  could have—and was required to—leverage its network of over 4,400 pharmacies all over the

  country to combat the scourge of inappropriate and/or medically unnecessary opioid prescriptions.

                 Walmart had full visibility into vast amounts of data about dispensing both at its

  pharmacies and industry-wide. Instead of leveraging that information and data to limit the filling

  of inappropriate prescriptions, Walmart failed to use its own trove of data from its over 4,400

  pharmacies to identify increasingly rampant prescribing abuse, identify medically inappropriate

  prescriptions, and provide its individual pharmacy locations the benefit of its whole pharmacy

  infrastructure and corporate resources.

                 Rather, Walmart further undermined the ability of its pharmacies to identify and

  block suspicious prescriptions by drastically reducing staffing and increasing its demands on

  pharmacists. Even while the epidemic was ravaging communities across America into which it

  was pouring enormous amounts of opioid drugs, Walmart instead timed how quickly Relators and

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  its other pharmacists could increase prescription counts year after year with ever leaner staffing,

  making it impossible for them to have sufficient time to investigate, report, or halt dispensing of

  inappropriate or medically unnecessary opioid prescriptions.

                    Despite medically unnecessary and/or inappropriate opioid prescriptions being

  filled at the Walmart stores where Relators worked in New Mexico and Colorado and the

  frequently chaotic environment related to drug addiction and abuse going on right in front of them,

  most of the time each Relator would be the only pharmacist on site. With such understaffing of

  pharmacists and technicians, it became impossible to look at each patient to determine whether

  there were red flags of diversion or abuse. Often, Relators only had a minute on average during

  each shift to evaluate and dispense each prescription. The reality was that Relators and the other

  Walmart pharmacists only had enough time to do what was needed to keep up with the workflow,

  so doing the necessary (and substantial) due diligence to check opioid prescriptions (including

  things like checking the state PDMP databases) regularly fell through the cracks.

                    Until only recently, Walmart did next to nothing to reduce inappropriate dispensing

  because doing so would have meant the company would have been less profitable, which to

  Walmart has been more important than any financial impact on Government Programs and on

  people’s lives.

                    Walmart pharmacies dispensed opioid prescriptions throughout the U.S. (and in

  New Mexico and Colorado) under circumstances exhibiting red flags for opioid diversion and

  abuse, in violation of its duties under the CSA and state pharmacies laws and regulations.

                    Walmart failed to train or instruct its employees with respect to proper policies and

  protocols to follow to prevent diversion and abuse of opioids. This has had the direct, readily



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  foreseeable (and intended) result of its pharmacies throughout the nation continuing to fill

  prescriptions despite clear red flags of diversion and abuse.

                 Walmart’s failure to identify, monitor, detect, investigate, report, refuse to sell, fill,

  or dispense inappropriate prescriptions of opioids also violated its duty to act reasonably in light

  of the serious and foreseeable harms associated with opioid diversion and abuse. Walmart’s failure

  to take reasonable steps to prevent opioid diversion and abuse is a direct and proximate cause of,

  and/or substantial factor contributing to, the diversion of prescription opioids around the U.S. (and

  in New Mexico and Colorado) for consumption for non-medical, non-scientific purposes.

                 Walmart knew that widespread diversion and abuse of opioids was occurring

  throughout the U.S. (and in this District) at a staggering rate, but until only very recently turned a

  blind eye in order to earn higher profits. The foreseeable result of Walmart’s dispensing vast

  quantities of opioids having no medical justification has led to widespread addiction, overdoses,

  death, harms to Government Programs, and the societal and economic harms that flow from

  prescription opioid diversion and abuse.

                 Compliance with the requirements of federal and state law governing pharmacy

  dispensing is central to Government Program benefits and is a condition of these medications being

  covered and reimbursed by these programs.

                 But for Walmart’s widespread fraud, Government Programs would have denied

  payment for controlled substance medications, or sought to recoup payments already made, when

  such prescriptions were not issued or dispensed for a legitimate medical purpose in the usual course

  of professional practice or when the controlled substance medications were intended for purposes

  of addiction or recreational abuse.

                 The conduct alleged herein is ongoing.

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  II.     JURISDICTION AND VENUE

                  According to 28 U.S.C. §§ 1331 & 1345, this District Court has original jurisdiction

  over the subject matter of this civil action since it arises under the laws of the United States—in

  particular, the FCA. In addition, the FCA specifically confers jurisdiction upon the United States

  District Court. 31 U.S.C. § 3732(b).

                  This District Court has personal jurisdiction over Defendant pursuant to 31 U.S.C.

  § 3732(a) because Defendant transacts business in this District and engaged in wrongdoing in this

  District. Likewise, the FCA authorizes nationwide service of process and the Defendant have

  sufficient minimum contacts with the United States of America.

                  Venue is proper in this District under 31 U.S.C. § 3732(a) and 28 U.S.C. § 1391(b).

  Defendant has transacted business within this District, and acts proscribed by 31 U.S.C. § 3729

  occurred in this District.

                  Relators are unaware of any public disclosure of the information or allegations that

  are the basis of the First Amended Complaint. If there has been a public disclosure, Relators are

  the original sources of the information and allegations contained in this First Amended Complaint.

  Prior to the filing of this action, Relators voluntarily provided the United States Government, the

  States and the Localities with information regarding the false claims that are the subject of this

  First Amended Complaint.

                  The causes of action alleged herein are timely brought because of, among other

  things, efforts by the Defendant to conceal from the United States its wrongdoing in connection

  with the allegations made herein.




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  III.   THE PARTIES

                 Relators

                 Relators James Marcilla and Isela Chavez (hereinafter “Relators”) bring this action

  on behalf of themselves, the United States of America, the Whistleblower States and the Localities.

                 Dr. Marcilla got his undergraduate degree from University of New Mexico,

  graduating in 1997 with a Bachelor of Science degree. He received his Doctor of Pharmacy

  (“PharmD.”) in 2005 from the University of New Mexico.

                 Dr. Marcilla is a registered pharmacist in the State of New Mexico with license

  number RP00006782. His license was first issued on June 25, 2005 and is current.

                 Dr. Marcilla worked as a pharmacist for numerous Walmart stores in New Mexico

  from 2007-2016, primarily as a “floater” pharmacist. He worked at the Walmart pharmacies in

  Farmington in 2015-2016 (4600 E Main St, Farmington, NM 87402; 1400 W Main St, Farmington,

  NM 87401); Española in 2011 (1610 N Riverside Dr, Española, NM 87532); Santa Fe in 2011,

  2015-2016 (5701 Herrera Drive, Santa Fe, NM 87507); Gallup (1650 W Maloney Ave, Gallup,

  NM 87301); Grants in 2015-2016 (1000 Robert Rd, Grants, NM 87020); Albuquerque in 2015-

  2016 (8511 Golf Course Rd NW, Albuquerque, NM 87114; 2550 Coors Blvd NW, Albuquerque,

  NM 87120; 2701 Carlisle Blvd NE, Albuquerque, NM 87110; 2266 Wyoming Blvd NE,

  Albuquerque, NM 87112; 301 San Mateo Blvd SE, Albuquerque, NM 87108); Los Lunas in 2016

  (2250 Main St NW, Los Lunas, NM 87031); Belen in 2016 (1125 Bypass, Belen, NM 87002);

  Clovis in 2014-2015 (3728 N Prince St, Clovis, NM 88101); Portales in 2014-2015 (1604 E Spruce

  St, Portales, NM 88130); Roswell in 2014-2015 (4500 N Main St. Ste A, Roswell, NM 88201);

  Ruidoso in 2014-2015 (26180 US-70, Ruidoso Downs, NM 88346); Artesia in 2013 (604 N 26th

  St, Artesia, NM 88210); and Carlsbad in 2014 (2401 S Canal St, Carlsbad, NM 88220).

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                 Dr. Marcilla also was a clinical pharmacist at a clinic and pharmacy he owned from

  2011 to 2013. While there, he developed a keen appreciation for the steps that easily could be

  taken at the pharmacy level to prevent inappropriate dispensing thereby combatting the rampant

  opioid abuse and its attendant effects on the community and public health programs.

                 For example, at the clinic and pharmacy he owned, Dr. Marcilla routinely spent

  time counseling patients directly about their medications and conditions. Additionally, Dr.

  Marcilla instituted mandatory urinalysis for patients that were on opioids. This was done to detect

  any mismatch between the opioids in the patient’s body with the amount being dispensed. If the

  two measures did not correspond appropriately, the patient was likely diverting the prescription.

                 Dr. Chavez received her Doctor of Pharmacy (PharmD) from the University of New

  Mexico in 2004, completed a residency in Nephrology & Pharmacotherapy in 2005 and a

  fellowship at the New Mexico Poison & Drug Information Center in 2007, and a Master of Science

  in Biomedical Science (MSBS) from the University of New Mexico in 2008.

                 She has worked as a Pharmacy Manager at the Alamosa, Colorado Walmart from

  2014 to the present. Prior to that, she was a Pharmacy Manager at the Alamosa Safeway Pharmacy

  from 2010 to 2014, a Staff Pharmacist at the Taos Pharmacy in Taos, New Mexico from 2009 to

  2010, and a Manager at the Western New York Poison Center in Buffalo, New York from 2008 to

  2009.

                 She holds current licenses as a registered pharmacist in New Mexico and Colorado.

  Her NPI Number is 1174824668 and License No. is 18580 (Colorado).

                 Dr. Chavez has served as a teacher/lecturer at the University of New Mexico,

  College of Pharmacy, Clinical Toxicology in 2014, the University at Buffalo (SUNY), College of

  Pharmacy, Buffalo, NY in 2008, and also has Residency Teaching/Lecture Experience at the

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  University of New Mexico, College Of Pharmacy, 2006, in Clinical Toxicology at the University

  of New Mexico, College of Pharmacy in 2006-2007, Poison Information Clerkship at the

  University of New Mexico, College of Pharmacy in 2004-2005, Problem Based Learning at the

  University of New Mexico, Department of Emergency Medicine in 2006 -2007.

                 She has considerable research experience, including in Ah receptor and endothelin-

  dependent hypertension, oxidative stress and inflammation in chronic kidney disease, and a

  shingles vaccine study.    She is widely published on drug use rates in patients undergoing

  hemodialysis, use of antibiotic lock solutions in hemodialysis catheter-related bloodstream

  infections, herbal n-acetylcysteine as an antidote for acetaminophen toxicity, analysis of pediatric

  aripiprazole poisonings, and the frequency of hyperkalemia in hemodialysis patients on

  angiotensin-converting enzyme inhibitors (ACE-1) and angiotensin receptor blocker therapy.

                 Finally, Dr. Chavez has worked on community health projects, including the

  Syringe Access Program-Harm Reduction (Alamosa, CO) 2018, and IT MATTTRs (Implementing

  Technology and Medication Assisted Treatment and Team Training in Rural Colorado)

  (Collaboration with the University Of Colorado).

                 Walmart, Inc.

                 Defendant Walmart Inc., formerly known as Walmart Stores, Inc. (“Walmart”) is a

  publicly traded Delaware corporation with a principal place of business located at 702 SW 8th

  Street, Bentonville, Arkansas 60555, but doing business throughout all of the Party States and

  Localities.

                 Walmart’s operations are divided into three business segments, Walmart U.S.,

  Walmart International and Sam’s Club. Walmart U.S. is its largest segment and operates in the

  U.S., including in all 50 states, Washington D.C. and Puerto Rico. Walmart U.S. is a mass

                                                  12
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  merchandiser of consumer products, operating under the “Walmart” and “Walmart Neighborhood

  Market” brands, as well as walmart.com, jet.com and other eCommerce brands. Walmart U.S. had

  net sales of $331.7 billion for fiscal 2019, representing 65% of its fiscal 2019 consolidated net

  sales, and had net sales of $318.5 billion and $307.8 billion for fiscal 2018 and 2017, respectively.

                  Sam’s Club operates in 44 states in the U.S. and in Puerto Rico. Sam’s Club is a

  membership-only warehouse club that also operates samsclub.com. Sam’s Club had net sales of

  $57.8 billion for fiscal 2019, representing 11% of Walmart’s consolidated fiscal 2019 net sales,

  and had net sales of $59.2 billion and $57.4 billion for fiscal 2018 and 2017, respectively.

                  Walmart has retail pharmacy operations in its Walmart U.S. and Sam’s Club

  segments. As of January 31, 2019, Walmart operated 3,570 Supercenters, 386 Discount Stores,

  813 Neighborhood Markets, and 599 Sam’s Clubs throughout the United States, including 53

  stores in this District.

                  Walmart’s pharmacy operations are part of its Health and Wellness Division, which

  are highly centralized with all policy-making and training controlled from its Bentonville

  headquarters.     Pharmacy operations are highly uniform and its pharmacies are subject to

  extraordinary levels of real-time monitoring conducted electronically and by regular visits from

  Bentonville-based management.

                  At all times relevant to this First Amended Complaint, Walmart dispensed

  prescription opioids throughout the United States, including in this District.




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                 Walmart, one of the largest pharmacy chains in the nation, has pharmacies in almost

  all of its over 4,700 U.S. locations, and its Health and Wellness Unit (described in detail below)

  accounted for 11% of its nearly $332 billion in U.S. revenue.2

  IV.     GENERAL ALLEGATIONS

                 The Nationwide Opioid Crisis

                 Opioids are a class of drugs that range from pain relievers available legally by

  prescription—such as oxycodone, hydrocodone, codeine, morphine, and fentanyl—to illegal

  narcotics such as heroin. According to the Medicaid and CHIP Payment and Access Commission

  (“MACPAC”), “the origins of widespread prescription opioid use can be traced back to the

  1990s.”3 That is when the medical profession began using pain as a so-called fifth vital sign, and

  drug manufacturers heightened their marketing campaigns.

                 All opioids are chemically related and interact with opioid receptors on nerve cells

  in the body and brain. Opioid pain relievers are generally safe when taken for a short time and as

  prescribed by a doctor, but because they produce euphoria in addition to pain relief, they can be

  misused (taken in a different way or in a larger quantity than prescribed or taken without a doctor’s

  prescription). Regular use—even as prescribed by a doctor—can lead to dependence and, when

  misused, opioid pain relievers can lead to addiction, overdose incidents, and deaths.4



  2
   Matthew Boyle, Walmart Trims Pharmacy Jobs as Company Mulls Health Strategy, Bloomberg,
  June 26, 2019, https://www.bloomberg.com/news/articles/2019-06-26/walmart-eliminating-
  some-pharmacy-jobs-as-retailer-streamlines.
  3
    Medicaid & CHIP Payment Access Comm’n, Report to Congress on Medicaid and CHIP:
  Chapter 2: Medicaid And The Opioid Epidemic, 79 (2017), https://www.macpac.gov/wp-
  content/uploads/2017/06/Medicaid-and-the-Opioid-Epidemic.pdf.
  4
        NIH   National     Institute   on    Drug        Abuse:   Advancing     Addiction     Science,


                                                    14
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                 Deaths from prescription opioid overdoses quadrupled from 1999 to 2011,5 as did

  opioid prescriptions, even though pain levels reported by Americans had not changed.6 By 2013,

  drug overdoses were the nation’s leading cause of deaths from injury, prompting one author to

  write: “The opioid epidemic . . . that has been ravaging and shortening lives from coast to coast is

  a new plague for our new century.”7

                 70,237 drug overdose deaths occurred in the United States in 2017. The age-

  adjusted rate of overdose deaths increased significantly by 9.6 percent from 2016 (19.8 per

  100,000) to 2017 (21.7 per 100,000). Opioids—mainly synthetic opioids (other than methadone)—

  are currently the main driver of drug overdose deaths. Opioids were involved in 47,600 overdose

  deaths in 2017 (67.8 percent of all drug overdose deaths).8

                 In 2017, the states with the highest rates of death due to drug overdose were West

  Virginia (57.8 per 100,000), Ohio (46.3 per 100,000), Pennsylvania (44.3 per 100,000), the District

  of Columbia (44.0 per 100,000), and Kentucky (37.2 per 100,000).9


  https://www.drugabuse.gov/drugs-abuse/opioids#summary-of-the-issue.
  5
    Vikki Wachino, CMCS Informational Bulletin: Best Practices for Addressing Prescription
  Opioid Overdoses, Misuse and Addiction, 1 (Jan. 28, 2016), https://www.medicaid.gov/federal-
  policy-guidance/downloads/cib-02-02-16.pdf.
  6
   Centers For Medicare & Medicaid Services (CMS), Opioid Misuse Strategy 2016, 2 (Jan. 5,
  2017), https://www.cms.gov/Outreach-and-Education/Outreach/Partnerships/Downloads/CMS-
  Opioid-Misuse-Strategy-2016.pdf.
  7
     Nicholas N. Eberstadt, Our Miserable 21st Century, COMMENTARY MAG. (Feb. 2017),
  https://www.commentarymagazine.com/articles/our-miserable-21st-century/.
  8
      U.S. Centers for Disease Control and Prevention,                   Drug    Overdose     Deaths,
  https://www.cdc.gov/drugoverdose/data/statedeaths.html.
  9
   Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G., Drug and Opioid-Involved Overdose Deaths
  – United States, 2013-2017. Morb Mortal Wkly Rep. (Jan. 4, 2019),
  https://www.cdc.gov/mmwr/volumes/67/wr/mm675152e1.htm.



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                   States with statistically significant increases in drug overdose death rates from 2016

  to 2017 included Alabama, Arizona, California, Connecticut, Delaware, Florida, Georgia, Illinois,

  Indiana, Kentucky, Louisiana, Maine, Maryland, Michigan, New Jersey, New York, North

  Carolina, Ohio, Pennsylvania, South Carolina, Tennessee, West Virginia, and Wisconsin.10

                   Every day, more than 130 people in the United States die after overdosing on

  opioids.11 The misuse of and addiction to opioids—including prescription pain relievers, heroin,

  and synthetic opioids such as fentanyl—is a serious national crisis that affects public health as well

  as social and economic welfare. The Centers for Disease Control and Prevention (“CDC”)

  estimates that the total “economic burden” of prescription opioid misuse alone in the United States

  is $78.5 billion a year, including the costs of healthcare, lost productivity, addiction treatment, and

  criminal justice involvement.12

                   Between July 2016 and September 2017, the number of emergency room visits for

  opioid-related overdoses jumped nearly 30 percent.13

                   Recently, the congressionally-chartered National Safety Council revealed that, for

  the first time in U.S. history, a person is more likely to die from an accidental opioid overdose than



  10
    CDC, National Center for Health Statistics, Multiple Causes of Death 1999–2017, Wide-ranging
  Online     Data      for    Epidemiologic       Research      (CDC       WONDER)        (2019),
  https://wonder.cdc.gov/wonder/help/mcd.html.
  11
       CDC/NCHS, National Vital Statistics System, Mortality, (2018), https://wonder.cdc.gov.
  12
    Florence CS, Zhou C, Luo F, Xu L., The Economic Burden of Prescription Opioid Overdose,
  Abuse, and Dependence in the United States, 54 Med Care. 901-906 (2016),
  doi:10.1097/MLR.0000000000000625.
  13
    Vivolo-Kantor AM, Seth P, Gladden RM, et al., Vital Signs: Trends in Emergency Department
  Visits for Suspected Opioid Overdoses — United States, July 2016–September 2017. MMWR
  Morb Mortal Wkly Rep 2018;67:279–285. DOI: http://dx.doi.org/10.15585/mmwr.mm6709e1.



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  from a motor vehicle crash. The analysis showed that the odds of dying from opioid overdose are

  also higher than from falls, drowning, gun assault, or choking.14

                  According to the CDC, retail opioid prescriptions were dispensed in 2017 at a

  national rate of 58.7 prescriptions per 100 persons.15

                  From 1999-2017, almost 400,000 people have died from an overdose involving any

  opioid, including prescription and illicit opioids.16 This rise in opioid overdose deaths can be

  outlined in three distinct waves.

          The first wave began with increased prescribing of opioids in the 1990s, with overdose

           deaths involving prescription opioids (natural and semi-synthetic opioids and methadone)

           increasing since at least 1999.

          The second wave began in 2010, with rapid increases in overdose deaths involving heroin.

          The third wave began in 2013, with significant increases in overdose deaths involving

           synthetic opioids – particularly those involving fentanyl.17

                  The harm is real. In 2017, there were 491 deaths in New Mexico from prescription

  opioid overdoses.


  14
    Nat’l Safety Council, Injury Facts, https://injuryfacts.nsc.org/all-injuries/ preventable-death-
  overview/odds-of-dying/; see also Press Release, Nat’l Safety Council, For the First Time,
  We’re More Likely to Die from Accidental Opioid Overdose than Motor Vehicle Crash (Jan. 14,
  2019) (https://www.nsc.org/in-the- newsroom/ for-the-first-time-were-more-likely-to-die-from-
  accidental-opioid-overdose-than motor-vehicle-crash).
  15
     U.S. Centers. for Disease Control & Prevention, U.S. Opioid Prescribing Rate Maps,
  https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
  16
    Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G., Drug and Opioid-Involved Overdose Deaths
  – United States, 2013-2017. Morb Mortal Wkly Rep. (Jan. 4, 2019),
  https://www.cdc.gov/mmwr/volumes/67/wr/mm675152e1.htm.
  17
    Id. See also Rudd RA, Aleshire N, Zibbell JE, Gladden RM. Increases in Drug and Opioid
  Overdose Deaths – United States, 2000-2014. 64 Morb. Mortal Wkly. Rep. 1378-82 (2016).


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                 The diversion and abuse of prescription drugs, along with the associated morbidity

  and mortality, have been identified as one of the most serious and costly issues facing New

  Mexicans today. In 2017, New Mexico had the 17th highest drug overdose mortality rate in the

  U.S., most of which was due to prescription drugs.

                 Over the past decade, New Mexico’s drug overdose death rate has ranked at the top

  of the Country. In 2012, New Mexico’s age-adjusted drug overdose rate was 24.2 per 100,000

  persons. The CDC reported that New Mexico had the second highest drug overdose rate in the

  nation in 2010, nearly double the U.S. rate.

                 Since 2001, New Mexico’s drug overdose death rate has increased 79.9 percent.

  Since 1990, almost 300 percent.

                 Between 2001 and 2012, oxycodone sales in New Mexico more than tripled.

                 In 2011, the prescriptions written by New Mexico providers peaked at 81.6 opioid

  prescriptions for every 100 persons.18

                 Neonatal abstinence syndrome (“NAS”) or neonatal opioid withdrawal syndrome

  (“NOWS”) may occur when a pregnant woman uses drugs such as opioids during pregnancy. A

  recent national study showed a fivefold increase in the incidence of NAS/NOWS between 2004

  and 2014, from 1.5 cases per 1,000 hospital births to 8.0 cases per 1,000 hospital births. That is

  one baby born with NAS/NOWS every 15 minutes in the United States. During the same period,




  18
    U.S. Centers for Disease Control and Prevention, U.S. State Prescribing Rates, 2011, (Jul. 21,
  2017), https://www.cdc.gov/drugoverdose/maps/rxstate2011.html.



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  hospital costs for NAS/NOWS births increased from $91 million to $563 million, after adjusting

  for inflation.19

                     In March 2016, the CDC, in order to reduce opioid addictions, overdoses, and

  deaths, published specific recommendations for clinicians who prescribe opioids outside of cancer

  treatment, palliative care, and end-of-life care.20 The CDC recommendations are based on

  “[s]cientific research [that] has identified high-risk prescribing practices that have contributed to

  the overdose epidemic (e.g., high-dose prescribing, overlapping opioid and benzodiazepine

  prescriptions, and extended-release/long-acting opioids for acute pain).”21

                     Congress found that pharmacies are partly responsible for the crisis: “The opioid

  epidemic… has arisen, in part, from the diversion of prescription opioids through illegal dispensing

  practices at pharmacies.”22

                     The grave statistics about the human toll of the opioid crisis are shocking enough.

  But the crisis goes beyond the human toll. Not only have millions of lives been lost or squandered

  to opioid addiction, millions of dollars have been spent by Government Programs on fraudulent or

  otherwise medically unnecessary opioid prescriptions.



  19
    National Institutes for Health, National Institute on Drug Abuse, Opioid-Involved Overdose
  Deaths (Mar. 2019), https://www.drugabuse.gov/opioid-summaries-by-state/new-mexico-opioid-
  summary.
  20
    See generally Deborah Dowell, M.D. et al., CDC Guideline for Prescribing Opioids for
  Chronic Pain — United States, 2016, 65 Morb. Mortal. Wkly Rep. 1 (Mar. 18, 2016) [hereinafter,
  CDC Guideline].
  21
       Id. at 3.
  22
    U.S. Senate Homeland Sec. & Governmental Aff. Comm., Ranking Member’s Off., Fueling an
  Epidemic: A Flood of 1.6 Billion Doses of Opioids into Missouri and the Need for Stronger DEA
  Enforcement 4 (July 12, 2017) https://www.hsdl.org/?view&did=812961.



                                                     19
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                   Pharmacies such as Walmart have put profits over patients and indiscriminately

  dispensed opioid prescriptions that were medically unnecessary or inappropriate.

                   As alleged herein, Walmart knowingly ignored the obviously medically

  inappropriate and unnecessary prescriptions, filled them nonetheless, and fraudulently billed or

  caused to be billed Government Programs.

                   Defendant’s Recognition of Opioid Crisis

                   Walmart recognizes the severity of the opioid crisis. Walmart admits that “[t]he

  abuse of and addiction to prescription opioids is a serious public health issue.”23

                   Walmart supported the President’s State of Emergency Declaration.24

                   Walmart publicly claims that it has “a comprehensive program with policies,

  programs and tools aimed at helping to curb opioid abuse and misuse” and is “committed to being

  part of the solution both in our pharmacies and in our communities.”25

                   But, in reality, by dispensing controlled substances without a legitimate medical

  purpose and outside the usual course of professional practice, Walmart has unlawfully perpetuated

  this serious public health crisis.

                   In fact, as detailed below, even while the opioid epidemic has ravaged communities

  throughout the U.S., Walmart pharmacies did very little to address the ongoing opioid epidemic

  and to update employees on policies, procedures, and laws for dispensing prescriptions of




  23
       Opioid Stewardship, Walmart, https://corporate.walmart.com/opioid-stewardship.
  24
    Press Release, Walmart, Walmart Supports State of Emergency Declaration on Opioids (Oct.
  26, 2017), https://corporate.walmart.com/newsroom/2017/10/26/walmart-supports-state-of-
  emergency-declaration-on-opioids.
  25
       Opioid Stewardship, Walmart, https://corporate.walmart.com/opioid-stewardship.


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  controlled substances and recognizing and handling over-prescribers. (Pharmacy Technician No.

  1, employed 2016-2018).

  V.        THE APPLICABLE STATUTES

                   The Controlled Substances Act

                   The Controlled Substances Act (“CSA”) and its implementing regulations govern

  the manufacture, distribution, and dispensation of controlled substances in the United States. From

  the outset, Congress recognized the importance of preventing the diversion of drugs from legitimate

  to illegitimate uses. The CSA accordingly establishes a closed regulatory system under which it is

  unlawful to manufacture, distribute, dispense, or possess any controlled substance except in a

  manner authorized by the CSA.26

                   The CSA categorizes controlled substances in five “Schedules.”

                   Schedule II contains drugs with “a high potential for abuse” that “may lead to

  severe psychological or physical dependence,” but nonetheless have “a currently accepted medical

  use in treatment.”27

                   Schedule III contains drugs in which, although the abuse potential is less than a

  Schedule II drug, such abuse may lead to moderate “physical dependence or high psychological

  dependence.” Schedule III drugs also have “a currently accepted medical use.”28 Schedule IV




  26
       See 21 U.S.C. § 841(a).
  27
       21 U.S.C. § 812(b)(2).
  28
       21 U.S.C. § 812(b)(3).



                                                  21
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  contains drugs that, although having a lower abuse potential than Schedule III drugs, still may lead

  to a physical or psychological dependence when abused.29

                   Schedule V contains drugs that, although having a lower abuse potential than

  Schedule IV drugs, still may lead to a physical or psychological dependence when abused. 30

                   The CSA makes it “unlawful for any person knowingly or intentionally to

  manufacture, distribute, or dispense, or possess with intent to manufacture, distribute, or dispense,

  a controlled substance” except as specifically authorized.31

                   Accordingly, the CSA requires those who manufacture, distribute, or dispense

  controlled substances to obtain a registration from the DEA.32 A registrant is only permitted to

  dispense or distribute controlled substances “to the extent authorized by their registration and in

  conformity with the [CSA].”33

                   A pharmacy also needs to know there is a corresponding responsibility for the

  pharmacist who fills the prescription.34 An order purporting to be a prescription issued not in the

  usual course of professional treatment or in legitimate and authorized research is an invalid

  prescription within the meaning and intent of the CSA.35 The pharmacy knowingly filling such a




  29
       21 U.S.C. § 812(b)(4).
  30
       21 U.S.C. § 812(b)(5).
  31
       21 U.S.C. § 841(a)(1).
  32
       21 U.S.C. § 822(a).
  33
       21 U.S.C. § 822(b).
  34
    United States Department of Justice, Drug Enforcement Administration Office of Diversion
  Control, Pharmacist’s Manual: An Informational Outline of the Controlled Substances Act 29
  (Rev. 2010).
  35
       21 U.S.C. § 829.


                                                   22
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  purported prescription, as well as the person issuing it, shall be subject to the penalties provided

  for violations of the provisions of law relating to controlled substances.

                   A pharmacist is required to exercise sound professional judgment when making a

  determination about the legitimacy of a controlled substance prescription. Such a determination is

  made before the prescription is dispensed. The law does not require a pharmacist to dispense a

  prescription of doubtful, questionable, or suspicious origin. To the contrary, the pharmacist who

  deliberately ignores a questionable prescription when there is reason to believe it was not issued

  for a legitimate medical purpose may be prosecuted along with the issuing practitioner, for

  knowingly and intentionally distributing controlled substances. Such action is a felony offense,

  which may result in the loss of one’s business or professional license.36

                   At all times relevant to this First Amended Complaint, Walmart had registered its

  retail pharmacies with the DEA in Schedule II–V controlled substances. Those DEA registrations

  authorize Walmart pharmacies to “dispense” controlled substances, which “means to deliver a

  controlled substance to an ultimate user … by, or pursuant to the lawful order of, a practitioner.”37

                   Agents and employees of a registered manufacturer, distributor, or dispenser of

  controlled substances, such as a pharmacist employed by a registered pharmacy like Walmart, are

  not required to register with the DEA, “if such agent or employee is acting in the usual course of

  his business or employment.”38




  36
       See, e.g., U.S. v. Kershman, 555 F.2d 198 (8th Cir. 1977).
  37
       21 U.S.C. §§ 823(f), 802(10).
  38
       21 U.S.C. § 822(c)(1).



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                   Under the CSA, the lawful dispensing of controlled substances is governed by 28

  U.S.C. § 829 and more specifically in Part 1306 of the CSA’s implementing regulations.39

                   Unless dispensed directly by a non-pharmacist practitioner, no Schedule II

  controlled substance may be dispensed without the written prescription of a practitioner, such as a

  physician, except in an emergency.40 Similarly, unless directly dispensed, no Schedule III or IV

  controlled substance may be dispensed without a written or oral prescription from a practitioner.41

                   Such a prescription for a controlled substance may only be issued by an individual

  who is (a) “authorized to prescribe controlled substances by the jurisdiction in which he is licensed

  to practice his profession” and (b) registered with the DEA.42

                   A prescription, whether written or oral, is legally valid under the CSA only if it is

  issued for “a legitimate medical purpose by an individual practitioner acting in the usual course of

  his professional practice.”43 Moreover, “[a]n order purporting to be a prescription issued not in the

  usual course of professional treatment … is not a prescription within the meaning and intent of [21

  U.S.C. § 829] and the person knowingly filling such a purported prescription, as well as the

  person issuing it, shall be subject to the penalties provided for violations of the provisions of law

  relating to controlled substances.”44 (emphasis added)




  39
       See generally 21 C.F.R. § 1306.
  40
       21 U.S.C. § 829(a).
  41
       21 U.S.C. § 829(b).
  42
       21 U.S.C. § 822; 21 C.F.R. § 1306.03.
  43
       21 C.F.R. § 1306.04(a).
  44
       Id. (emphasis added).



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                   As a result, the “responsibility for the proper prescribing and dispensing of

  controlled substances is upon the prescribing practitioner, but a corresponding responsibility rests

  with the pharmacist who fills the prescription.”45 Thus, a pharmacist may not fill a controlled

  substance prescription unless it has been issued for a legitimate medical purpose.

                   Moreover, “[a] prescription for a controlled substance may only be filled by a

  pharmacist, acting in the usual course of his professional practice and either registered

  individually, or employed in a registered pharmacy….”46 (emphasis added)

                   Pharmacists are therefore permitted to dispense a controlled substance in any given

  instance if, but only if, such dispensing would be in accordance with a generally accepted, objective

  standard of practice – i.e., “the usual course of his [or her] professional practice” of pharmacy.47

                   Consequently, a pharmacist is required to refuse to fill a prescription if he or she

  knows or has reason to know that the prescription was not written for a legitimate medical purpose.48

                   This requires a pharmacist to use sound professional judgment in determining the

  legitimacy of a controlled substance prescription, which includes paying attention to the number

  of prescriptions issued, the number of dosage units prescribed, the doctor writing the prescriptions,

  and whether the drugs prescribed have a high rate of abuse. The pharmacist has a legal duty to

  recognize “red flags” or warning signs that raise (or should raise) a reasonable suspicion that a

  prescription for a controlled substance is not legitimate. The existence of such indicia obligates




  45
       Id.
  46
       21 C.F.R. § 1306.06 (emphasis added).
  47
       Id.
  48
       See 21 C.F.R. §§ 1306.04, 1306.06.


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  the pharmacist to conduct a sufficient investigation to determine that the prescription is actually

  legitimate before dispensing.

                         Pharmacies Are Obligated Not to Fill Prescriptions Until Red Flags Are
                         Resolved

                 A pharmacy cannot ignore red flags indicative of diversion. On the contrary, “a

  pharmacist is obligated to refuse to fill a prescription if he knows or has reason to know that the

  prescription was not written for a legitimate medical purpose.”49 “[W]hen prescriptions are clearly

  not issued for legitimate medical purposes, a pharmacist may not intentionally close his eyes and

  thereby avoid actual knowledge of the real purpose of the prescriptions.”50 Thus, § 1306.064

  requires “pharmacists [to] use common sense and professional judgment,” which includes paying

  attention to the “number of prescriptions issued, the number of dosage units prescribed, the

  duration and pattern of the alleged treatment,” the number of doctors writing prescriptions and

  whether the drugs prescribed have a high rate of abuse.51 “When [pharmacists'] suspicions are

  aroused as reasonable professionals,” they must at least verify the prescription's propriety, and if

  not satisfied by the answer they must “refuse to dispense.”52



  49
    Medic-Aid Pharmacy, 55 Fed. Reg. 30,043, 30,044, 1990 WL 328750 (Dep’t of Justice July 24,
  1990).
  50
    East Main Street Pharmacy; Affirmance of Suspension Order, 75 Fed. Reg. 66149-01, 2010 WL
  4218766 (Dep’t of Justice Oct. 27, 2010).
  51
    Ralph J. Bertolino Pharmacy, Inc., 55 Fed. Reg. 4,729, 4,730, 1990 WL 352775 (Dep’t of Justice
  Feb. 9, 1990).
  52
    Id.; see also Townwood Pharmacy; 63 Fed Reg. 8,477, 1998 WL 64863 (Dep’t of Justice Feb.
  19, 1998) (revocation of registration); Grider Drug 1 & Grider Drug 2; 77 Fed. Reg. 44070-01,
  2012 WL 3027634 (Dep’t of Justice July 26, 2012) (decision and order); The Medicine Dropper;
  76 Fed. Reg. 20,039, 2011 WL 1343276 (Dep’t of Justice April 11, 2011) (revocation of
  registration); Medicine Shoppe-Jonesborough; 73 Fed. Reg. 364-01, 2008 WL 34619 (Dep’t of
  Justice Jan. 2, 2008) (revocation of registration); Notice of United Prescriptions Services, Inc.; 72


                                                   26
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                   Courts, too, have recognized the obligation not to dispense until red flags are

  resolved.53 In Medicine Shoppe-Jonesborough, the Sixth Circuit affirmed a pharmacy’s liability

  for filling false or fraudulent prescriptions for controlled substances, concluding that the pharmacy

  violated § 829 of the CSA and 21 C.F.R. § 1306.04. The Court held that “[t]he CSA forbids a

  pharmacy to dispense a Schedule II, III, or IV controlled substance without a prescription, 21

  U.S.C. § 829(a)-(b), which ‘must be issued for a legitimate medical purpose by an individual

  practitioner acting in the usual course of his professional practice,’ 21 C.F.R. § 1306.04(a).”54

  Prescriptions that “involved excessive” quantities of drugs and “remedies outside the prescriber’s

  ordinary area of practice” “should have raised red flags at Medicine Shoppe.”55 “[B]y filling these

  prescriptions anyway. . . the pharmacy not only violated its duties under federal (and state) law to

  ensure that only proper prescriptions were filled but also put public health and safety at risk.”56

                          Pharmacy Chains Are Responsible for the Dispensing Practices in Their
                          Stores

                   The responsibility for dispensing is not limited to pharmacists, pharmacies, or

  holders of DEA dispensing registrations. Rather, the corporate parent of a pharmacy may be

  responsible for the dispensing practices of its pharmacies and pharmacists. 57 This is so regardless



  Fed. Reg. 50397- 01, 50407-8, 2007 WL 2455578 (Aug. 31, 2007) (revocation of registration).
  53
     See Medicine Shoppe-Jonesborough v. Drug Enforcement Administration, 300 F. App’x 409
  (6th Cir. 2008); United States v. Henry, 727 F.2d 1373, 1378-79 (5th Cir.1984); Holiday CVS,
  L.L.C. v. Holder, 839 F. Supp.2d 145 (D.D.C. 2012).
  54
       Id. at 412 (emphasis added).
  55
       Id.
  56
       Id.
  57
    See United States v. City Pharmacy, LLC, No. 3:16-CV-24, 2016 WL 9045859, (N.D. W.Va.
  Dec. 19, 2016); United States v. Stidham, 938 F. Supp. 808, 814 (S.D.Ala.1996); United States v.


                                                   27
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  of whether the parent is a registrant under the CSA or whether the parent is the entity or person

  actually doing the dispensing.

                 In short, case law discussed below holds that individuals or entities who have the

  ultimate responsibility for the dispensing of controlled substances can be liable for violations of

  the CSA, regardless of whether they are DEA registrants. To the extent that a corporate parent of

  a chain pharmacy defendant exerts sufficient control over the pharmacy operations at its stores,

  which the large national chains likely do, these corporate parents can be held liable for dispensing

  violations. Moreover, to the extent that the chain pharmacy defendants attempt to blame the

  individual pharmacists themselves, cases hold that parent company liability can be imposed on top

  of and in addition to any individual pharmacist’s liability.

                 Courts routinely find that liability can attach to a broad array of persons or entities

  under Section 842. In particular, courts reject two arguments for limiting liability under Section

  842 and its regulations. First, courts find that Section 842 can impose liability on non-registrants.

  Second, courts find that Section 1306.4 can be the basis for liability of pharmacy owners in

  addition the pharmacists themselves. The holdings are based on the purpose and structure of the

  CSA: those who have the ultimate responsibility for the controlled substances and ensuring

  compliance with the CSA should be held liable for violations, regardless of whether they are

  registered with the DEA.

                         The CSA Applies to All Persons Who Dispense Controlled Substances




  Poulin, 926 F. Supp. 246, 250, 253 (D. Mass.1996); United States v. Robinson, No. 12-20319-
  CIV, 2012 WL 3984786, (S.D. Fla. Sept. 11, 2012).



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                    Courts have found that because the plain language of Section 842 extends its

  requirements to “all persons,” registrants and non-registrants alike are responsible for complying

  with the law.58 Importantly, in those cases, the courts found that because the pharmacy owners,

  who were not registrants, essentially operated the facilities on a day-to-day basis, they were not

  exempted from the requirements of Section 842.59

                    At least one court has explicitly held that a non-registrant pharmacy owner can be

  held liable for dispensing controlled substances without valid prescriptions. In USA v. City

  Pharmacy, the court found that the owner of the pharmacy could be held liable in his personal

  capacity for violations of Section 842(a)(1) even though he was not a registrant and the pharmacies

  he owned were separately incorporated.60 The United States brought an action alleging that City

  Pharmacy LLC and City Pharmacy of Charles Town, Inc. violated Section 842(a)(1) by filling

  illegitimate prescriptions for controlled substances that raised one or more red flags, such as

  customers traveling long distances or customer receiving drug cocktails.61


  58
     See United States v. Blanton, 730 F.2d 1425, 1434 (11th Cir. 1984) (Section 842(a)(5) applied
  to a physician who was not properly registered with the DEA); United States v. Clinical Leasing
  Serv., Inc., 759 F. Supp. 310, 313–14 (E.D. La. 1990), aff'd, 925 F.2d 120 (5th Cir. 1991) (“Had
  Congress intended to limit the applicability of § 842(a)(5) to registrants only, it would have done
  so”); United States v. Stidham, 938 F. Supp. 808, 814 (S.D. Ala. 1996); United States v. Poulin,
  926 F. Supp. 246, 250, 253 (D. Mass. 1996).
  59
     Stidman, 938 F. Supp. at 809, 814 (the owner of a clinic, who was not a registrant, could be
  liable because he “shouldered [the] responsibility [to provide a system for the control of drug
  traffic and to prevent the abuse of drugs] and derived the benefits and profits from operating a
  methadone clinic.”); Poulin, 926 F. Supp. at 249, 253 (“Although Mattapoisett Pharmacy, Inc. was
  listed as the registrant, the statute specifically makes the stated obligations to produce required
  records applicable to all persons, not simply to registrants.”).
  60
    United States v. City Pharmacy, LLC, No. 3:16-CV-24, 2016 WL 9045859, (N.D. W.Va. Dec.
  19, 2016).
  61
       Id. at *2.



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                    The Court held that Section “842(a)(1) applies to non-registrants.”62 The Court

  continued, explaining that “because part C of the CSA applies broadly to all persons involved in

  the manufacture, distribution, and dispensing of controlled substances, including lay-persons,

  defendant Lewis may potentially be held liable for his conduct.”63 To support its conclusion, the

  Court concentrated on Defendant Lewis’ involvement with the pharmacies at issue, looking

  specifically at his investment of the funds to organize and open the pharmacy, the active role he

  played in the management of the pharmacies, including overseeing the finances of the pharmacies,

  managing personnel, and delivering prescriptions to customers.

                    The City Pharmacy Court also found that the individual defendant could not use

  the pharmacies’ separate incorporation to shield himself from CSA liability. Evaluating various

  legal mechanisms for piercing the corporate form, the court concluded that the pharmacies “were

  being used to evade the legal requirements within and undermine the public policy foundations of

  the CSA.”64 Thus, the Court held, “given the nature of these criminally-grounded allegations, it is

  not a defense to liability in this case for defendant Lewis to assert that he is shielded by the

  corporate form. [The pharmacies] were allegedly the entities used to evade and subvert the

  requirements of the CSA.”65


  62
     Id. at *2 (citing United States v. Moore, 423 U.S. 122, 134 n.11 (1975) and United States v.
  Stidham, 938 F. Supp. 808, 813-814 (S.D. Ala. 1996)).
  63
       Id.
  64
       Id. at *4.
  65
     Id.; see also Poulin, 926 F. Supp. at 249 (“Mattapoisett Pharmacy, Inc. is also the alter ego of
  its sole owner, David Poulin, and thus David Poulin cannot use the corporate name to shield
  himself from personal liability.”); S & S Pharmacy; 46 Fed. Reg. 13051-52 (Dep’t of Justice Feb.
  19, 1981) (“[T]he Administrator has in the past looked behind the corporate-veil to revoke or deny
  a registration when a responsible official of a corporate registrant has been convicted of violating


                                                   30
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                 Just like the defendant in City Pharmacy, Walmart invests the funds to organize

  and open its numerous pharmacies and plays a very active role in the management of its pharmacies

  including overseeing the finances of the pharmacies, managing personnel, and delivering

  prescriptions to customers.

                         The Chain Pharmacies Cannot Escape Liability for Their Corporate
                         Malfeasance by Blaming the Pharmacists Who Work for Them

                 In addition to finding that individuals or entities who own and control pharmacies

  can be liable for CSA violations, irrespective of their DEA registration status, the case law also

  makes it clear that pharmacies cannot escape liability under the CSA by simply blaming the

  pharmacists who work for them. Even though the “corresponding responsibility” of pharmacists

  is discussed in terms of what a pharmacist – not a pharmacy – must do, courts have found that a

  narrow reading of the language to insulate pharmacies from liability is not supported by the

  language or structure of the regulations.

                 In United States v. Appalachian Reg’l Healthcare, Inc., 246 F. Supp. 3d 1184, 1186

  (E.D. Ky. 2017), the Court looked at the regulations regarding dispensing under Section 842,

  finding that the pharmacy owner could be held personally liable for dispensing violations.



  the laws relating to controlled substances.”); United States v. Robinson, No. 12-20319-CIV, 2012
  WL 3984786, (S.D. Fla. Sept. 11, 2012), (finding a non-registrant owner of a pharmacy could be
  held liable for violations of Section 842 because the defendant was “alleged to have had
  responsibility over the controlled substances” and holding that “[w]here corporate officers have
  been in a position to prevent or correct the violations at issue, courts have found that there is
  individual liability under the [Section 842], which plainly applies to all ‘persons.’”); United States
  v. Ahmad, No. 4:15CV-181-JM, 2016 WL 11645908, at *3 (E.D. Ark. May 2, 2016), aff'd sub
  nom. United States v. United Pain Care, Ltd., 747 F. App'x 439 (8th Cir. 2019) (an owner receiving
  the “benefits and profit” of a pharmacy, but who was not a registrant or a medical professional,
  can be liable for violations of the CSA because he was still “responsible for making sure that
  [CSA] requirements were met.”).



                                                   31
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                   Defendant Appalachian Regional Healthcare (“ARH”) unsuccessfully argued that

  it could not be held liable as a corporate pharmacy under Section 842(a)(1) because its

  implementing regulations, namely 21 C.F.R. § 1306.04, articulated the duties under that section in

  terms of the “pharmacist” or “practitioner,” not the corporate pharmacy entity. 66 The court rejected

  ARH’s narrow, technical reading, instead holding that “when § 1306.04(a) states that the person

  knowingly filling the prescription is subject to penalties, it contemplates liability for corporate

  entities as well.”67    The court continued, finding that there is “nothing inconsistent about

  articulating the responsibilities of individual practitioners and pharmacists while simultaneously

  indicating that other entities may be subject to penalties for their role in issuing and filling invalid

  prescriptions.”68

                   Likewise, other federal courts have found pharmacies and other DEA registrants

  liable for violations of the CSA and CSA Regulations.69 For example, in Medicine Shoppe-


  66
    See e.g. § 1306.4(a) (“The responsibility for the proper prescribing and dispensing of controlled
  substances is upon the prescribing practitioner, but a corresponding responsibility rests with the
  pharmacist who fills the prescription.”).
  67
       United States v. Appalachian Reg’l Healthcare, Inc., 246 F. Supp. 3d at 1189.
  68
    Id. at 1189-1190; see also Moore v. Covenant Care Ohio, Inc., 18 N.E.3d 1260, 1270 (Oh. App.
  2014) (a corporate pharmacy whose subsidiary voluntarily undertook to provide pharmaceutical
  services to a nursing home owed a duty to exercise reasonable care in providing such services and
  also owed a common law duty to exercise reasonable care in dispensing and labeling of medicines).
  69
     See United States v. Green Drugs, 905 F.2d 694, 694-5 (3rd Cir. 1990) (affirming retail
  pharmacy liability for violating Section 842(a)); United States v. Clinical Leasing Serv., Inc., 925
  F.2d 120, 122-3 (5th Cir. 1991) (affirming liability under Section 842(a) for corporate operator of
  clinic that illegally distributed controlled substances); United States v. Cap Quality Care, Inc., 486
  F. Supp. 2d 47, 54 (D. Maine 2007) (granting summary judgment to the United States on claims
  that DEA registrant clinic improperly dispensed controlled substances in violation of Sections 829
  and 842); United States v. Grab Bag Distrib., 189 F. Supp. 2d 1072, 1082 (E.D. Cal. 2002)
  (granting summary judgment to the United States on liability); United States v. Little, 59 F. Supp.
  2d 177, 186-8 (D. Mass. 1999) (granting summary judgment to Government for pharmacy’s


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  Jonesborough v. Drug Enforcement Administration, 300 F. App’x 409 (6th Cir. 2008), the Sixth

  Circuit affirmed a pharmacy’s liability for filling false or fraudulent prescriptions for controlled

  substances, concluding that the pharmacy violated Section 829 of the CSA and Section 1306.04

  of the CSA Regulations.

                     Specifically, the Court held that “[t]he CSA forbids a pharmacy to dispense a

  Schedule II, III, or IV controlled substance without a prescription, 21 U.S.C. § 829(a)-(b), which

  ‘must be issued for a legitimate medical purpose by an individual practitioner acting in the usual

  course of his professional practice,’ 21 C.F.R. § 1306.04(a).”70 “Medicine Shoppe fell asleep at

  the wheel in honoring prescriptions no reasonable pharmacist would fill without further inquiry.”71

  Prescriptions that “involved excessive” quantities of drugs and “remedies outside the prescriber’s

  ordinary area of practice” “should have raised red flags at Medicine Shoppe.”72 “[B]y filling these

  prescriptions anyway . . . the pharmacy not only violated its duties under federal (and state) law to

  ensure that only proper prescriptions were filled but also put public health and safety at risk.”73




  violations of § 842(a) and concluding “a pharmacy empowered to dispense controlled substances
  will now be held liable . . . if it knew or should have known about an illegal diversion, or inaccurate
  records, and chose to do nothing”); Poulin, 926 F. Supp. at 252-3 (holding pharmacy liable for
  “filling a total of six invalid prescriptions”); United States v. Queen Village Pharm., No. 89-2778,
  1990 WL 165907, *2-4 (E.D. Pa. Oct. 25, 1990) (finding retail pharmacy liable for violating
  Section 842(a)).
  70
       Id. at 412 (emphasis added).
  71
       Id. at 413.
  72
       Id.
  73
       Id.



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  The Sixth Circuit made no distinction between the pharmacy and the pharmacists employed there

  when determining liability.74

                   These decisions make clear that the dispensing obligations under the CSA are not

  imposed solely on pharmacists, but on pharmacies and their corporate owners. For this reason, this

  Court should find that the chain pharmacy parent corporations like Walmart, Inc. had a

  responsibility, under the CSA, not to dispense opioids in the face of unresolved red flags about the

  legitimacy of the prescriptions.

                          The Purpose and Intent of the CSA Bolsters Finding Liability of Chain
                          Pharmacy Corporate Parents

                   The logic of the authority above is consistent with the purpose and intent of the

  CSA. The Supreme Court explained that with the CSA “Congress was particularly concerned with

  the diversion of drugs from legitimate channels to illegitimate channels.”75 So, to address this

  concern, courts do not want defendants using the DEA registration process and requirements, i.e.

  the structure of the legitimate channels, to somehow shield those responsible from liability. As one

  court put it, “[t]o accept [defendant’s] argument that the Act does not apply to her [because she

  was not a registrant], even though she was responsible for the drugs, would eviscerate the goal of

  ensuring the movement of drugs is closely controlled.”76 “The legislative history [of the CSA]




  74
     See also Jones Total Health Care Pharmacy LLC and SND Health Care LLC v. Drug
  Enforcement Administration, 881 F.3d 823 (11th Cir. 2018) (affirming revocation of pharmacy
  registration for, among other things, pharmacists dispensing prescriptions that prescriptions
  presented various red flags, i.e., indicia that the prescriptions were not issued for a legitimate
  medical purpose without resolving red flags).
  75
       United States v. Moore, 423 U.S. 122, 135 (1975).
  76
       Robinson, 2012 WL 3984786 at *7.



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  indicates that Congress was concerned with the nature of the drug transaction, rather than with the

  status of the defendant.”77

                    The DEA made a similar finding in Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos.

  219 and 5195 Decision and Order.78 The Administrative Law Judge rejected CVS’s argument that

  the corporate parent of a chain pharmacy was not responsible for the actions of its pharmacies. In

  its analysis of whether or not CVS took responsibility for its actions, the ALJ held that:

             [T]he Agency’s rule is clear and the fact that CVS is a large corporation provides
             no reason to excuse it from explicitly acknowledging the misconduct of
             Respondents and their pharmacists. Therefore, I decline to create one rule for chain
             pharmacies and another rule for closely held or sole proprietor owned pharmacies.
             Because Respondents have failed to satisfy this requirement, the ALJ properly held
             that they have not accepted responsibility for their misconduct.79

                    At the most fundamental level, the purpose of the CSA and CSA regulations is to

  create a closed system for delivery of controlled substances and prevent the distribution of

  controlled substances outside of that system. To allow the entity that fully controls the operations

  of the registrants (such as the corporate parent of a chain pharmacy like Walmart) to escape

  responsibility because of corporate structure thus would defeat the purpose and intent of the CSA.

                    The False Claims Act (“FCA”)

                    The FCA80 prohibits “knowingly” presenting or causing to be presented to the

  United States any false or fraudulent claim for payment or approval.




  77
       United States v. Moore, 423 U.S. at 134.
  78
       77 Fed. Reg. 62316-01, 62321-2; 2012 WL 4832770 (D.E.A. Oct. 12, 2012).
  79
       Id.
  80
       31 U.S.C § 3729(a)(1)(A).



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                   The FCA81 prohibits “knowingly” making, using, or causing to be used or made, a

  false record or statement material to a false or fraudulent claim.

                   The FCA82 further imposes liability upon any person who conspires to commit a

  violation of the FCA.

                   The FCA defines a “claim” to include any request or demand, whether under a

  contract or otherwise, for money or property which is made to a contractor, grantee, or other

  recipient if the United States Government provides any portion of the money or property which is

  requested or demanded, or if the Government will reimburse such contractor, grantee, or other

  recipient. Any claim submitted by a Government Program provider for a payment constitutes a

  claim under the FCA. Any claim submitted by a provider for payment by a federal insurance plan,

  such as Tricare, is also a “claim” for purposes of the FCA.

                   Under the FCA, a “claim” is defined broadly to include any request or demand for

  money that is presented to the United States, or is made to a contractor, grantee, or other recipient,

  if the money is to be spent or used on the Government’s behalf or to advance a Government

  program or interest.83

                   In the Medicare Part D context, the claim is the Prescription Drug Event (PDE) that

  is sent by the dispensing pharmacy to a Part D plan sponsor or Pharmacy Benefit Manager

  (“PBM”), and then forwarded to CMS as part of the payment process.




  81
       31 U.S.C § 3729(a)(1)(B).
  82
       31 U.S.C. § 3729(a)(1)(C).
  83
       31 U.S.C. § 3729(b)(2).


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                   The Part D statute provides that drugs may only be reimbursed under the program

  if the drug is a “covered outpatient drug.” Consequently, one of the elements of the PDE is to

  designate whether a dispensed drug is a covered outpatient drug. Covered outpatient drugs must

  be dispensed pursuant to a valid prescription. Under the CSA and many parallel state laws, a

  prescription must satisfy a number of requirements. For example, the prescriber must be authorized

  to prescribe controlled substances in the jurisdiction in which he or she is licensed to practice, and

  must be either registered with DEA or exempt from registration.84 Perhaps most significantly, in

  order to be valid, a prescription must be issued “for a legitimate medical purpose by an individual

  practitioner acting in the usual course of his [or her] professional practice.”85 This requirement

  “ensures that patients use controlled substances under the supervision of a doctor so as to prevent

  addiction and recreational abuse.86 It also “bars doctors from peddling to patients who crave the

  drugs for those prohibited uses.”87 Violation of any one of the above requirements potentially

  satisfies the FCA falsity requirement.

                   The FCA provides that a person is liable to the United States Government for three

  times the amount of damages that the Government sustains because of the act of that person, plus

  a civil penalty of $5,500 to $11,000 per violation for violations that occurred before November 2,




  84
       21 C.F.R. § 1306.03(a).
  85
       21 C.F.R. § 1306.04(a).
  86
       Gonzales v. Oregon, 546 U.S. 243, 274 (2006).
  87
       Id.



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  2015 and, for violations that occurred after that date, a civil penalty of between $11,181 and

  $22,363.88

                     Relevant here, Department of Justice counsel have argued that the “combining the

  CSA and FCA enforcement schemes can be an effective tool to address violations of the CSA that

  may lead to diversion of narcotics and Part D fraud,”89 particularly in combatting the “twin evils

  of opioid addiction” and Government Program fraud.90

                     Opioid Coverage and Use by Government Program Beneficiaries

                     There is an array of health care programs operated and funded by the United States

  and the Qui Tam States (the “Government Programs”) whose purpose is to facilitate the delivery

  of safe and effective health care through payment or reimbursement of eligible prescription drugs

  for covered beneficiaries. Several of these Government Programs are described below.

                     One method for preventing the over-prescribing of potentially harmful opioids is to

  pursue those who cause the submission of false or fraudulent claims for payment for those drugs

  under Medicare Part D, Medicaid, and other federal programs. The treble damages and civil

  penalties awardable under the FCA can provide a powerful incentive for physicians and others to

  avoid prescribing and dispensing these substances for indications that are not supported by the

  approved drug compendia.

                            Medicare and Medicaid Coverage Limits for Medically Unnecessary
                            Opioid Medications



  88
       31 U.S.C. § 3729(a)(1); 28 C.F.R. § 85.5.
  89
    Edward A. Baker, Stacy Gerber Ward, Pursuing False Claims Act Liability for Controlled
  Substances Act Violations, 64 United States Attorneys’ Bulletin 101, 113 (Nov. 2016).
  90
       Id. at 102.



                                                     38
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                   Medicare coverage for opioid medications is provided in Part D, the prescription

  drug benefit program available to Medicare recipients who voluntarily enroll.91 To participate in

  Part D, beneficiaries must enroll in a Part D Plan of their choice. The beneficiary pays premiums

  to the Plan’s sponsor, which is a private entity approved by the Centers for Medicare and Medicaid

  Services (“CMS”). Coverage in the Plan includes deductibles, copayments, and benefit caps. The

  beneficiary fills the prescription at a pharmacy, which submits a claim to the Plan sponsor, and the

  sponsor pays the pharmacy directly or through a subcontractor. CMS reimburses the sponsor for

  varying portions of the prescription costs.92

                   To be a “covered Part D drug,” a drug must be: (1) dispensable only by prescription;

  (2) one of the three types of “covered outpatient drug” defined in 42 U.S.C. § 1396r-8(k)(2)(A)

  (2016); and (3) used for a “medically accepted indication.”93

                   The most important of these three requirements for present purposes is the third,

  that the drug be used for a medically accepted indication. The statute and the regulation define this

  term by incorporating the Medicaid definition in 42 U.S.C. §§ 1396r-8(k)(6) (2016).94

                   The definition is: “The term ‘medically accepted indication’ means any use for a

  covered outpatient drug which is approved under the Federal Food, Drug, and Cosmetic Act [21

  U.S.C.A. § 301 et seq.] or the use of which is supported by one or more citations included or

  approved for inclusion in any of the compendia described in subsection (g)(1)(B)(i) of this



  91
       42 U.S.C. §§ 1395w-102 (2010).
  92
       See Omnicare, Inc. v. UnitedHealth Group, Inc., 594 F. Supp.2d 945, 948-49 (N.D. Ill. 2009).
  93
       42 U.S.C. §§ 1395w-102(e)(1) (2010).
  94
       See 42 U.S.C. §§ 1395w-102(e)(4)(A)(ii)(2010); 42 CFR § 423.100 (2016).



                                                    39
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  section.”95 The compendia referred to are “(I) American Hospital Formulary Service Drug

  Information; (II) United States Pharmacopeia-Drug Information (or its successor publications);

  and (III) the DRUGDEX Information System.”96

                   The Medicare manuals provide additional guidance on Part D drug coverage. The

  MEDICARE PRESCRIPTION DRUG BENEFIT MANUAL, Ch. 6, § 10.6 (Rev. 18, Jan. 15,

  2016), states that a medically accepted indication “refers to the diagnosis or condition for which a

  drug is being prescribed, not the dose being prescribed for such indication.”97

                   Therefore, Medicare Part D and Medicaid cover only prescription drugs used for a

  “medically accepted indication,” which means used either for an indication approved on the Food

  and Drug Administration (FDA) label, or for an “off-label” indication which is “supported” by one

  of the approved compendia. If a drug is prescribed outside of these limitations, it is not a “covered

  drug,” and a claim for payment based on the prescription is a false claim.

                          Medicaid Coverage for Opioids and Opioids Use Disorder

                   Medicaid is a public assistance program providing for payment of medical expenses

  for approximately 55 million low-income patients. Funding for Medicaid is shared between the

  federal Government and state governments.

                   While Medicaid undoubtedly helps many deserving recipients, it also creates a

  series of incentives for potential abuse of opioids, which are rooted in federal law itself. Patients

  on Medicaid typically “pay no part of costs for covered medical expenses,” other than perhaps a



  95
       42 U.S.C. §§ 1396r-8(k)(6) (2016).
  96
       42 U.S.C. §§ 1396r-8(g)(1)(B)(i).
  97
       Id.



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  small co-payment.98 Federal law requires that Medicaid co-payments and other “cost-sharing”

  borne by Medicaid recipients at lower income levels be nominal. CMS has determined that states

  could charge those on Medicaid no more than $4 for certain classes of drugs. 99 For dangerous

  opioids such as oxycodone, Medicaid co-pays can run as low as $1 for as many as 240 pills—pills

  that can be sold for up to $4,000 on the street.

                  As one longtime local prosecutor in opioid-ravaged eastern Kentucky recounted in

  DREAMLAND: THE TRUE TALE OF AMERICA’S OPIATE EPIDEMIC: “We can talk morality all day

  long, but if you’re drawing five hundred dollars a month and you have a Medicaid card that allows

  you to get a monthly supply of pills worth several thousand dollars, you’re going to sell your

  pills.”100

                  Although Medicaid is administered on a state-by-state basis, the state programs

  adhere to federal guidelines. Federal statutes and regulations restrict the drugs and drug uses that

  the federal Government will pay for through its funding of state Medicaid programs. Federal

  reimbursement for prescription drugs under the Medicaid program is limited to “covered outpatient

  drugs.” “Covered outpatient drugs” are drugs that are used for “a medically accepted indication.”




  98
     U.S. Dep’t of Health & Hum. Servs., Frequently Asked Questions: What is the Difference
  Between Medicare and Medicaid?, https://www.hhs.gov/answers/medicare-and-medicaid/what-
  is-the-difference-between-medicare-medicaid/index.html.
  99
     See Final Rule, Medicaid and Children’s Health Insurance Programs: Essential Health Benefits
  in Alternative Benefit Plans, Eligibility Notices, Fair Hearing and Appeal Processes, and
  Premiums and Cost Sharing; Exchanges: Eligibility and Eligibility and Enrollment, 78 Fed. Reg.
  42159-42322 (July 15, 2013) (codified in scattered pts. of 42 C.F.R.),
  https://www.gpo.gov/fdsys/pkg/FR-2013-07-15/html/2013-16271.htm.
  100
        Sam Quinones, DREAM LAND: THE TRUE TALE OF AMERICA’S OPIATE EPIDEMIC 211 (2015).



                                                     41
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                  Medicaid covered over half of all nonelderly adults with opioid use disorder

  (“OUD”) who received drug and/or alcohol treatment in the past year. In 2017, 617,000 nonelderly

  adults with OUD reported receiving treatment during the previous year. Of these individuals, 54

  percent had Medicaid coverage while only 26 percent had private insurance and 20 percent were

  uninsured.101

                  State Medicaid programs cover numerous substance use disorder treatment services

  that fit into several state plan categories, including outpatient treatment, inpatient treatment,

  prescription drugs, and rehabilitation services. The standard of care for OUD is medication-

  assisted treatment (MAT), which combines one of three medications (methadone, buprenorphine,

  or naltrexone) with counseling and other support services.102

                  All state Medicaid programs cover at least one medication used as part of MAT

  and most cover all three of these medications.103 State Medicaid programs also cover many

  counseling and other support services, delivered either as part of MAT or separately. Most of these

  services are delivered at state option and include detoxification, intensive outpatient treatment,




  101
     Kendal Orgera and Jennifer Tolbert, Henry J. Kaiser Foundation, The Opioid Epidemic and
  Medicaid's Role in Facilitating Access to Treatment (May 24, 2019),
  https://www.kff.org/medicaid/issue-brief/the-opioid-epidemic-and-medicaids-role-in-facilitating-
  access-to-treatment/.
  102
    Substance Abuse and Mental Health Services Administration, Medication-Assisted Treatment
  (MAT) (Apr. 26, 2019), https://www.samhsa.gov/medication-assisted-treatment/
  103
      Kathleen Gifford, et al., Kaiser Family Foundation, States Focus on Quality and Outcomes
  Amid Waiver Changes: Results from a 50-State Medicaid Budget Survey for State Fiscal Years
  2018 and 2019, at 78 (Oct. 25, 2018), https://www.kff.org/medicaid/report/states-focus-on-
  quality-and-outcomes-amid-waiver-changes-results-from-a-50-state-medicaid-budget-survey-
  for-state-fiscal-years-2018-and-2019/.



                                                  42
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  psychotherapy, peer support, supported employment, partial hospitalization, and inpatient

  treatment.104

                  Medicaid finances a substantial proportion of substance use disorder treatment. In

  2014, Medicaid financed more than one-fifth (21 percent) of substance use disorder treatment,

  which was slightly less than the share covered by all private insurers (22 percent). Nine percent of

  all spending on addiction treatment came from out-of-pocket payments by individuals.105 By 2020,

  it is projected that Medicaid will finance 28 percent of substance use disorder treatment services,

  while other payer types are projected to remain the same.106

                         Medicare Beneficiary Opioid Use and Abuse

                  Medicare is a public health care program that provides coverage for Americans over

  the age of 65, as well as other persons with certain disabilities and diseases. The program is

  administered by third-party contractors known as “carriers,” which have some discretion to make

  coverage determinations, but must do so within statutory and regulatory confines.

                  Starting in January 2006, Part D of the Medicare Program provided subsidized

  coverage for pharmacy-dispensed outpatient drugs for all beneficiaries, with low-income

  individuals receiving the greatest subsidies. However, a “covered Part D drug” must be used for

  a “medically accepted indication.”



  104
     Medicaid and CHIP Payment and Access Comm., State Policies for Behavioral Health Services
  Covered Under the State Plan (June 2016), https://www.macpac.gov/publication/behavioral-
  health-state-plan-services/.
  105
    Tami L. Mark, et al., Insurance Financing Increased For Mental Health Conditions But Not For
  Substance Use Disorders, 1986-2014, 35 Health Affairs 961 (June 2016).
  106
      Substance Abuse and Mental Health Services Admin., Projections of National Expenditures
  for Treatment of Mental and Substance Use Disorders, 2010–2020, 31 HHS Publication No. SMA-
  14-4883, https://store.samhsa.gov/system/files/sma14-4883.pdf.


                                                  43
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                 Medicare’s Prescription Drug Program, known as Part D, provides optional drug

  benefits to Medicare beneficiaries. CMS contracts with private insurance companies, called

  sponsors, to provide Part D prescription drug coverage to beneficiaries who choose to enroll.

  Sponsors offer drug coverage to beneficiaries through Part D prescription drug plans. These Part

  D programs are subsidized by the federal Government, which covers the cost of drug payments.

                 In 2016, one out of every three beneficiaries received at least one prescription

  opioid through Medicare Part D. In total, 14.4 million of the 43.6 million beneficiaries enrolled in

  Medicare Part D received opioids. Medicare Part D paid almost $4.1 billion for 79.4 million opioid

  prescriptions for these beneficiaries. The vast majority of these opioids (80 percent) were Schedule

  II or III controlled substances, meaning they have the highest potential for abuse among legally

  available drugs.107

                 Several states had higher proportions of beneficiaries receiving opioids than the

  United States overall, which was 33 percent. Alabama and Mississippi had the highest proportions,

  with almost half of the State’s Part D beneficiaries receiving at least one opioid—46 percent and

  45 percent, respectively. Arkansas had 44 percent of beneficiaries receiving opioids, while

  Oklahoma, Tennessee, and Louisiana each had 42 percent.108

                 In addition, 1 in 10 Medicare Part D beneficiaries nationwide received opioids on

  a regular basis. Specifically, 5 million beneficiaries received opioids for 3 months or more in 2016.

  Research shows that the risk of opioid dependence increases substantially for patients receiving


  107
     Dept. of Health & Human Services OIG, Opioids in Medicare Part D: Concerns about Extreme
  Use and Questionable Prescribing, 2 (July 2017), HHS OIG Data Brief OEI-20-17-00250.
  https://oig.hhs.gov/oei/reports/oei-02-17-00250.pdf.
  108
        Id.



                                                   44
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  opioids continuously for 3 months. Of these 5 million beneficiaries, 3.6 million received opioids

  for 6 or more months and nearly 610,000 received opioids for the entire year.109

                 A total of 501,008 beneficiaries received high amounts of opioids through Medicare

  Part D in 2016. This does not include beneficiaries who had cancer or were in hospice care. Each

  of the 501,008 beneficiaries received an average morphine equivalent dose (MED) of greater than

  120 mg a day for at least 3 months. MED is a measure that equates all the various opioids and

  strengths into one standard value. A daily MED of 120 mg is equivalent to taking 12 tablets a day

  of Vicodin 10 mg or 16 tablets a day of Percocet 5 mg. These dosages far exceed the amounts that

  the manufacturers recommend for both of these drugs. They also exceed the 90 mg MED level that

  CDC recommends avoiding for patients with chronic pain.110

                 As the statistics make clear, there is a real problem with inappropriate opioid

  prescriptions being filled by Medicare patients. Pharmacies should not be dispensing most, if not

  all, of the prescriptions that are clearly for excessive amounts of opioids or for patients who have

  been doctor shopping. However, pharmacies like Walmart have failed to do this and instead chose

  to bill Medicare for those medically unnecessary prescriptions.

                         Opioid Coverage under TRICARE

                 Drug coverage under the TRICARE program differs from that under Medicare and

  Medicaid. TRICARE’s regulations provide that TRICARE “will consider coverage of off-label

  uses of drugs and devices that meet the definition of Off–Label Use of a Drug or Device in 32

  C.F.R. § 199.2(b). Approval for reimbursement of off-label uses requires review for medical


  109
        Id.
  110
        Id.



                                                  45
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  necessity and also requires demonstrations from medical literature, national organizations, or

  technology assessment bodies that the off-label use of the drug or device is safe, effective, and in

  accordance with nationally accepted standards of practice in the medical community.” 111 The

  definition of Off-Label Use in 32 C.F.R. § 199.2(b) (2016), referred to in the quote above,

  essentially includes any use not approved on a drug’s label.

                          Opioid Coverage under FEHB

                    The drug coverage provided under the Federal Employee Health Benefit Plan

  (FEHB) is also different from that provided by Medicare and Medicaid. No law or regulation

  defines when a drug is “medically necessary” for FEHB purposes. Instead, that coverage is spelled

  out by the plan document applicable to each private plan that administers FEHB coverage for its

  members.

                          Reimbursement under Other Government Programs

                   In addition to Medicaid, Medicare, TRICARE, FEHB, Mailhandlers, the U.S.

  Secret Service Employees Health Association, the Indian Health Service, the Civilian Health and

  Medical Program of the Uniformed Services (“CHAMPUS,” now known as TRICARE), the

  Veterans Health Administrative (“VHA”), at all times material hereto, the States have offered their

  employees, retirees and their beneficiaries and survivors, prisoners health insurance coverage,

  including coverage for prescription opioid drugs.




  111
        32 CFR § 199.4(g)(15)(i)(A), n. 3 (2016).


                                                    46
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                 Federal Guidance and State Law Governing Pharmacy Dispensing of
                 Opioids

                 The CDC has published guidelines regarding the proper use of opioids.112 The

  guidelines explicitly state that “Opioid pain medication use presents serious risks, including

  overdose and opioid use disorder.” Furthermore, “Sales of opioid pain medication have increased

  in parallel with opioid-related overdose deaths.”

                 The CDC guidelines, and many state laws, rely on Morphine Milligram Equivalents

  (“MME”). As the name suggests, MME is an opioid’s dosage’s equivalency to morphine. Using

  MME is useful because it provides a constant metric to compare opioids of varying types,

  strengths, and delivery methods. This is particularly useful for patients who may be using a

  combination of different opioid products or have changed products over time.

                 The CDC has a conversion chart of the most common opioids in mg to MMEs.113

  So, for example, 10 tablets of hydrocodone/acetaminophen 5mg/300mg would equal 50 MME (10

  tablets x 5mg of hydrocodone x 1 hydrocodone oxycodone conversion factor = 50 MME). 2 tablets

  of oxycodone 30mg would equal 90 MME (2 tablets x 30mg of oxycodone x 1.5 oxycodone

  conversion factor = 90 MME).114




  112
      CDC, CDC Guideline for Prescribing Opioids for Chronic Pain — United States, 2016, 65
  Morb.        &        Mort.        Wkly.        Rep.        (Mar.       18,        2016),
  https://www.cdc.gov/mmwr/volumes/65/rr/pdfs/rr6501e1.pdf.
  113
        Opioid Oral Morphine Milligram Equivalent (MME) Conversion Factors,
  https://www.cms.gov/Medicare/Prescription-Drug-
  Coverage/PrescriptionDrugCovContra/Downloads/Opioid-Morphine-EQ-Conversion-Factors-
  Aug-2017.pdf.
  114
      Centers for Disease Control, Calculating Total Daily Dose of Opioids for Safer Dosage,
  https://www.cdc.gov/drugoverdose/pdf/calculating_total_daily_dose-a.pdf.


                                                  47
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                 The CDC determined that in “[h]aving a history of a prescription for an opioid pain

  medication increases the risk for overdose and opioid use disorder, highlighting the value of

  guidance on safer prescribing practices for clinicians. For example, a recent study of patients aged

  15–64 years receiving opioids for chronic noncancer pain and followed for up to 13 years revealed

  that one in 550 patients died from opioid-related overdose at a median of 2.6 years from their first

  opioid prescription, and one in 32 patients who escalated to opioid dosages >200 morphine

  milligram equivalents (MME) died from opioid-related overdose.”

                 In addition, the CDC found that “opioid-related overdose risk is dose-dependent,

  with higher opioid dosages associated with increased overdose risk. Two … studies … evaluated

  similar MME/day dose ranges for association with overdose risk. In these four studies, compared

  with opioids prescribed at <20 MME/day, the odds of overdose among patients prescribed opioids

  for chronic nonmalignant pain were between 1.3 and 1.9 for dosages of 20 to <50 MME/day,

  between 1.9 and 4.6 for dosages of 50 to <100 MME/day, and between 2.0 and 8.9 for dosages of

  ≥100 MME/day. Compared with dosages of 1-<20 MME/day, absolute risk difference

  approximation for 50-<100 MME/day was 0.15% for fatal overdose and 1.40% for any overdose,

  and for ≥100 MME/day was 0.25% for fatal overdose and 4.04% for any overdose.

                 A recent study of Veterans Health Administration patients with chronic pain found

  that patients who died of overdoses related to opioids were prescribed higher opioid dosages

  (mean: 98 MME/day; median: 60 MME/day) than controls (mean: 48 MME/day, median: 25

  MME/day). Finally, another recent study of overdose deaths among state residents with and

  without opioid prescriptions revealed that prescription opioid-related overdose mortality rates rose




                                                  48
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  rapidly up to prescribed doses of 200 MME/day, after which the mortality rates continued to

  increase but grew more gradually.”115

                 Furthermore,    “epidemiologic     studies   suggest     that   concurrent   use   of

  benzodiazepines and opioids might put patients at greater risk for potentially fatal overdose. Three

  studies of fatal overdose deaths found evidence of concurrent benzodiazepine use in 31%–61% of

  decedents. In one of these studies, among decedents who received an opioid prescription, those

  whose deaths were related to opioids were more likely to have obtained opioids from multiple

  physicians and pharmacies than decedents whose deaths were not related to opioids.”116

                  “[M]ost fatal overdoses could be identified retrospectively on the basis of two

  pieces of information, multiple prescribers and high total daily opioid dosage, both important risk

  factors for overdose that are available to prescribers in the PDMP.”117

                  In those guidelines, the CDC recommends numerous strategies to reduce

  inappropriate opioid prescribing. Of particular relevance here, the CDC recommends that

  clinicians “should use caution when prescribing opioids at any dosage, should carefully reassess

  evidence of individual benefits and risks when considering increasing dosage to ≥50 morphine

  milligram equivalents (MME)/day, and should avoid increasing dosage to ≥90 MME/day or

  carefully justify a decision to titrate dosage to ≥90 MME/day.”118




  115
        Id.
  116
        Id.
  117
        Id.
  118
          CDC      Guidelines    for     Prescribing     Opioids     for            Chronic     Pain,
  https://www.cdc.gov/drugoverdose/pdf/guidelines_at-a-glance-a.pdf.



                                                  49
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                 Dosages at or above 50 MME/day increase the risks of overdose by at least 2x over

  the risk at <20 MME/day. In a national sample of Veterans Health Administration (VHA) patients

  with chronic pain receiving opioids from 2004–2009, patients who died of opioid overdose were

  prescribed an average of 98 MME/day, while other patients were prescribed an average of 48

  MME/day.119

                 In 2016, Massachusetts became the first state in the nation to pass a law limiting

  first time opioid prescriptions to 7 days.120 Since then, over half of all states have enacted laws

  that restrict the prescribing or dispensing of opioids for acute pain. Fifteen states have passed laws

  limiting opioid prescribing for acute pain in an opioid naive patient to a 7-day supply. These states

  include Alaska, Hawaii, Colorado, Utah, Oklahoma, Louisiana, Missouri, Indiana, West Virginia,

  South Carolina, Pennsylvania, New York, Maine, Connecticut, and Massachusetts. In addition,

  Arizona, North Carolina, and New Jersey limit initial prescribing to 5 days.121

                 Following surgical procedures, Arizona allows for a 14-day supply and North

  Carolina a 7-day supply. Nevada is the only state with an initial 14-day prescription limit.2 The




  119
      Centers for Disease Control, Calculating Total Daily Dose of Opioids for Safer Dosage,
  https://www.cdc.gov/drugoverdose/pdf/calculating_total_daily_dose-a.pdf.
  120
      National Conference of State Legislators (“NCSL”), Prescribing Policies: States Confront
  Opioid        Overdose        Epidemic         (Published         October        31,      2018)
  http://www.ncsl.org/research/health/prescribing-policies-states-confront-opioid-overdose-
  epidemic.aspx
  121
        Id.



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  strictest limits are in Tennessee, Kentucky, and Florida where initial prescribing is limited to 3 to

  4 days.122 Minnesota also has a 4-day limit, but only for acute dental or ophthalmic pain.123

                 When addressing risks for drug overdose, studies support the need to monitor not

  only duration of initial therapy, but also total daily dosing for patients. This is particularly

  important for those patients who are receiving 50 to 99 daily morphine milligram equivalents

  (MME) or more per day.124 Nevada and Arizona have limited prescribing doses of opioids to 90

  MMEs per day.125 Maine’s limit is 100 MME per day and Rhode Island limits prescriptions to 50

  MME per day.126 Tennessee allows 60 MME per day if it is for 3 days or less, otherwise the

  prescriptions are restricted to 50 MME daily.127

                 While the majority of states focuses on general opioid prescribing limits, Alaska,

  Connecticut, Indiana, Louisiana, Massachusetts, Nebraska, Pennsylvania and West Virginia also

  set requirements regarding opioid prescribing to minors, such as discussing their risk with the

  minor and parent or guardian.128




  122
        Id.
  123
        Id.
  124
     Liang, Y., Turner, B.J., Assessing risk for drug overdose in a national cohort: role for both daily
  and total opioid dose?, 16 J. Pain 318-25 (2014).
  125
      National Conference of State Legislators (“NCSL”), Prescribing Policies: States Confront
  Opioid        Overdose        Epidemic         (Published         October        31,      2018)
  http://www.ncsl.org/research/health/prescribing-policies-states-confront-opioid-overdose-
  epidemic.aspx.
  126
        Id.
  127
        Id.
  128
        Id.



                                                   51
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                 Rather than setting opioid limits by statute, a few state laws direct or authorize other

  entities to do so (e.g., New Hampshire, Ohio, Oregon, Vermont, Virginia, Washington and

  Wisconsin). These entities may include the Department of Health, a designated state health

  official, or regulatory boards, such as the Board of Medicine, Nursing and/or Dentistry. Other

  states, such as Rhode Island and Utah, have prescribing limits by statute, and allow other entities

  to adopt prescribing policies.129

                 In addition, state laws may provide guidance or direction related to opioid

  prescribing. Maryland requires providers to prescribe the lowest effective dose of an opioid for a

  quantity that is not greater than that needed for the expected duration of pain.130 Utah, in addition

  to its 7-day prescribing limit, authorizes commercial insurers, the state Medicaid program,

  workers’ compensation insurers and public employee insurers to implement policies for

  prescribing certain controlled substances.131 The policies must include evidence-based guidelines

  for prescribing opioids.

                 Consequently, the dispensing of controlled substances, when faced with warning

  signals and without first ensuring that the prescription was issued for a legitimate purpose by a

  practitioner acting in the usual course of professional practice, violates the pharmacist’s




  129
        Id.
  130
        Id.
  131
        Id.



                                                   52
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  corresponding responsibility under the CSA132 to ensure the legitimacy of the prescription133 as

  well as pharmacy laws and regulations in a majority of the states.

                   New Mexico law defines the “Practice of Pharmacy” to mean “continually

  optimizing medication safety, patient wellness, and quality of services through the effective use of

  pharmaceutical care and emerging technologies and competency-based and performance-based

  training.”134

                   That same statute further explains that the “(1) Practice of pharmacy may include,

  but is not limited to, (2) specialty pharmacy practice including pharmacists working for licensed

  pharmaceutical manufacturers or wholesalers; (3) practice of telepharmacy within and across state

  lines; (4) engaging in health care educational activities; (5) pharmacy-specific academia;

  (6) provision of those acts or services necessary to provide pharmaceutical care in all areas of

  patient care including patient counseling, prescriptive authority, drug administration, primary care,

  medication therapy management, collaborative practice, and monitoring dangerous drug therapy;

  (7) inspecting on a full time basis to ensure compliance with the practice of pharmacy;

  (8) provision of pharmaceutical and drug information services, as well as consultant pharmacy

  services; (9) engaging in other phases of the pharmaceutical profession including those with

  research or investigational or dangerous drugs; or (10) engaging in functions that relate directly to




  132
     21 U.S.C. § 842(a) (prohibiting distributing or dispensing in violation of the prescription
  provisions of 21 U.S.C. § 829).
  133
     21 C.F.R. § 1306.04 and 21 U.S.C. § 841(a) (prohibiting dispensing except as authorized by
  the CSA) because the prescription was filled outside of the pharmacist’s usual course of
  professional practice. See also 21 C.F.R. § 1306.06
  134
        N.M.A.C. § 16.19.4.7.



                                                   53
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  the administrative, advisory, or executive responsibilities pursuant to the practice of pharmacy in

  this state; (11) the responsibility for compounding and labeling of drugs and devices; (12) the

  proper and safe storage of drugs and devices; and (13) the maintenance of proper records.”135

                  New Mexico pharmacists also have requirements regarding the dispensing of

  controlled substances.136

                  Prescribing or dispensing controlled substances in amounts or for durations that are

  not medically necessary is beyond the scope of professional practice. Prescribing or dispensing

  controlled substances for pain will be considered to be for a legitimate medical purpose in certain

  narrow circumstances, including after a documented medical history, pursuant to a written

  treatment plan with stated objectives, and considering the risk of medication diversion and abuse.

                  Use of State Prescription Drug Monitoring Programs to Counter Doctor and
                  Pharmacy Shopping

                  It is undeniable that illicit street opiates and prescription opioid medications can

  often be linked, with legitimate prescriptions initiating the addiction, often followed by the person

  seeking the chemical from illegal sources once the prescription has ended. Sometimes, however,

  they will resort to “doctor shopping” – i.e., visiting multiple physicians in various ambulatory

  settings to obtain more of the same opioid medications if the patient’s own health care provider is

  unwilling or unable to renew or refill the prescription. State prescription drug monitoring programs

  (“PDMPs”) make a significant contribution to fighting the opioid epidemic by preventing and

  inhibiting doctor shopping.



  135
        Id.
  136
        N.M.S.A. § 16.19.20.



                                                   54
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                 PDMPs, or PMPs (prescription monitoring programs) as they are alternatively

  known, are utilized by 49 states, as well as Guam and the District of Columbia.137 Although

  requirements vary by state, they generally collect data from dispensers and report to authorized

  users of a state’s database the number of prescriptions that have been filled for scheduled drugs

  for each recipient. Access to the information contained in such databases is typically limited to

  prescribers and state officials. State pharmacy boards and health departments operate most

  PDMPs, but a minority relies on professional licensing agencies, law enforcement, state substance

  abuse agencies, or in the case of Connecticut, the Department of Consumer Protection.

                 All PMDPs monitor at least Schedule II through IV Drugs, with some also

  monitoring Schedule V and “Drugs of Concern” as designated by an authorized state agency. Eight

  states, the District of Columbia and Puerto Rico maintain a voluntary system, with no mandatory

  enrollment required of either prescribers or dispensers.138 Still, the majority of state legislatures

  understand that the sum total is only as good as its parts. For example, recent Georgia and

  Mississippi legislation tied mandatory PMDP registration to the licensed practitioner’s ability to

  secure or renew a DEA number.139 Maine adopted mandatory registration of both prescribers and

  dispensers in light of “an unprecedented 272 overdose related fatalities.”140 In an effort to combat


  137
     Missouri is the only state not to have a statewide PDMP, though an Executive Order was issued
  in July 2017 directing its formulation. PDMP TTAC, PDMP Legislation and Operational Dates,
  https://www.pdmpassist.org/pdf/Legislative_Operational_Dates_20200207.pdf.
  138
       PDMP TTAC, PDMP Mandatory Enrollment by Prescribers and Dispensers,
  https://www.pdmpassist.org/pdf/Mandatory_Enrollment_20190731.pdf.
  139
     H.B. 249 (Ga. 2017), www.legis.ga.gov/Legislation/20172018/170657.pdf [hereinafter H.B.
  249]; H.B. 1032 (Miss. 2017), http://billstatus.ls.state.ms.us/2017/pdf/history/HB/HB1032.xml.
  140
     Weekly Notices of State Rule-Making: Public Input for Proposed and Adopted Rules,
  Maine.gov., www.maine.gov/sos/cec/rules/notices/2017/010417.html.



                                                   55
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  the opioid epidemic through ensuring reliable information is accessible to prescribers, Kentucky

  and North Carolina have each added penalties for failure of pharmacies to comply with reporting

  requirements, including sanctions and a monetary penalty per offense.141

                  Statutory requirements for submitting and gathering prescription data are of little

  value if the statutes fail to specify how the data will be used. At least fifteen states enhanced their

  “query” requirements or how a prescriber or dispenser must check the state’s PDMP system for

  patient information before prescribing a controlled substance. Checking the PDMP for opioid

  prescriptions from other sources is a recommended step in the CDC’s “Checklist for prescribing

  opioids for chronic pain.”142 The Arkansas legislature directed licensing boards to adopt

  regulations requiring prescribers to query the PDMP when prescribing an opioid from Schedules

  II or III for each time a medication was prescribed to a patient.143 Texas followed suit by naming

  specific categories of drugs that require a query prior to being prescribed (“opioids,

  benzodiazepines, barbiturates, or carisoprodol”).144 Some states (e.g., Georgia, Louisiana,

  Pennsylvania, and North Carolina) do not require query of all controlled substance prescriptions

  in certain situations. For example, the query requirement may not be applicable to providers of

  certain specialties if the prescription is for less than a three-day supply and contains less than 26

  pills, the patient is terminally ill, or when the controlled substance is administered in a hospital.


  141
        H.B. 314 (Ky. 2017); H.B. 243 (N.C. 2017).
  142
          CDC,     Checklist    for     Prescribing     Opioids             for      Chronic       Pain,
  https://www.cdc.gov/drugoverdose/pdf/pdo_checklist-a.pdf.
  143
          S.B.    339,       91st    Gen.      Assemb.,     Reg.     Sess.             (Ark.      2017),
  http://www.arkleg.state.ar.us/assembly/2017/2017R/Bills/SB339.pdf.
  144
     H.B. 2561 (Tex. 2017), https://legiscan.com/TX/text/HB2561/id/1625193/Texas2017-
  HB2561-Enrolled.html.



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  Georgia and South Carolina’s legislatures added consequences for those practitioners who fail to

  query the PDMP, requiring them to be reported to their licensure boards for disciplinary action.145

                   In New Mexico, pharmacists are required to consult the PMP if the following

  conditions are present: “(a) a pharmacist becomes aware of a person currently exhibiting potential

  abuse or misuse of opioids (i.e. over-utilization, early refills, multiple prescribers, appears overly

  sedated or intoxicated upon presenting a prescription for an opioid or an unfamiliar patient

  requesting an opioid by specific name, street name, color, or identifying marks, or paying cash

  when the patient has prescription insurance); (b) a pharmacist receives an opioid prescription

  issued by a prescriber with whom the pharmacist is unfamiliar (i.e. prescriber is located out-of-

  state or prescriber is outside the usual pharmacy geographic prescriber care area); (c) a pharmacist

  receives an opioid prescription for an unfamiliar patient who resides outside the usual pharmacy

  geographic patient population area; (d) a pharmacist receives an initial prescription for any long-

  acting opioid formulations, including oral and transdermal dosage forms (e.g., fentanyl or

  methadone); or (e) a pharmacist becomes aware of a patient receiving an opioid concurrently with

  a benzodiazepine or carisoprodol.”146 The pharmacist is also required to document the review of

  the PMP reports.

                   Mandatory use of PDMP programs has proven successful. In 2011 and 2012

  respectively, Ohio and Kentucky mandated clinicians to review PDMP data and implemented pain

  clinic regulation. In these states, MME per capita decreased in 85 percent and 62 percent of




  145
        H.B. 3824 (S.C. 2017); H.B. 249 (Georgia 2017).
  146
        N.M.A.C. 16.19.4.16.



                                                   57
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  counties, respectively, from 2010 to 2015.147 New York, starting in 2012, required prescribers to

  check the state’s PDMP before prescribing opioids. In 2013, New York saw a 75 percent drop in

  patients’ seeing multiple prescribers for the same drugs. Likewise, Tennessee, starting in 2012,

  required prescribers to check the state’s PDMP before prescribing opioids. In 2013, Tennessee saw

  a 36 percent drop in patients’ seeing multiple prescribers for the same drugs.

                   Research has shed light on how a PDMP affects these Medicare patient

  behaviors.148 A study compared Medicare opioid prescription data in 10 states that enacted use

  mandates from 2007-2013 with 17 other states implementing PDMPs without use mandates. In

  states with mandates, the percentage of Medicare enrollees who obtained prescriptions from five

  or more doctors was eight percent lower, compared with other states. The percentage of people

  getting opioids from five or more pharmacies was 15 percent lower.

                   States with use mandates also saw a decline in the number of Medicare enrollees

  filling opioid prescriptions before the previous one had run out or obtaining more than a seven-

  month supply of opioids in a half-year period. These states also saw a 15 percent reduction in the

  number of Medicare enrollees with four or more new patient visits in six months. The authors

  estimate that Medicare would save $348 million annually in unnecessary new patient visits if every

  state mandated use of its PDMP.149




  147
        CDC, State Successes, https://www.cdc.gov/drugoverdose/policy/successes.html.
  148
     NBER Working Paper Series, The Effect of Prescription Drug Monitoring Programs on Opioid
  Utilization in Medicare 23148 (2017), https://www.nber.org/papers/w23148.pdf.
  149
        Id.


                                                  58
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                   Unlawfulness of a Prescription Is Material to Government Program Opioid
                   Payments

                   Compliance with federal and state requirements relating to pharmacies’ dispensing

  of controlled substances was and remains material to a Government Program’s decision to pay

  Walmart’s claims for reimbursement of controlled substances. Compliance with these

  requirements is central to Government Program benefits and is a condition of these medications

  being covered.

                   The government routinely denies payment for controlled substance medications, or

  seeks to recoup payments already made, when such prescriptions are not issued or dispensed for a

  legitimate medical purpose in the usual course of professional practice or when the controlled

  substance medication is intended for purposes of addiction or recreational abuse.

                   The United States Department of Justice (“DOJ”) has litigated or settled numerous

  actions where it was alleged that medical providers and/or pharmacies submitted claims for

  controlled substance medications to Government Programs that lacked a valid prescription, were

  not for a legitimate medical purpose and lacked a medically accepted indication, or that did not

  comply with State law.150


  150
      See, e.g., Press Release, U.S. Attorney’s Office, Middle District of Tennessee, Tennessee
  Chiropractor Pays More Than $1.45 Million to Resolve False Claims Act Allegations
  https://www.justice.gov/opa/pr/tennessee-chiropractor-pays-more-145-million-resolve-false-
  claims-act-allegations (detailing $1.4 million settlement resolving allegations of improper billing
  for painkillers, including opioids, and including a nurse practitioner’s surrender of her DEA
  registration); United States ex rel. Norris v. Florence, Civ. Action No. 2:13-cv-00035 (M.D. Tenn.)
  (ongoing FCA litigation against a physician for causing the submission of false claims by
  pharmacies for controlled substances that were not for a legitimate medical purpose); Press
  Release, Department of Justice, Long-Term Care Pharmacy to Pay $31.5 Million to Settle Lawsuit
  Alleging Violations of Controlled Substances Act and False Claims Act,
  https://www.justice.gov/opa/pr/long-term-care-pharmacy-pay-315-million-settle-lawsuit-
  alleging-violations-controlled (Pharmerica CSA and FCA settlement for improper dispensing of


                                                  59
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                 The HHS Secretary’s declaration that the opioid epidemic is a national public health

  emergency under federal law reflects the government’s stance to deny payment for improperly

  dispensed controlled substances.

                 Accordingly, at all times material hereto, Walmart knew that Government Programs

  would not pay for opioid prescriptions if they had known that the controlled substance

  prescriptions at issues were invalid, did not comply with the CSA or with state pharmacy laws and

  regulations, or lacked a legitimate medical purpose or were medically unnecessary. Alternatively,

  Walmart knew (or had reason to know) that Government Programs would not pay claims submitted

  if these Programs knew that the controlled substance prescriptions were invalid as described.

  VI.    WALMART’S PHARMACY OPERATIONS

                 Walmart’s Pharmacy Operations

                 The largest company in the world by revenue, Walmart has grown into a

  multinational retail corporation famous for its discount department and grocery stores.

                 As of January 31, 2018, Walmart has 11,718 stores worldwide, with over 5,000 of

  its stores located in the United States of America. 4,473 of the Walmart stores in the United States

  include pharmacies, with 20 of those pharmacies comprising the New Mexico region where

  Relator Dr. Marcilla worked. Each Walmart pharmacy dispenses about 175 to 700 prescriptions

  daily, but some dispense many more than that amount. In Alamosa, Colorado, the Walmart super

  center #869 completes 200 to 240 prescriptions daily. The pharmacy operates a 62-hour work

  week: Monday – Friday 9-7, Saturday 9-6 and Sunday 11-5, with mandated lunch closing of 130-

  2 pm daily.



  and billing Medicare for unlawfully dispensed prescriptions).


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                      About half of Walmart’s dispensed prescription drugs are for Government

  beneficiaries.

                      In 2018 in the United States, Walmart filled 1,053,753,647 Medicare prescriptions

  and 616,957,721 Medicaid prescriptions.

                      In recent years, Walmart’s operations in the United States have focused on the

  development of its “Supercenter” stores, which average 178,000 square feet and include full-

  service supermarkets and auto servicing and other specialty departments, in addition to department

  store products. Most of these Supercenters also include a retail pharmacy.

                      Walmart organizes its business into three Merchandise Units: Grocery, General

  Merchandise, and Health and Wellness (“H&W”).

                      Walmart’s H&W Unit oversees its over 4,400 pharmacies scattered across all 50

  states plus Washington, D.C. and Puerto Rico. Each pharmacy has its own Pharmacy Manager,

  who manages the day-to-day operations.151 Each Pharmacy Manager reports to a Market Director,

  each of whom oversees approximately 10-12 pharmacies.152 Although the reporting structures,

  geographic regions, and numbers of Directors have changed over time, there have been

  approximately 400 Market Directors at any given time during the relevant period.153 Each of those

  Market Directors has reported to a Regional Director, of which there have approximately 45




  151
      Declaration of Alfred Rodriguez in Support of Opposition to Plaintiffs’ Conditional
  Certification, Nikmanesh v. Wal-Mart Stores, Inc., et al., Civ. No. 8:15-cv-00202-AG-JCG (C.D.
  Cal.), ¶ 3.
  152
        Id.
  153
        Id. at ¶ 4.



                                                     61
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  throughout the U.S.154 In turn, each Regional Director reports to a Divisional Director, of which

  there have been between six and ten across the U.S.155 Finally, the Divisional Directors all report

  to the Senior Vice President of H&W Operations (currently Sean Slovenski).156

                 Walmart utilizes certain corporate-developed and enforced Standard Operating

  Procedures (“SOPs”) that govern pharmacy operations for all Walmart pharmacies throughout the

  United States. They are contained in its Pharmacy Operations Manual (“POM”). The POM covers

  everything from the routine, such as Walmart’s basic beliefs and tenets, to specific, detailed

  pharmacy operations, such as inventory and prescription filling. The Manual is maintained online

  through Walmart’s intranet website, The Wire, and is available to all employees electronically.

                 Walmart pharmacies nationwide use the pharmacy management software

  “Connexus,” which receives, contains, and generates the information and documentation necessary

  to complete the prescription-filling process laid out in Walmart's SOPs.

                 The process begins when a patient’s prescription is first submitted to the pharmacy,

  either in-person by the patient or electronically, in which case some information may be

  automatically entered by Connexus, but must be verified by technicians pursuant to the nine-step

  SOP.

                 The in-person drop-off triggers an SOP referred to by Walmart as “Drop Off for

  Success,” which lays out a basic script beginning with “Good morning/afternoon” for staff to

  follow up on first receiving a patient’s prescription. The process ends with the staff scheduling a




  154
        Id.
  155
        Id.
  156
        Id.


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  pickup time for the patient to retrieve the filled prescription and entering it into the Connexus

  system. Patient information is to be automatically entered by Connexus, but must be verified by

  technicians pursuant to the nine-step SOP.

                 The Walmart staff then proceeds to the “Input” station, where other Walmart staff

  enter the prescription information into Walmart’s Connexus software system described below.

                 The “fill” process, POM 1008, is completed entirely by technicians when the time

  approaches for a prescription to be picked up. The process hinges on the use of a hand-held

  “Scanning for Accuracy” (“SFA”) device, which lists patients with prescriptions that are ready to

  be filled based on the scheduled “patient promise [pickup] time.” The Walmart staff then generally

  scans the “will-call” bag, retrieves the medication from the shelf, scans it, retrieves an empty

  package, and then proceeds to a “Fill Station,” a cubicle-like desk area where the medication is to

  be counted and the package filled.

                 Pharmacists are also expected to perform technician duties in regard to filling and

  bagging. Until recently, hours for technicians were determined by script count and state board of

  pharmacy laws. In Colorado, they could have three technicians to a pharmacist, but there was

  stipulation that required one technician be certified. More recently, managers were informed that

  generated hours based on how long each task would take on “average.” Over time, for example,

  Dr. Chavez’s store lost hours for technicians and pharmacist overlap diminished. Rural settings

  like her Alamosa store were most impacted because they do not have access to a floater pool and

  the nearest store to contact to ask for technician help is two hours’ drive away.

                 All staff and pharmacy managers are considered salaried members of management.

  Therefore, Dr. Chavez has had to put in extra hours to keep up with expected tasks that she could

  not complete during her shifts. Examples include, but are not limited to, writing plans of actions,

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  coaching other associates, travelling to doctor’s offices to promote Walmart, prepping for annual

  inventory, meeting with market directors on days off and giving staff evaluations.

                  Walmart Profit: Incentives to Fill

                  Walmart’s singular, overarching goal has been its profitability. Pharmacies play an

  important role at Walmart and Walmart strives to ensure that its pharmacies contribute to overall

  profitability. In light of its goal, Walmart pharmacies need to fill prescriptions quickly to ensure

  large volume of prescriptions being filled. This focus on driving prescription volume above all else

  drives Walmart’s pharmacy strategy.

                  Focus on speed and increasing “sales” has coincided with Walmart’s launch of

  initiatives such as “express lanes” and mobile web applications intended to maximize the daily

  flow of filled prescriptions.157

                  The Affordable Care Act greatly reduced the reimbursements pharmacies would

  get from government health care programs. By 2013, the reimbursements were down over 20

  percent.158

                  Indeed, in 2015, Walmart’s pharmacy business, expanded only recently in 2006,

  was struggling to make a profit. Then-Chief Executive Officer Greg Foran warned investors during

  an August 18, 2015 quarterly earnings call that Walmart’s pharmacy operations were “negatively

  impacting gross margin” and under “pressure” in the wake of more Americans receiving drug




  157
     Sarah Halzack, Walmart’s plan to get you in and out of stores faster, Wash. Post (Feb. 28,
  2017),    https://www.washingtonpost.com/news/business/wp/2017/02/28/walmarts-plan-to-get-
  you-in-and-out-of-stores-faster/.
  158
       Obamacare Will Squeeze Pharmacy Profits, Drugchannels.net (Oct. 8, 2013).
  https://www.drugchannels.net/2013/10/obamacare-will-squeeze-pharmacy-profits.html.


                                                  64
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  insurance coverage through the Affordable Care Act and “reduced reimbursement rates from

  Pharmacy Benefit Managers.”

                 The lowering of pharmacy reimbursements could only be offset by filling a greater

  number of prescriptions. Unfortunately for the public and the Government Programs, the timing

  was perfect for Walmart to capitalize on the opioid epidemic’s explosion of pills to recoup the lost

  reimbursements by filling a greater volume of prescriptions much more quickly.

                 These efforts succeeded so much so that, by mid-2017 Walmart, had reported nine

  (9) consecutive quarters with increased comparable sales, specifically citing “growth” in pharmacy

  “script counts” and “better in-stock levels of [over the counter] drugs” as “highlights” of its

  positive sales numbers in multiple quarterly public filings describing its earnings.

                 According to Relators, performance metrics and prescription quotas adopted by

  Walmart for its retail stores contributed to its failure to prevent medically unnecessary

  prescriptions from being filled. Walmart only recognized how the pharmacy affected the business;

  there was never recognition of anything clinical.

                 Pharmacists are directed to meet high prescription count goals that make it difficult,

  if not impossible, to comply with applicable laws and regulations. In Relators’ experience, there

  has been little (or no) measurement for pharmacy accuracy or customer safety, or compliance with

  the CSA or state pharmacy laws and regulations.

                 Walmart’s constant elevation of the metrics related to prescription count,

  profitability, and getting prescriptions filled quickly showed its pharmacists what was truly

  important to Walmart corporate management. Walmart had numerous, in-depth tools that tracked

  pharmacy performance. These metrics, however, overwhelmingly focused on the profitability of

  the pharmacy, not patient safety or compliance.

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                 Even beyond making it clear that Walmart’s priority is making money, these

  metrics and measurements show how much data Walmart had about the prescriptions being filled

  at its pharmacies. But instead of leveraging the data to effectively root our inappropriate

  prescriptions, the data was used to squeeze every ounce of profit from its pharmacies at the expense

  of safety.

                 Walmart’s focus on its metrics can be seen in the Weekly Key Metrics Report.

  Emailed each week to its stores, the Key Metric Report includes various data points about each

  store’s performance that week. It stresses such metrics related to prescription count, profitability,

  and the speed at which prescriptions are filled. The report measures such things as “Rx Count”,

  “Rx Count % change”, “Script Count % to Plan (Monthly)”, “Script Count % to Plan (YTD)”,

  “Sales $”, “Sales % vs Plan (Monthly)”, “Sales % vs Plan (YTD)”, and “Avg. Minutes over Due

  Time.” In other words, the Key Metrics focused almost exclusively on the store’s profit margins

  and the number of prescriptions it was churning out the door under the time expectations. Nothing

  in the Weekly Key Metrics report indicates that controlled substances are excluded from the any

  of the metrics like prescription count numbers, profitability measures, or time.

                 Dr. Chavez’s store (#869) averaged around 1400-1500 prescriptions per week and

  the average of the stores in the market was around 1600-1700 prescriptions per week. Dr. Chavez’s

  pharmacy was open a total of 65 hours in a given week meaning that, on average, the store was

  filling between 21 and 23 prescriptions per hour not factoring in any breaks.

                 At their busiest, often pharmacists would need to fill a prescription every 30

  seconds in order to meet the metrics and sales goals. For example, at the Walmart store in Clovis,

  New Mexico where Dr. Marcilla worked as a floater, during the entire 10-hour shift he was the

  lone pharmacist, often working with two pharmacy technicians to fill in excess of 500

                                                   66
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  prescriptions. That is more nearly one prescription per minute—not factoring in any breaks. Such

  overwhelming volume was typical. In Relators’ experience, pushing medications out the door as

  quickly as possible is how Walmart makes its money.

                 Walmart pharmacies also received data about their sales performance in a summary

  for each market. Dr. Chavez’s “Opportunity Report” was called the “Pharmacy Order Performance

  Opportunity Report for Market 488.” In it, the various pharmacies that made up Market 488 were

  compared on various metrics. The report was based on five metrics: % Orders ‘Instore,’ Average

  ‘Instore’ Order Performance, Average 'Instore' Order Performance including TS (Minutes), %

  Orders 'Instore' On Time, and % Patient Expectations Met. The ‘Instore’ orders were orders where

  a customer was waiting in Walmart for his or her prescription to be filled. The stated goal for

  “instore” orders was “20 minutes or Less.” For example, for one day the total number of

  prescriptions filled for the ten stores in Market 488 ranged from a low of 116 to a high of 486. The

  % of Orders Instore ranged from .87% to 34.15%.

                 The reports outlining store performance were consistently sent to the various

  pharmacies on a weekly and daily basis. As shown below, reports on bad doctors, inappropriate

  prescriptions and other potentially useful information for pharmacists in exercising their

  corresponding responsibility were not included in the reports provided to Walmart pharmacies.

                 Only if sales goals and metrics were met were pharmacists eligible for bonuses.

  Moreover, the bonuses for pharmacists are calculated, in part, on how many prescriptions that

  pharmacist fills within a year.

                 If the Walmart pharmacists did not meet the metrics, they would receive negative

  performance reviews and could be (and were) fired. For example, Dr. Marcilla was reprimanded

  once for spending too much time with patients at the counseling window. He felt that was the place

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  where the pharmacist could spend a moment and check the accuracy of prescriptions and make

  other assessments.

                 Walmart pharmacy managers were evaluated annually as well. Fifty percent of the

  evaluation was based on subjective factors and the other 50% was based on objective metrics. Of

  the objective metrics, the largest component—a total of 25% of the whole evaluation—was

  weighted on the profitability of the pharmacy. The profitability metric was heavily dependent on

  the number of controlled substance prescriptions that were filled at that pharmacy.

                 According to one former Walmart pharmacist, the Company emphasized sales over

  safety. “You understood that you needed to grow the business,” one pharmacist said. “The

  pharmacies that grew the business, they sold a lot of controlled substances.” (Pharmacist No. 5)

                 Even if controlled substances are no longer technically included in prescription

  count metrics, pharmacists would never know that from the closely-tracked metrics disseminated

  daily. So even if a pharmacist read the fine print buried in pharmacy manuals, the metrics that were

  actually distributed on a frequent, indeed daily, basis made no effort to exclude controlled

  substances.

                 Similarly, even if controlled substances were not included in the bonus structure

  for Walmart pharmacists, denying a customer his or her controlled substances often times would

  lead to the customer taking all of his or her prescriptions elsewhere. So, for example, if a customer

  came in with a Holy Trinity cocktail, and the pharmacist properly denied the dispensing of the

  opioid, the customer would also not fill the benzodiazepine and the muscle relaxer. Frequently,

  customers would have other prescriptions, like diabetes medications or other maintenance

  medications, at the pharmacy as well. If they were denied opioid prescriptions, the customers

  would in all likelihood take all their business elsewhere. Thus, denying a controlled substance

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  prescription often resulted in losing multiple prescriptions, not just the opioid prescription. For

  pharmacies like Walmart which put so such emphasis on overall prescription count and

  profitability, this dynamic further incentivized pharmacies to fill all prescriptions regardless of

  validity.

                   Walmart had no incentives to report suspicious prescribers, patients, or

  prescriptions.

                   In Relators’ experience, the only things Walmart measured (and thus rewarded)

  were the sales metrics. This has created a culture where the number of prescriptions filled, their

  speed, and their corresponding reimbursements were the measures of success at Walmart. The role

  of the pharmacist as a healthcare professional serving and counseling patients has been completely

  lost. Furthermore, the pharmacists have been pressured to be cogs in a prescription filling machine,

  rather than the last line of defense against inappropriate and/or medically unnecessary

  prescriptions (and the corresponding fraudulent billing).

                   The result is both deeply troubling and entirely predictable: inappropriate and

  medically unnecessary prescriptions for opioids flowed out of Walmart and into communities

  throughout the country. The policies have remained in place even as the epidemic ravaged the

  nation.

                   Immense Pressure to Fill Quickly to Drive Sales

                   In 2016, The Chicago Tribune investigated how pharmacies, including chain

  pharmacies, fostered environments where “safety laws are not being followed, computer alert

  systems designed to flag drug interactions either don’t work or are ignored, and some pharmacies




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  emphasize fast service over patient safety.”159 The Tribune tested 255 pharmacies to see how often

  pharmacies would dispense dangerous drug pairs without warning patients. As part of the

  investigation, the Tribune selected pairs of drugs that had serious interactions, including life-

  threating risks.

                     The results were stark: “Fifty-two percent of the pharmacies sold the medications

  without mentioning the potential interaction, striking evidence of an industrywide failure that

  places millions of consumers at risk.” As the Tribune detailed, “in test after test, other pharmacists

  dispensed dangerous drug pairs at a fast-food pace, with little attention paid to customers.” Chain

  pharmacies “overall failed 49 percent of their tests” and Walmart failed 43% of its tests.

                     While acknowledging the difficulty in pinning the failure of the pharmacies to catch

  the dangerous interaction on a single cause, the Tribune concluded its interviews and studies

  pointed to the pharmacies’ emphasis on speed as a possible explanation. Several pharmacies

  dispensed risky drug pairs with no warning in less than 15 minutes, and the Tribune found that

  “pharmacists frequently race through legally required drug safety reviews — or skip them

  altogether.” The Tribune also noted that The New Hampshire Board of Pharmacy sampled data

  from two retail chains in the state and found that “pharmacists spent an average of 80 seconds on

  safety checks for each prescription filled.” Also, “of the pharmacists at stores that advertised quick

  service, 4 in 10 said they had made a medication error as a result of hurrying to fill a prescription

  within a set time.” And even though most pharmacies use computer software designed to flag drug




  159
      Sam Roe, Ray Long, and Karisa King, Pharmacies miss half of dangerous drug combinations,
  CHICAGO TRIBUNE, Dec. 15, 2016, https://www.chicagotribune.com/investigations/ct-drug-
  interactions-pharmacy-met-20161214-story.html.


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  interactions, experts say computer alerts are so common that pharmacists can get "alert fatigue"

  and ignore many of the warnings.

                  Mayuri Patel, a pharmacist at a Walmart in west suburban Northlake, said to the

  Tribune that she typically filled 200 prescriptions in a nine-hour shift, or one every 2.7 minutes.

  At another Walmart where she was trained, it was even busier, she said: “We were doing 600 a

  day with two pharmacists with 10-hour shifts.” That works out to one prescription every two

  minutes.

                  In response to the Tribune article, Walmart said it would update and improve its

  pharmacy alert system and train pharmacists on the changes. Walmart also said it will send a

  notification to all of its pharmacists reminding them of best practices in terms of identifying drug

  interactions and warning patients. Wal-Mart said it will reinforce that pharmacists should counsel

  all patients filling new prescriptions.

                  The National Association of Boards of Pharmacy (NABP) also recognized that

  performance metrics pose a dangerous problem in pharmacies. In 2013, it adopted Resolution 109-

  7-13 entitled “Metrics and Quotas in the Practice of Pharmacy.”160 The Resolution tasked NABP

  to “assist the state boards of pharmacy to regulate, restrict, or prohibit the use in pharmacies of

  performance metrics or quotas that are proven to cause distractions and unsafe environments for

  pharmacists and technicians.” The resolution specifically cited to a survey conducted by the

  Institute for Safe Medication Practices (ISMP) of 673 pharmacists that revealed that 83% believed



  160
     Performance Metrics and Quotas in the Practice of Pharmacy (Resolution 109-7-13), National
  Association       of       Boards        of       Pharmacy,       June        5,       2013,
  https://nabp.pharmacy/newsroom/news/performance-metrics-and-quotas-in-the-practice-of-
  pharmacy-resolution-109-7-13/.


                                                  71
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  that distractions due to performance metrics or measured wait times contributed to dispensing

  errors and that 49% felt specific time measurements were a significant contributing factor.

                 In September 2014, the NABP announced that it had amended the Model State

  Pharmacy Act and Model Rules of the National Association of Boards of Pharmacy (Model Act).

  Reflecting Resolution 109-7-13, the Model Act now states that requiring pharmacy personnel to

  meet production and/or performance metrics and/or quotas that negatively impact patient safety

  may be grounds for discipline.161

                 Building on the issues discussed in the Chicago Tribune article, The New York

  Times also published two articles highlighting the various issues at chain pharmacies such as

  Walmart. The first article, entitled How Chaos at Chain Pharmacies is Putting Patients at Risk, is

  an in-depth look at the crushing demands pharmacists face and the resulting consequences for

  public safety.162 Similar to the allegations in this complaint, the article goes through numerous

  examples of pharmacists in dozens of states who have accused Walmart, Walgreens, CVS and

  other major drugstore chains of putting the public at risk of medication errors because of

  understaffed and chaotic workplaces.

                 The article chronicles letters to state pharmacy boards and interviews, in which

  pharmacists said they struggled to keep up with an increasing number of tasks—filling


  161
      Newsletter, National Association of Boards of Pharmacy, September 2014, Vol. 48, No. 8,
  https://nabp.pharmacy/wp-content/uploads/2016/07/Final-September-2014-NABP-
  Newsletter.pdf; Model Act/Rules, National Association of Boards of Pharmacy,
  https://nabp.pharmacy/publications-reports/resource-documents/model-pharmacy-act-rules/.
  162
     Gabler, Ellen, How Chaos at Chain Pharmacies is Putting Patients at Risk, THE NEW YORK
  TIMES (Jan. 31, 2020), https://www.nytimes.com/2020/01/31/health/pharmacists-medication-
  errors.html.




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  prescriptions, giving flu shots, answering phones and tending the drive-through, to name a few—

  “all the while racing to meet Corporate performance metrics that [the pharmacists] characterized

  as unreasonable and unsafe in an industry squeezed to do more with less.”

                 Multiple surveys of pharmacists in states like Missouri, Maryland, and Tennessee

  reveal the widespread nature of the problems. For example, a survey of over 1,000 Missouri

  pharmacists revealed that a majority of pharmacists (60%) “said they ‘agree’ or ‘strongly agree’

  that they ‘feel pressured or intimidated to meet standards or metrics that may interfere with safe

  patient care.’ Of those surveyed in Missouri, ‘[a]bout 60 percent of respondents worked for retail

  chains, as opposed to hospitals or independent pharmacies.’”

                 The article also described how the large chain pharmacies stifle dissent among

  pharmacists, who often feel intimidated and powerless as cogs in the chain pharmacy prescription

  machine.

                 The second article is entitled At Walgreens, Complaints of Medication Errors Go

  Missing.163 While the article focused on Walgreens in particular, the article shows how the

  allegations in this complaint were widespread at the chain pharmacies in general, including

  Walmart. This includes things like the demands chains place on their pharmacists leading to the

  pharmacists ignoring some safety procedures and the widespread perception among chain

  pharmacists that there is not enough time to respond to all pharmacy tasks.

                 Walmart put immense pressure on its pharmacists to fill not only all prescriptions

  but to fill them quickly. Often, this pressure was directly applied by pharmacy managers.


  163
     Gabler, Ellen, At Walgreens, Complaints of Medication Errors Go Missing, THE NEW YORK
  TIMES (Feb. 21, 2020), https://www.nytimes.com/2020/02/21/health/pharmacies-prescription-
  errors.html.


                                                 73
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                 Every day, pharmacy managers would get a printout showing the previous day’s

  data for reimbursement, what the sales volume was, how fast prescriptions were moved, how many

  prescriptions were filled and other sales metrics. Pharmacy managers were required to review these

  metrics every day.

                 Relying on that data, managers would then pressure the pharmacists to increase the

  speed and, consequently, the volume of dispensing.

                 The pharmacies’ performance was tracked on the “Operational Dashboard.” The

  Dashboard tracked various metrics for pharmacies in a given market.

                 The prescription count for Dr. Chavez’s market ranged from a low of 909 to a high

  of 2271. On average, the stores in Dr. Chavez’s market filled 1662 prescriptions per week. That

  means, on average, each store was filling 237 prescriptions per day. If a pharmacy was open 12

  hours on a given day, the pharmacy was filling about 20 prescriptions per hour, or one every 3

  minutes.

                 Those averages are probably low, however. Walmart also tracked on a daily and

  hourly basis exactly how many prescriptions were filled at a particular pharmacy. For Dr. Chavez’s

  store, the daily averages Monday-Friday were closer to 300 prescriptions per day. Often, particular

  hours saw nearly one prescription filled per minute.

                 At least one state Board of Pharmacy has indicated that filling prescriptions quickly

  leads to pharmacy errors. The Oklahoma BOP cited a CVS for a pharmacy error where the

  pharmacy filled 194 prescriptions in a six hour shift. That means the pharmacy was filling an

  average of 32 prescriptions per hour or nearly one prescription every two minutes.164


  164
        Id.


                                                  74
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                 The culture of filling prescriptions quickly to drive volume was built into the

  electronic software used by Walmart. The order-filling software Connexus would start a

  countdown to pressure pharmacists to fill the prescriptions more quickly. The system used a

  stoplight system to ensure that the pharmacist worked quickly. The system pressured the

  pharmacist to get “back in the green” and on track about prescriptions with yellow flashing to warn

  off being close to off schedule and red indicating that the pharmacist was not working quickly

  enough. This system did not take into account the complexities of each prescription, so the system

  would assign the same amount of time to fill for a customer presenting with numerous red flags

  the same as one without.

                 Unlike the data they received about sales metrics, Walmart pharmacy managers did

  not get information on the pharmacists who were counseling patients, fully evaluating opioid

  prescriptions, and otherwise acting properly as pharmacists.

                 Although pharmacists were supposed to be customer service people, at Walmart

  they could not do customer service because it takes too much time. Relators and other Walmart

  pharmacists got into health care because they wanted to help people and Walmart would not allow

  them to do that.

                 The pressure to fill every prescription was also compounded through the lack of

  adequate staffing. Often, pharmacists were left as the only pharmacist at a location for entire shifts.

  This greatly cut into the ability of the pharmacist to evaluate each prescription carefully and in

  accordance with the law.

                 At a Walmart store in Clovis where Dr. Marcilla worked, there was only one

  pharmacist at a time, aided by two technicians. Despite asking Walmart for help, he received none.

  He and the technicians filled over 500 prescriptions in a typical ten-hour shift. In Relators’

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  experience working at Walmart, the priority was always how much, how fast. Given the pressure

  to fill prescriptions quickly, it was simply impossible to investigate, report, and halt suspicious,

  inappropriate, or medically unnecessary prescriptions of controlled substances.

                 The lean staffing of pharmacists and pharmacy staff can be seen in the staffing at

  Dr. Chavez’s store as well. For the week of December 3, 2016 – December 9, 2016, the pharmacy

  was open for a total of 65 hours (not counting mandatory lunch breaks). Yet the store was only

  allotted 99 hours of pharmacist time. This meant that for all of Saturday and Sunday, only one

  pharmacist was working. Since 2016, staffing levels have only decreased at Walmart pharmacies.

                 Some states have tried to outlaw pharmacists from working alone. California, for

  example, passed a law saying no pharmacist could be required to work alone. Regrettably,

  however, it has been largely ignored since taking effect last year, according to leaders of a

  pharmacists’ union.165

                 Walmart has not heeded the warnings and continues to staff its pharmacies leanly

  while at the same time heaping more and more responsibilities onto pharmacists and passing the

  buck onto them to identify suspicious prescriptions.

                 Lack of Training on How to Properly and Adequately Handle Inappropriate
                 Opioid Prescriptions

                 Walmart failed to adequately train its pharmacists and pharmacy technicians on

  how to properly handle prescriptions for controlled substances, including opioid painkillers.

  Walmart neglected to train its pharmacists on what constituted a proper inquiry into whether a


  165
      Gabler, Ellen, How Chaos at Chain Pharmacies is Putting Patients at Risk, THE NEW YORK
  TIMES (Jan. 31, 2020), https://www.nytimes.com/2020/01/31/health/pharmacists-medication-
  errors.html.


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  prescription is legitimate, whether a prescription is likely for a condition for which the FDA has

  approved treatments with opioids, and what measures and/or actions to take when a prescription

  is identified as phony, false, forged, or otherwise illegal, or when suspicious circumstances are

  present, including when prescriptions are procured and pills supplied for the purpose of illegal

  diversion and drug trafficking.

                 The Department of Health & Human Services’ Office of the Inspector General

  (“HHS OIG”) has long highlighted the dangerous link between corporate cultures of disregard for

  compliance, like the one existing at Walmart’s pharmacies, and Medicare fraud, finding that

  “vulnerabilities identified within pharmacies raise concerns about the extent to which sponsors

  have complied with CMS’s requirement to provide effective training and whether fraud, waste,

  and abuse may be undetected in a pharmacy setting.”166

                 The DEA,167 state pharmacy boards,168 and national industry associations169 have

  provided extensive guidance to pharmacists concerning their duties to the public. The guidance



  166
     See OIG, Medicare Drug Plan Sponsors’ Training to Prevent Fraud, Waste, and Abuse, OEI-
  01-10-00060 (July 2011), https://oig.hhs.gov/oei/reports/oei-01-10-00060.pdf; see also OIG,
  Medicare Drug Plan Sponsors’ Identification of Potential Fraud and Abuse, OEI-03-07-00380,
  (October 2008), https://oig.hhs.gov/oei/reports/oei-03-07-00380.pdf.
  167
     Michele Leonhart et al., Pharmacist’s Manual: An informational outline of the controlled
  substances act, Drug Enf’t Admin., Diversion Control Div. (Revised 2010),
  https://www.deadiversion.usdoj.gov/pubs/manuals/pharm2/.
  168
     See OIG, Medicare Drug Plan Sponsors’ Training to Prevent Fraud, Waste, and Abuse, OEI-
  01-10-00060 (July 2011), https://oig.hhs.gov/oei/reports/oei-01-10-00060.pdf; see also OIG,
  Medicare Drug Plan Sponsors’ Identification of Potential Fraud and Abuse, OEI-03-07-00380,
  (October 2008), https://oig.hhs.gov/oei/reports/oei-03-07-00380.pdf.
  169
     Philip Brummond, et al., American Society of Health-Systems Pharmacists Guidelines on
  Preventing Diversion of Controlled Substances, 74 Am. J. of Health-Sys. Pharmacy e10 (Jan.
  2017), http://www.ajhp.org/content/early/2016/12/22/ajhp160919.



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  teaches pharmacists how to identify red flags, which indicate to the pharmacist that there may be

  a problem with the legitimacy of a prescription presented by a patient. 170 The guidance also tells

  pharmacists how to resolve the red flags and what to do if the red flags are unresolvable.

                 For instance, the industry guidance tells pharmacists how to recognize (a) stolen

  prescription pads; (b) prescription pads printed using a legitimate doctor’s name, but with a

  different call back number that is answered by an accomplice of the drug-seeker; (c) prescriptions

  written using fictitious patient names and addresses; and (d) other similar red flags.

                 Until very recently, there was a total lack of training given by Walmart to its

  pharmacists about how to identify suspicious prescription and medically inappropriate

  prescriptions. This failure was particularly egregious given the raging opioid crisis.

                 Essentially, Walmart abdicated its responsibility, and left it completely up to the

  pharmacists to figure out on their own how to identify medically unnecessary and/or inappropriate

  prescriptions. One pharmacist described the situation as Walmart just leaving “it up to the feel of

  the pharmacist.” (Pharmacist No. 1). A pharmacy technician described the decision whether to fill

  a prescription as “mostly at the discretion of the pharmacist… Nothing formal.” She further added

  that “the pharmacists would police dispensing themselves.” (Pharmacy Technician No. 1)

                 One pharmacy technician in Kentucky said that when she filled prescriptions, she

  was unaware of the prescribing physician’s name and was never trained or instructed to note that

  information. Even if trained, she said that her crushing workload prevented her from doing even


  170
      Va. Bd. of Pharmacy, Prescription Drug Abuse: Red flags for pharmacists and pharmacy
  technicians (Aug. 6, 2014), https://youtu.be/j5CkhirlZk8; Philip W. Brummond et al., American
  Society of Health-Systems Pharmacists Guidelines on Preventing Diversion of Controlled
  Substances,    74     Am.     J.    of    Health-System     Pharmacy    e10   (Jan.    2017),
  http://www.ajhp.org/content/early/2016/12/22/ajhp160919.


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  basic things like that. (Pharmacy Technician No. 1) A different pharmacy technician said that,

  despite the epidemic environment in her state and the large numbers of opioid patients in her

  pharmacy, she had “absolutely no formal training on what to do” to identify fraudulent patients or

  doctors and was made aware of no policies or procedures on when to refuse to fill such

  prescriptions or how to handle such customers. (Pharmacy Technician No. 2)

                 Any training that Walmart pharmacy employees did get was largely limited to how

  to use the pharmacy computer system, how to input prescriptions, and how to operate a handheld

  scanner used to process medications from distributors. (Pharmacy Technician No. 1)

                 The lack of training by Walmart did more than just leave its pharmacists and

  technicians unprepared, it was a signal to them that rigorous evaluation of prescriptions was not

  important to the company as a whole. Instead, the company only focused on filling prescriptions

  regardless of validity.

                 Lack of Dispensing Protocols or Policies

                 Walmart’s singular focus on filling all prescriptions as quickly as possible meant

  that it did not have rigorous dispensing protocols or policies. Such policies would not have only

  resulted in denying more suspicious prescriptions, but would also slow down the speed at which

  prescriptions were filled. Instead, Walmart has insisted its dispensing practices to operate as a

  production line.

                 Walmart’s procedure for filling prescriptions, including opioids, was limited to a

  basic nine-point check – patient name, date of birth, check the physician’s name, check the

  medication, verify the signature, verify the dosage, confirm the patient instructions, check the

  photo of the drug to see if it is the right one, approve it, then make it ready to dispense.




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                   In Dr. Marcilla’s experience working at over 20 Walmart pharmacies in New

  Mexico, in such a busy, chaotic environment, the last thing Walmart was going to do was have

  pharmacists and technicians go over some policies and procedures about dispensing narcotics. It

  simply was not done during the time Relators worked at Walmart.

                   For store managers like Dr. Chavez, the focus was input accuracy at a rate of 95

  percent for technician input and wait times for “in store” prescriptions. Up until 2018, managers

  were mandated to post “division goals” in a frame in the store. They were expected as managers

  to grow their business and run the pharmacy as if they “owned” it. The emphasis was on being

  competitive with respect to the pharmacy’s profit and sales generated. There was no conversation

  generated about the dispensing of narcotics from the corporate level by any form of

  communication. The term “red flags” was not discussed, nor ever mentioned. The first time Dr.

  Chavez had ever heard about the “Holy Trinity” becoming a concern was from the pharmacy board

  inspector, Mark Kalkis, in 2016.

                   Critically, Walmart pharmacies did not have any policies or protocols about how to

  address suspicious prescriptions. There were no Walmart guidelines for a pharmacist or

  technicians to consult to determine whether a particular prescription was suspicious or medically

  inappropriate. Walmart had no checklist, guidance, training, or resources for pharmacists or

  technicians to consult about whether a prescription was medically appropriate and should or should

  not be filled.

                   A pharmacy technician said that in her years working at Walmart she never had any

  discussions with management about suspicious physicians or what to do in the event the came

  across one. (Pharmacy Technician No. 1)



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                 Even if a pharmacist or technician did identify a prescription that was not medically

  appropriate, there was a total lack of policies and procedures for the pharmacist to follow after

  identification. Walmart had no protocol about how to flag prescribers who consistently were

  writing suspicious or medically inappropriate prescriptions, no protocol about how to flag

  prescription shopping by customers, or communicate information about trends they were seeing.

                 Despite filling large quantities of controlled substances, including opioids, and even

  though Walmart regularly acknowledged publicly that the opioid crisis raging nationally, Walmart

  did not maintain or share with its pharmacy staff a list or database of suspicious health care

  providers. “There was nothing put in place for that,” said one pharmacy technician. “It was purely

  up to the discretion of who was working and the pharmacist who was on duty.” (Pharmacy

  Technician No. 2). Ultimately, it was up to the individual stores to keep informal lists (if even that)

  compiled through word of mouth among pharmacists and technicians.

                 As one of the largest corporations in the world, Walmart could have easily invested

  some of its vast resources into developing uniform protocols that would have given concrete

  guidance to its pharmacy staff. But Walmart did not even use any of the available public guidance

  to incorporate into its own practices. Instead, it emphasized its profitability metrics, leaving it up

  to the pharmacy staff to refuse prescriptions at their own risk.

                 Throughout most of the relevant time, Walmart essentially left the pharmacists and

  technicians on their own to evaluate prescriptions. This led to endemic inconsistency, with many

  choosing to fill as many prescriptions as possible, especially given the pressures and incentives to

  do so built into the structure of Walmart pharmacies’ operations.




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                 This problem was particularly acute for hydrocodone prescriptions before 2014.

  Before that time, hydrocodone was a CIII, not a CII as it is now. That meant that Walmart paid

  even less attention to what any reasonable pharmacist knew was a potent and powerful opioid.

                 This complete lack of a compliance function to check the tide of inappropriate

  and/or medically unnecessary prescriptions for opioids meant that pharmacy staff varied in the

  kind of diligence they practiced when it came to assessing suspicious customers and prescriptions.

  “There were unscrupulous pharmacists who really didn’t care … and some were just too busy.”

  (Pharmacist No. 1) Another pharmacist said “[s]ome pharmacists were able to get away with

  anything and everything they were doing.” (Pharmacist No. 5)

                 With some pharmacists being particularly lax in their dispensing habits, there were

  routinely inappropriate and/or medically unnecessary prescriptions that were filled at Walmart

  pharmacies, including hundreds of thousands of opioid prescriptions paid for by Government

  Programs.

                 Despite reasonably diligent pharmacists who, had they been given the tools and

  time, might have able to recognize the steadily growing influx of inappropriate opioid

  prescriptions, Walmart continued to not have pharmacy policies to help the opioid problem from

  “going off the rails.” (Pharmacist No. 1)

                  Of note, for most of the relevant time period Walmart did not require its

  pharmacists to check state PDMP databases at all despite the evidence that using this data reduces

  overdose deaths, doctor shopping, and inappropriate or medically unnecessary reimbursements. In

  fact, one pharmacist recalled that many pharmacists at her location in Florida did not use the state’s

  PDMP database, and that one pharmacist at her store did not even know her password to logon to

  Florida’s E-FORCSE system. (Pharmacist No. 5)

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                   Having such a requirement would have greatly increased the time it took to fill

  prescriptions and would have identified many more prescriptions that were medically

  inappropriate. Predictably, Walmart chose its bottom line over public health.

                   Walmart’s Unique Opioids Return Policy Led to Further Abuse

                   Walmart’s return policy also attracted inappropriate prescriptions to its pharmacies

  in particular.

                   Walmart stores have a generous return policy that allows many items to be returned

  to a Walmart store without a receipt for store credit.171 This policy led to a cycle of addicts, dealers,

  and others shoplifting items from a Walmart store, “returning” the stolen merchandise for store

  credit, then using the credit to fill prescriptions for controlled substances, particularly opioids.

  Often, these fraudulently obtained prescriptions were then sold on the street for multiples of their

  retail value.

                   The practice was so widespread that a judge in Westmoreland County Pennsylvania

  dubbed her court “Walmart court.” The judge remarked that “With the amount of fraudulent

  returns I’m seeing, the volume is on a scale that has to be enormous. I don’t understand how

  Walmart can’t know that this is a means to an end for an addict. This is how addicts are paying for

  their drugs.” The judge laid the blame at Walmart’s feet: “Walmart has to know that they are a

  huge part of the problem … that they are contributing to this epidemic.”172




  171
          Walmart      Policies   and     Guidelines:          Return      Policy,     Walmart        Inc.,
  https://corporate.walmart.com/policies#return-policy.
  172
      Stephen Huba, Judge takes on Walmart in opioids fight, TRIBLIVE (Oct. 14, 2017)
  https://archive.triblive.com/local/westmoreland/12825084-74/judge-takes-on-wal-mart-in-
  opioids-fight.


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                 Walmart Was Well Aware of the Opioid Crisis and Failed to Take Steps to
                 Curtail and Prevent Expansion of the Problem at Its Stores Throughout the
                 U.S.

                 Walmart has had knowledge and/or notice of the opioid problem since at least 2002.

  At any time since, Walmart had it could have unilaterally taken steps to curtail and prevent

  expansion of the problem, but it failed to do so.

                 Walmart was well aware of the problem. For example, throughout the growing

  opioid epidemic, there have been widespread reports of pharmacy robberies and burglaries at its

  stores throughout the U.S. tied to narcotics. For years, Walmart pharmacies experienced numerous

  instances of forgery, fraud, theft, and robbery by addicts and criminals seeking oxycodone and

  similar C-II drugs. A review of news reports reveals repeated the rampant, opioid-related crime

  afflicting its pharmacies across the country which could not have gone unnoticed by Walmart.

                 Since 2012 there have been at least 19 robberies at Walmart pharmacies in 13

  different states specifically targeting opioids. A list is attached as Appendix A.

                 Pain clinics and pill mills drive the narcotic burglary problem at pharmacies and

  the robberies mirror a national rise in the abuse of narcotic painkillers. The robberies, many of

  which happened at Walmart pharmacies, put it on notice of the growing opioid epidemic all over

  the country. Yet, even with the knowledge of opioid robberies at its pharmacies, for years Walmart

  tried to ignore its central role in the opioid epidemic (including its dispensing practices fueling the

  oversaturation of opioids into American communities) and ways it could have combatted the root

  causes of the epidemic.

                 Likewise, the POMs developed with the input and approval of Walmart corporate

  and regional-level managers, and enforced by District, Market and Regional Directors essentially

  ignored the opioid epidemic and Walmart’s legal obligations as a pharmacy.

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                 Relevant here, the version of POM 1311 (dealing with “Regulatory Affairs: Proper

  Prescriber-Patient Relationship”) in existence from 2011 to 2017 included no directives for

  identifying healthcare providers who were writing inappropriate or medically unnecessary opioid

  prescriptions. Indeed, illustrating that Walmart did nothing to block what it knew (or could have

  easily known) to be prescribers who illustrated a pattern of inappropriate or medically unnecessary

  prescribing, POM 1311 specifically directed that Walmart would not allow its pharmacists to block

  prescriptions to suspicious providers, so-called “blanket refusals” to fill.

                 Here is the operative language from POM 1311 extant from 2011 to 2017, making

  clear Walmart would not allow blocking of prescriptions for any prescriber, even for prescribers

  who it knew (or should have known) were writing medically unnecessary and/or inappropriate

  prescriptions: “Blanket refusals of prescriptions are not allowed. A pharmacist must make an

  individual assessment of each prescription and determine that it was not issued based on a valid

  prescriber-patient relationship or for a valid medical reason before refusing to fill.” (emphasis

  added)

                 This meant that Walmart has condoned the continued filling prescriptions for pill

  mill prescribers even when it knew (or should have known) there was a pattern of fraudulent

  prescribing. Walmart thus until only very recently expressly refused to allow its pharmacies to

  block prescribers under any circumstances – e.g., even if the prescriber has been indicted or (worse

  yet) found guilty of opioid diversion and abuse. As a result, Walmart’s corporate-controlled SOPs

  barred pharmacists from blocking what they and/or management knew (or reasonably could have

  known) were suspicious prescribers and prescriptions.

                 Too Little, Too Late: Walmart’s Response to the Opioid Epidemic



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                 Walmart’s response to the opioid epidemic put profits over patients. While Walmart

  has recently taken steps to address the raging epidemic, the steps it has taken could have—and

  should have—been taken much earlier. Walmart was in a particularly good position to curb the

  rise of inappropriate opioid dispensing given that it has thousands of pharmacies across the

  country. With its expansive pharmacy network, it should have identified outlier prescribers or

  stores and taken steps to address the issues. Furthermore, given that Walmart’s pharmacy

  operations are directed from the top down – i.e., from corporate offices down to the individual

  pharmacies in the field, a change in corporate policy on things like blanket refusals to fill or

  additional staffing would have made a large difference. Such policies would be rolled out to

  thousands of pharmacies at a time greatly increasing their impact. Instead, Walmart chose to be

  willfully ignorant and continue to squeeze every last ounce of profit from its pharmacies instead

  of complying with its duties under the law.

                 Only with waves of litigation on the horizon, did Walmart begin to change. Again,

  not as a reaction to what was legally required or to prevent medically inappropriate prescriptions

  from being filled, but rather because Walmart recognized its prior priority on profit and

  corresponding dispensing of millions of inappropriate prescriptions could give rise to great legal

  liability.

                 Ultimately, while Walmart has done more recently to curb inappropriate

  dispensing, Walmart cannot be given a free pass for trying to put out a fire it stoked in the first

  place.

                        February 2017: Walmart Institutes Revised POM 1311 “Blanket
                        Refusal to Fill” Policy




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                  Starting with changes first made to POM 1311 in February 2017, belatedly for the

  first time Walmart provided direction that its pharmacists could, if they identified “a pattern of red

  flags with a prescriber that are [sic] unresolvable, a pharmacist could refuse all controlled

  substance prescriptions from that prescriber (‘Blank Refusal’) without evaluating every future

  controlled substance prescription from that prescriber.”

                  However, even then, POM 1311 provided no explanation of what it meant for a

  pattern of red flags to be “unresolvable.” Instead, POM 1311 required pharmacists to use their

  “professional judgment” and document their findings in the Rx Notes field of Connexus.

                  With the February 2017 revisions to POM 1311, each pharmacist was therefore to

  make an individual decision regarding the blanket refusal to fill, also called “BRTF.” In order to

  document these decisions, Walmart required pharmacists to submit a “Blanket Refusal” form for

  the prescriber in its Archer compliance monitoring system.

                  Even then, illustrating just how flawed the new directions were for POM 1311, the

  pharmacist was then to notify (orally only) all the other local pharmacists of the blanket refusal.

  There was to be no corporate communication of the BRTF.

                  Likewise, POM 1311 directs that pharmacists were not to post a list of refused

  prescribers, or any other similar written documentation. As a result, Walmart’s 2017 word of

  mouth procedure under POM 1311 made sure there was no means by which to confirm such oral

  communications had ever taken place, particularly to ensure that floater or new pharmacists were

  aware of blanket refusals to fill.

                  Moreover, even though POM 1311 purported to put in place a process for

  pharmacists to document their refusal to fill a prescriber’s prescriptions, Walmart had no system

  in place for months which actually blocked the filling of these prescriptions. Indeed, when she

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  filled out a Refusal to Fill form for an Alamosa nurse practitioner in March 2017, Dr. Chavez

  learned that not only was it up to her to make sure the block actually went through, due to IT

  issues it took months for the block to become actually effective in the system.

                          May 7, 2018: Walmart Institutes New Policies Limiting MME and
                          Days’ Supply for Opioid Prescriptions

                  On May 7, 2018, Walmart issued a press release announcing measures “aimed at

  helping curb opioid abuse and misuse.”173 Within 60 days, in alignment with the CDC, Walmart

  would “restrict initial acute opioid prescriptions to no more than a seven-day supply.”174

                  In addition, by the end of August 2018, Walmart pharmacists would have access to

  NarxCare, “a tool that helps pharmacists make dispensing decisions and provides pharmacists with

  the real-time interstate visibility that currently exists.”175

                  And, the Company committed it would conduct additional training and education

  on “opioid stewardship for its pharmacists, including a pain management curriculum.”176

                  The Company followed up with POM 1322 in June 2018, outlining how the new

  limits on opioid prescribing would be rolled out to pharmacists. In spite of the fact that Walmart

  had done very little to this point to ensure that only medically appropriate prescriptions had been

  dispensed, POM 1322 stated that “[e]xceptions should only apply in extraordinary circumstances”




  173
     Press Release, Walmart Introduces Additional Measures to Help Curb Opioid Abuse and
  Misuse, May 7, 2018, https://corporate.walmart.com/newsroom/2018/05/07/walmart-introduces-
  additional-measures-to-help-curb-opioid-abuse-and-misuse.
  174
        Id.
  175
        Id.
  176
        Id.


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  and that “[a]ssociates who do not comply with this Policy are subject to discipline, up to and

  including termination.”

                 On June 7, 2018, Dr. Chavez and all other Walmart pharmacists were then to

  complete a “Pain Management Forum,” a series of online video training sessions “focusing on

  appropriate strategies for preventing and addressing opioid misuse and overdose while ensuring

  proper management of chronic pain in patients.” The videos presented opioid diversion and abuse

  scenarios after which attendees were required to answer questions about the appropriate way to

  handle each situation. Attendees were required to answer the quiz questions correctly before they

  could complete the Forum. Upon successful completion of the Forum, attendees received a

  “Certificate of Completion: Pain Management Forum.”

                 This was the first training of its kind concerning opioid prescribing that Walmart

  had conducted for its pharmacists.

                        Walmart’s 2018 Training on “Resolution of Red Flags” Illustrates that
                        It Has No Interest in Ensuring that Inappropriate and/or Medically
                        Unnecessary Opioid Prescriptions Are Filled

                 Illustrating that the Stewardship campaign was little more than a PR campaign to

  paper over its problems alleged herein, in a POM 1311/1322 document sent to all Walmart

  pharmacists in late 2018 to train them how they were to document “resolved” red flags, Walmart’s

  Compliance Department provided guidance of seven (7) sample “resolutions” that, in fact, do not

  at all resolve the red flags, but instead simply allow for (if not condone) ongoing, indiscriminate

  filling of inappropriate and medically unnecessary prescriptions.

                 Illustrating Walmart’s focus on filling prescriptions, the training document only has

  examples of how to resolve individual red flags; it does not give any examples of when a

  pharmacist should refuse to dispense a prescription. Essentially the document is a list of excuses

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  to fill all prescriptions, not a real example of a pharmacy training its pharmacists to execute their

  corresponding responsibility under the law.

                  Another glaring deficiency with the training document is that it does not address

  the common scenario of a prescription presenting with multiple red flags. A combination of red

  flags often is what alerts the pharmacy not to fill the prescription. For example, a customer that

  presents a prescription from a doctor outside the geographic area of the pharmacy is a red flag that

  theoretically could be explained by the patient being on vacation. But the law requires that a

  pharmacy resolve all the red flags before dispensing a prescription. The training gives no guidance

  how to handle a prescription that comes from a doctor outside the geographic area, but also

  presents additional red flags, such as a cocktail prescription or high dosages. The training suggests

  simply resolving the single red flag is enough.

                  The majority of the examples in the training also resolve the red flag with a call to

  the prescriber. While certainly calling the prescriber is something pharmacists should do as part of

  their due diligence, calling the prescriber alone is not going to be sufficient in many cases.

  Fundamentally, many problematic prescribers are not going to admit their prescriptions are

  inappropriate because they are contacted by a pharmacist. There is no guidance about what to do

  if the call to the prescriber does not adequately resolve the red flag or flags. Also, practically

  speaking, many pill-seeking individuals will go to pharmacies when they are busy or after the

  prescriber’s office would be closed like on nights or weekends. There is no guidance about what

  do in those situations either.

                  In addition, the suggested “resolutions” continue to put the onus nearly completely

  on the pharmacist. None suggest (or offer) using Walmart resources, such as aggregated data, to

  assist the pharmacists. So even if the resolutions in the training are legitimate, Walmart does not

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  allow pharmacists the time or resources to be able to complete the due diligence given Walmart’s

  other demands on their time and the continued focus on filling all prescriptions quickly.

                 The POM 1311/1322 training by Walmart Compliance ostensibly instructed

  pharmacists that documenting resolution of red flag was required, including details “on how they

  resolved the specific red flags in the Rx Notes field in Connexus.” They were supposed to “provide

  sufficient detail in the documentation that someone not familiar with the details of the situation

  could understand how the red flags were resolved. The documentation was to include the names

  of prescribers or prescriber’s agents involved in the resolution process and the date of any

  conversations.”




                 However, the POM 1311/1322 training then provides seven different examples of

  red flag resolutions that demonstrate that the real intent was simply that pharmacists provide only

  the most cursory excuse so they could continue filling.

                 This guidance from Walmart Corporate Compliance was provided as part of the

  training with the Opioid Stewardship program. Many pharmacists were not documenting or

  clearing red flags adequately. Furthermore, during this time, Walmart management had conference



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calls with pharmacists to take questions and have leadership answer what the Company expected

for documentation. The Sample Resolutions in the POM 1311/1322 training materials were used

to illustrate what management explained was expected of pharmacists in resolving these red flags.

However, most of the Sample Resolutions not only do not actually provide adequate

documentation of a valid reason to prescribe (i.e., that the prescriptions were written for a

legitimate medical purpose within the usual course of professional practice177), many are explicitly

contrary to clear directives from the DEA and caselaw that such red flags are unresolvable under

the CSA.

                Sample Resolution No. 1 involves a purported resolution by CRIOGI (believed to

be Caroline Riogi from Walmart’s Compliance Department178) for a prescriber who practices

outside the trade area. Instead of following the directives for explaining the red flag resolution

(including using available resources like NarxCare, state PDMP databases and the patient

Connexus profile), the sample resolution only says the pharmacist spoke with the patient who just

moved to the area and “does not yet have a prescriber.”




177
      21 CFR 1306.04(a).
178
    See Caroline Riogi Business Profile, Health & Wellness Director, Corporate Compliance at
Sam’s Club, Sam’s Club, 2101 S.E. Simple Savings Dr., Bentonville, AR,
https://www.zoominfo.com/p/Caroline-Riogi/-1931641297.


                                                92
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Sample Resolution No. 1 provides reasons the pharmacist found to fill the prescriptions and does

not properly clear a red flag. On top of that, this is exactly the situation which the Holiday CVS

decision and other decisions have found on their face is “not resolvable.”179 As such, Walmart

was clearly on notice that its Sample Resolution No. 1 was a violation of the CSA for which there

was no resolution available. Instead of counseling its pharmacists how to document how to resolve

the red flag, it should have been counseling them how to document the BRTF.

               Sample Resolution No. 2 involves a prescriber who provides the same diagnosis

for a majority of the patients treated:



179
    See, e.g., Holiday CVS, 77 Fed. Reg. at 62319; see also See Paul J. Volkman, 73 Fed. Reg.
30,630 (2008) (discussing drug cocktails issued by physician for oxycodone, benzodiazepines and
carisoprodol, expert testimony of abuse potential of these drugs, and red flag of patient travelling
long distance to fill prescriptions); see also East Main Street Pharmacy, 75 Fed. Reg. 66,149 (Oct.
27, 2010) (discussing abuse of oxycodone, alprazolam, and carisoprodol and red flag of patients
traveling long distances to fill prescriptions); Your Druggist Pharmacy, 73 Fed. Reg. 75,774,
75,775 n.1. (2008) (noting that “[w]hile carisoprodol [was] not controlled under Federal law, it is
controlled under various state laws and is highly popular with drug abusers, especially when taken
as part of a drug cocktail that includes an opiate and a benzodiazepine”).


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Sample Resolution No. 2 provides reasons the pharmacist found to fill the prescriptions and does

not properly clear a red flag. Not only does CRIOGI have an unexplained thirty (30) day delay

between the conversation with the prescriber and the Rx Note explanation, this is an example of

the “pattern prescribing” red flag that numerous decisions have held is unresolvable. 180 Likewise,

the resolution given (that “it is expected that most patients would have diagnosis”) does not at all

justify filling the prescription given the clear DEA and CSA interpretative decisions involving

patients coming within the same diagnosis is a red flag that is unresolvable.181

                 Sample Resolution No. 3 involves a patient who lives outside the pharmacy’s trade

area. Instead of following its own directions for explaining the red flag resolution, the sample

resolution provides no explanation of how the red flag was resolved, instead providing only a

perfunctory reason found to fill the prescription. Not only that, the note relays a discussion with



180
    See, e.g. Pharmacy Doctors Enterprises, 2019 WL 4565481, at 5; Holiday CVS, 77 Fed. Reg.
at 62318, 62332, 62333, 62335, 62344; East Main Street Pharmacy, 75 Fed. Reg. at 66150, 66157.
181
      Holiday CVS, 77 Fed. Reg. at 62321 n. 25, 62323 n. 29, 62330 n. 41.


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the patient that apparently occurred over five weeks earlier, suggesting that the note itself was not

contemporaneous with the conversation, but only a belated attempt to give a reason the prescription

was filled:




Sample Resolution No. 3 thus provides reasons the pharmacist found to fill the prescriptions and

does not properly clear a red flag. Consistent with the clear directives from the DEA and CSA

interpreting decisions, speaking with the patient could not resolve the “Patient Outside of Trade

Area” red flag.182 Rather, given the nature of the drugs involved, in the view of the DEA and CSA

interpreting decisions, this red flag is simply unresolvable.183

                  Sample Resolution No. 4 involves filling a prescription which exceeds state

prescribing guidelines:



182
   Holiday CVS, 77 Fed. Reg. at 62334 (“The kinds of medications that we’re talking about here
are for chronic health problems and not acute health problems. So, it would be unlikely that
someone comes to Florida on vacation, breaks a leg, and has to get oxycodone in these quantities
and in these strengths. So it just doesn’t add up.” Tr. 854.).
183
      Id. at 62336.


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In Sample Resolution No. 4, a patient was apparently in a situation of critical care. Based on the

physician providing history, the patient had been discharged a month earlier. The patient had used

a narcotic, but not consistently and was still considered opiate naïve. Due to the pain of the trachea

tube, the provider has given this patient a higher dose that exceeds the state prescribing amounts.

The documentation given does not convey that this prescription strength has a legitimate indication

for pain given the risk factors associated with the opioid prescribed. The documentation does not

clear the dose red flag, but only establishes why the patient is receiving the dose despite concerns.

The pharmacist has not documented she is comfortable with the fact that this doctor is a specialist

qualified to prescribe a higher dose despite the medical conditions that may stop the patient’s

breathing. Not only does the Sample Resolution No. 4 fail to provide the doctor’s name (as

required) or specialty, nothing in the explanation given establishes that exceeding the state

prescribing guidelines was based on the pharmacist’s judgment that the prescription is for a

legitimate medical purpose, nor is it adequate to resolve the red flag simply by only discussing this



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with the doctor and the patient. For example, there is no suggestion that the pharmacist checked

the state PDMP database, nor that the pharmacist examined to see if the prescriber had a pattern

of prescribing excessive dosages.184

                 Sample Resolution No. 5 also involves a prescription which exceeds state

prescribing guidelines:




Sample Resolution No. 5 (by CRIOGI) demonstrates that Walmart resources had been used to

document “corresponding responsibility” by citing PDMP, Connexus and Host. The pharmacist

has documented the diagnosis and is finding reasons to clear a flag to exceed a state prescribing

guideline for narcotics based on a conversation with a patient. However, there is nothing in the

documentation to support that the provider is aware of the dose exceeding any state guideline. Nor

does the documentation fully convey that the pharmacist knows that the provider has written a




184
      East Main Street Pharmacy, 75 Fed. Reg. at 66151.



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prescription for a legitimate medical purpose and issued within the usual course of professional

practice.185

                Sample Resolution No. 7:




In Sample Resolution No. 7, the documentation states that the patient provided history on current

therapy. It is unclear, however, if the physician or patient hopes to reduce narcotics. The focus is

on reasons to keep filling Norco that exceeds limits set out in POM 1322. The patient has had

many surgeries and procedures, but even with those milestones, is maintained on a higher than

normal number of narcotics. What the documentation does not convey is if the pharmacist filling

the current prescription, given the drug and current dosage, is comfortable with the fact that this

doctor is a legitimate doctor, and has written a prescription for a legitimate medical purpose and

issued within the usual course of professional practice.186




185
      21 CFR 1306.04(a).
186
      Id.


                                                98
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                       September 2019: Walmart Finally Institutes Central Blocking of
                       Prescribers

               In addition to the changes implemented in 2017 and 2018, finally in September

2019, POM 1323 outlined that Walmart Corporate would in certain circumstances for the first time

undertake to “centrally block” prescribers “whose prescribing practices raise concerns about

prescribing controlled substances for legitimate medical purposes.” After a “thorough review of

prescribers and their prescribing patterns and practices,” POM 1323 says the “Home Office” may

“place a central block in Connexus on controlled substance prescriptions from certain prescribers.”

POM 1323 states each prescriber is “evaluated separately based on an independent review”:




               The changes implemented in POM 1323 could have helped prevent what Dr.

Chavez saw with the Rice prescriptions, which caused three overdose deaths. Not only have the

changes Walmart made since 2017 to POM 1311, POM 1322, and POM 1323 been too little, too

late (coming as they have over a decade into the opioid epidemic), they have been haphazard and

misleading, at best.




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                       Walmart Failed to Use Its Databases to Monitor and
                       Control Inappropriate and/or Medically Unnecessary Prescribing, and
                       Instead Focused on Speed and Volume of Opioids Prescriptions

               An average Walmart pharmacy fills approximately one hundred and seventy-five

to two hundred (175-200) prescriptions daily, with the goal to continuously increase this amount.

Many Walmart pharmacies, however, fill many more scripts per day than that.

               Walmart’s corporate managers, including the Pharmacy Market Directors, closely

monitor the speed at which Walmart staff fill prescriptions. These Walmart Pharmacy Market

Directors time and track the number of prescriptions filled as well as the precise percentage of

those that are filled “on time,” generally defined as within twenty (20) minutes of the scheduled

pickup time with regard to in-store pickups. These performance metrics are recorded in “Order

Completion Performance” reports that are mandatory based on Walmart corporate requirements.

               However, to increase the pressure to meet these performance metrics, Walmart

employs a computer-based real-time prescription-filling progress system that monitors the

prescriptions coming “due” for pickup within thirty (30) minutes, two (2) hours, and forty-eight

(48) hours. When a pharmacist is “falling behind” based on an internal, computer-generated

schedule to which its pharmacists are not privy, the system begins to flash yellow or red depending

on how far “behind” the pharmacist is, based on the above, arbitrary fill-time expectations intended

only to maximize fill speed with a conscious, reckless disregard of the negative impact such a

system has on the accuracy of the prescription filling process. There is no ability for the timing

system to adjust to the complexity of the prescription that needs to be filled or circumstances

suggesting the prescription is inappropriate and/or medically unnecessary.

               To process and track prescriptions and inventory and to submit claims for payment

by payors and Government Programs, Walmart uses its own proprietary software, Connexus,

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which electronically records and tracks prescription data manually entered or verified by staff,

including the name, dose, quantity, and date of the prescription along with the name of the

prescriber and patient.

                This beneficiary and prescription information is then aggregated by Connexus and

used to determine an electronically stored and updated “Perpetual Inventory,” which is the amount

of medication left in stock after a prescription is filled.

                In the audits that are performed, managers are asked to inspect five C-II

prescriptions. They are informed to inspect for the “required elements” of control substance

prescription per DEA “valid prescription requirement.” These requirements are the patient’s name,

physical address, prescriber name, DEA and physical address of practice location. This same type

of inspection is required by the Market Director when performing an audit.

                As of 2019, Market Directors are required to review the elements of POM 1311 in

their audit. They are to document in their laptop their findings and do a sideline discussion with

the pharmacy managers. However, there are no “official” emails sent, nor records made of their

findings.

                C-II shipments to Walmart pharmacies are checked in using a handheld device, and

then the pharmacist has to put the order in the controlled substance ordering system (CSOS). The

pharmacist accesses CSOS through Connexus. Once in CSOS, the pharmacist confirms the order

number, quantity, and name of drug in the order and then enters their sign in ID and password.

CSOS allows distributors, pharmacies and manufacturers to transmit C-II orders electronically.

The DEA approved the process as legal and there are no more DEA 222 forms filled out to order

Schedule II drugs, because they are placed on online, assuming all criteria have been met.



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                        Walmart Did Not Audit Its Pharmacies’ Inappropriate Prescribing

                 As alleged below, Walmart has required its pharmacy managers to regularly

conduct audits of inventory and prescription records. These audits, conducted pursuant to

corporate-wide “checklists” and SOPs, have required the pharmacy managers to review and

analyze both the electronic Connexus records and the physical records prescription and inventory

records to determine the “actual” inventory. These inventory checks, referenced in further detail

below, occur daily and are referred to as “cycle counts.”

                 These regular audits never examined the dispensing practices of the individual

pharmacy. They did not audit things like compliance with state or federal law dispensing laws or

whether pharmacists were doing their proper due diligence. The audits were exclusively inventory-

focused.

                 While most Walmart pharmacists worked at one store regularly, Walmart routinely

used pharmacists that worked at multiple different Walmart pharmacies depending on where they

were needed. These pharmacists were known as “floaters.”

VII.      DEFENDANTS’ UNLAWFUL CONDUCT

                  All DEA registrants like Walmart have a duty to “provide effective controls and

procedures to guard against theft and diversion of controlled substances.”187 Diversion includes

the use of medication outside the usual course of professional practice.

                 The DEA has repeatedly emphasized that, as DEA registrants, retail pharmacies

like Walmart are required to implement systems that detect and prevent diversion and must




187
      21 C.F.R. § 1301.71(a).



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monitor for red flags of diversion. The DEA has also repeatedly affirmed the obligations of

pharmacies to maintain effective controls against diversion in regulatory action after regulatory

action.188 According to DEA, pharmacists are the “[l]ast line of defense.”189

                 The framework of state and federal statutes and regulations, along with industry

guidelines, makes clear that all pharmacies like Walmart possess and are expected to possess

specialized and sophisticated knowledge, skill, information, and understanding of both the market

for scheduled prescription narcotics and of the risks and dangers of the diversion of prescription

narcotics when dispensing of medications outside the usual course of professional practice.

                 Case law and administrative proceedings interpreting the CSA require that licensed

pharmacists recognize “red flags” that indicate addiction, diversion and abuse, including:

         Criminal, civil, or administrative actions against the prescriber190;

         Patient’s use of street slang for certain opioids (e.g., “the M’s” or “the Blues”)191;

         Cash payments


188
   See, e.g., Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,315
(Dep’t of Justice Oct. 12, 2012) (decision and order); East Main Street Pharmacy, 75 Fed. Reg.
66,149 (Dep’t of Justice Oct. 27, 2010) (affirmance of suspension order); Holiday CVS, L.L.C. v.
Holder, 839 F. Supp.2d 145 (D.D.C. 2012); Townwood Pharmacy; 63 Fed. Reg. 8,477 (Dep’t of
Justice Feb. 19, 1998) (revocation of registration); Grider Drug 1 & Grider Drug 2; 77 Fed. Reg.
44,069 (Dep't of Justice July 26, 2012) (decision and order); The Medicine Dropper; 76 Fed. Reg.
20,039 (Dep’t of Justice April 11, 2011) (revocation of registration); Medicine Shoppe-
Jonesborough; 73 Fed. Reg. 363 (Dep't of Justice Jan. 2, 2008) (revocation of registration).
189
     See Birmingham Pharmacy Diversion Awareness Conference, DEA Perspective:
Pharmaceutical          Use        &        Abuse        (Mar.       28-29,   2015),
https://www.deadiversion.usdoj.gov/mtgs/pharm_awareness/conf_2015/march_2015/
prevoznik.pdf at 139-40.
190
      Holiday CVS, LLC v. Holder, 839 F. Supp.2d 145, 160 (D.D.C. 2012).
191
      Id. at 161; Holiday CVS, LLC, 77 Fed. Reg. at 62321, 62344 (2012).



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             o cash payments exceed national average;

             o “unusually large” cash transactions:

             o cash transactions average 8% or less of all transactions according to DEA)192;

         Multiple patients with same address/last name/prescription/diagnoses/prescriber/day: (e.g.,

          all prescriptions from doctor have diagnoses of lower lumbar pain; code L-4, L-5, lower

          back pain; or severe lower back pain)193;

         Long distance between pharmacy and prescriber (e.g., Western Pennsylvania Pharmacy

          filling out-of-state prescriptions; 200 miles; Prescribers “not from local area”)194;

         Long distance between patient and prescriber (e.g., “out of state”)195;

         Long distance between pharmacy and patient (e.g., southern West Virginia residence to

          Western Pennsylvania Pharmacy; 200 miles; Patients “not from local area”)196;

         Prescriptions filled piecemeal over multiple visits197;


192
   Oak Hill Hometown Pharmacy v. Dhillon, 2019 WL 5606926, at *6; Jones Total Health Care
Pharmacy, LLC v. DEA, 881 F.3d 823, 828 (11th Cir. 2018); Pharmacy Doctors Enterprises, Inc.
v. DEA, 2019 WL 4565481, at *5; Holiday CVS, 77 Fed. Reg. at 62318, 62326, 62331, 62332;
East Main Street Pharmacy, DEA Affirmance of Suspension Order, 75 Fed. Reg. 66150, 66158
(2010).
193
   Holiday CVS, 839 F. Supp. 2d at 161; Pharmacy Doctors Enterprises, 2019 WL 4565481, at
*5; Holiday CVS, 77 Fed. Reg. at 62318, 62326, 62331, 62344; East Main Street Pharmacy, 75
Fed. Reg. at 66159.
194
    Oak Hill Hometown Pharmacy, 2019 WL 5606926, at 5; Holiday CVS, 77 Fed. Reg. at 62321,
62332, 62333; East Main Street Pharmacy, DEA Affirmance of Suspension Order, 75 Fed. Reg.
at 66163.
195
      Holiday CVS, 77 Fed. Reg. at 62318, 62322, 62326, 62335.
196
   Oak Hill Hometown Pharmacy, 2019 WL 5606926, at *5; Jones Total Health Care Pharmacy,
LLC v. DEA, 881 F.3d 823, 828 (11th Cir. 2018); Holiday CVS, 77 Fed. Reg. at 62318, 62322,
62332, 62333; East Main Street Pharmacy, 75 Fed. Reg. at 66150.
197
      Oak Hill Hometown Pharmacy, 2019 WL 5606926, at *5.



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         “Pattern Prescribing”:

             o Prescribers writing in a “factory-like” manner, prescriptions for the same drugs, the

                 same quantities, without any kind of variability or change considering the different

                 patients that come into that pharmacy;

             o The presence of an unwavering combination of the same drugs in the same strengths

                 in the same quantities across numerous patients;

             o Multiple patients on a single day with the same combination from a single

                 prescriber;

             o No “individualized therapy” – same prescriptions for multiple patients; or

             o Maximum doses across multiple patients198;

         High abuse potential prescriptions / “Drug Cocktails”:

             o    Oxycodone and Xanax;

             o    Oxycodone and Alprazolam;

             o    Prescriptions for both 15mg and 30 mg strengths;

             o    Oxycodone, Alprazolam, and Carisoprodol

             o    Prescriptions of an opiate and a benzodiazepine;

             o    Oxy 30, Oxy 15, and Xanax (Alprazolam);

             o    Oxy 30, Oxy 15, Alprazolam 2mg, and a fourth “filler” drug;

             o    Oxy 30, Oxy 15, Xanax 2 mg, Soma, and Flexeril;

             o    210 mg dose prescription of Oxy 30;


198
  Oak Hill Hometown Pharmacy, 2019 WL 5606926, at 5; Pharmacy Doctors Enterprises, 2019
WL 4565481, at 5; Holiday CVS, 77 Fed. Reg. Vol. at 62318, 62332, 62333, 62335, 62344; East
Main Street Pharmacy, 75 Fed. Reg. at 66150, 66157.


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          o    High quantity prescriptions;

          o    Prescriptions of large volumes of controlled substances in the highest strengths;

          o    Multiple drugs prescribed for the same thing;

          o    Drugs in different classes that can cause the same side effects, like respiratory

              depression;

          o    “The Triple”: benzodiazepine, narcotic painkiller, and sleeping pill;

          o    “The Homerun”: benzodiazepine, narcotic painkiller, sleeping pill, and Soma;

          o    Multiple narcotic painkillers at the same time;

          o    High doses of Oxy: normal dose is 5- 10mg/4 hours;

          o    High doses of Xanax (alprazolam): normal dose is 4mg/day;

          o    High doses of Valium (diazepam): normal dose is 10mg;

          o    Daily dose of 300 mg of oxycodone and 60mg of hydrocodone = overdose;

          o    “Duplicate Therapy”: multiple drugs in the same class prescribed for the same

              thing;

          o    Multiple prescriptions of same narcotic on same day;

          o    Multiple prescriptions of Oxycodone, Xanax, and Soma for single patient; or

          o    High doses of opioids in light of overdose statistics.199




199
   Jones Total Health Care Pharmacy, 881 F.3d at 828; Pharmacy Doctors Enterprises, 2019 WL
4565481, at *5; Holiday CVS, 77 Fed. Reg. at 62319, 62322, 62325, 62326, 62331, 62336, 62344;
East Main Street Pharmacy, 75 Fed. Reg. at 66150, 66157, 66158, 66159, 66165; U.S. Centers for
Disease Control, CDC Guideline for Prescribing Opioids for Chronic Pain — United States, 2016,
65       Morb.       And       Mort.       Wkly        Rep.      (March       18,       2016),
https://www.cdc.gov/mmwr/volumes/65/rr/pdfs/rr6501e1.pdf.



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         Patients who arrive together with identical or nearly identical prescriptions200;

         Patients seeking refills before prescription runs out and/or patients with frequent loss of

          controlled substance medication201;

         Prescription numbers are very close sequentially202;

         Multiple out-of-area patients from the same town/area (“Sponsor Arrangements” in which

          people from mostly the mountain states come down in buses and vans and drive to the

          pharmacy to fill opioid prescriptions203;

         Patient’s appearance/behavior (e.g., do not need the medication, or appear high; slurred

          speech, stumbling walk, drooling)204;

         Prescribers without a specialty in pain management writing large quantities of prescriptions

          (e.g., prescription influx from board certified pediatricians or gynecologists; doctors

          prescribing outside the scope of their usual practice)205;

         Patients between the ages of 25 and 40 with cash206;




200
      Pharmacy Doctors Enterprises, 2019 WL 4565481, at *5.
201
  Id. at 5; Holiday CVS, LLC, 77 Fed. Reg. Vol. at 62343; East Main Street Pharmacy, 77 Fed.
Reg. at 66157.
202
      Holiday CVS, 77 Fed. Reg. at 62319.
203
      Id. at 62319, 62331.
204
      Id. at 62319, 62331; East Main Street Pharmacy, 75 Fed. Reg. at 66151.
205
   Holiday CVS, 77 Fed. Reg. at 62326, 62331; Jones Total Health Care Pharmacy, 881 F.3d at
828.
206
      Holiday CVS, 77 Fed. Reg. at 62331.



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           Evidence of doctor shopping (e.g., Same/similar prescription prescribed by two or more

            prescribers at the same time)207;

           Prescription from physician with an expired/revoked medical license, DEA number208;

           Patient prescribed only controlled substance medications209;

           Patient presents controlled substance prescriptions under different patient names210;

           Patient insists on brand name product211;

           Other pharmacies refuse to fill prescriptions from certain providers212;

           Prescriber pattern of larger doses and higher quantities over time213; and

           Confluence of out-of-state patients on a single day receiving the same medications in the

            same quantities from the same in-state prescriber214.




207
      Id. at 62331, 62343.
208
      Id. at 62342.
209
      Id. at 62343.
210
      Id. at 62343.
211
      Id.
212
      East Main Street Pharmacy, 75 Fed. Reg. at 66151.
213
      Id. at 66159.
214
      Holiday CVS, 77 Fed. Reg. at 62333.



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               Additionally, a pharmacy may be tipped off to addiction, abuse, and diversion

where the overwhelming majority of prescriptions filled by the pharmacy is for opioids.215 The

DEA has frequently met with industry representatives to discuss these “red flags” of diversion. 216

               Walmart had firsthand knowledge of dispensing red flags – such as disparate

geographic location of doctors from the pharmacy or customer, lines of seemingly healthy patients,

out-of-state license plates, and cash transactions, and other significant information.

               Walmart as a sophisticated, national chain pharmacy had the ability to analyze data

relating to drug utilization and prescribing patterns across multiple retail stores in diverse

geographic locations. Its own data would have allowed Walmart to observe patterns or instances

of dispensing that are potentially suspicious, of oversupply in particular stores or geographic areas,

or of prescribers or facilities that seem to engage in improper prescribing.217

               Walmart was on notice of what a compliance program should include. In 2006, the

National Association of Chain Drug Stores (“NACDS”) issued a “Model Compliance Manual”

intended to “assist NACDS members” in developing their own compliance programs. 218 The

Model Compliance Manual notes that a Retail Pharmacy may:



215
     See Birmingham Pharmacy Diversion Awareness Conference, DEA Perspective:
Pharmaceutical          Use        &        Abuse        (Mar.       28-29,   2015),
https://www.deadiversion.usdoj.gov/mtgs/pharm_awareness/conf_2015/march_2015/
prevoznik.pdf at 139-40.
216
  Rannazzisi Decl. in Holiday CVS, L.L.C. v. Holder, 839 F. Supp.2d 145 (D.D.C. 2012), Case
No. 1:12-cv-00191-RBW, Dkt. 19, Ex. 6.
217
   See, e.g., Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,315
(Dep’t of Justice Oct. 12, 2012) (decision and order) (DEA expert witness examined dispensing
records alone to identify inappropriately dispensed medications).
218
   In Re: National Prescription Opiate Litigation, Third Amended Complaint (Case No. 17-md-
2804) (Dkt. 2613).


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      Generate and review reports for its own purposes and refers to the assessment tools

       identified by CMS in its Prescription Drug Benefit Manual chapter on fraud, waste and

       abuse, including:

          Drug Utilization Reports, which identify the number of prescriptions filled for a

           particular customer and, in particular, numbers for suspect classes of drugs such as

           narcotics to identify possible therapeutic abuse or illegal activity by a customer. A

           customer with an abnormal number of prescriptions or prescription patterns for certain

           drugs should be identified in reports, and the customer and his or her prescribing

           providers can be contacted and explanations for use can be received.

          Prescribing Patterns by Physician Reports, which identify the number of prescriptions

           written by a particular provider and focus on a class or particular type of drug such as

           narcotics. These reports can be generated to identify possible prescriber or other fraud.

          Geographic Zip Reports, which identify possible “doctor shopping” schemes or “script

           mills” by comparing the geographic location (zip code) of the patient to the location of

           the provider who wrote the prescription and should include the location of the

           dispensing pharmacy.

               Yet there is no evidence Walmart ever leveraged its resources and troves of

information to stop or further question the overwhelming majority of prescriptions written by the

criminal prescribers.

               Walmart failed to fulfill its duties as the last line of defense and failed to ensure that

the prescriptions it was filling were issued to a legitimate patient for a legitimate medical purpose




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by a practitioner acting in the usual course of professional practice, as is evident by the copious

amounts of opioids being dispensed by Walmart stores throughout the U.S.

               From about 2002 to the present (and ongoing), Defendant Walmart violated the

CSA and state pharmacy laws and regulations by dispensing controlled substances in violation of

the pharmacist’s corresponding responsibility in violation of 21 C.F.R. § 1306.04(a) and outside

the usual course of pharmacy practice in violation of 21 C.F.R. § 1306.06.

               Walmart violated the CSA and state pharmacy laws and regulations each time it

filled a controlled substance prescription without identifying and resolving those red flags because:

      They were knowingly filled outside the usual course of professional practice and not for a

       legitimate medical purpose; therefore, they were not pursuant to a valid prescription under

       21 U.S.C. § 829 and thereby violated 21 U.S.C. § 842(a)(1).

      They were knowingly and intentionally dispensed outside the usual course of professional

       pharmacy practice in violation of 21 C.F.R. 1306.06, and therefore such dispensing and

       delivering of controlled substances was not authorized by the CSA, and thereby violated

       21 U.S.C. § 841(a).

               Walmart failed to maintain effective controls against diversion or conduct due

diligence to ensure opioids were not diverted, resulting in the gross over-dispensing of opioids.

Walmart thus directly contributed today’s opioid epidemic and corresponding harm to Government

Programs.

               The opioid crisis described herein is a direct and foreseeable result of Walmart’s

actions. And it was foreseeable that Government Programs would be damaged by Walmart’s

actions.



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               Had they known that Walmart dispensed scores of controlled substance

prescriptions that were lacking a legitimate medical purpose and/or a medically accepted

indication (and therefore did not constitute valid prescriptions under the CSA and state pharmacy

law and regulations), Government Programs would have refused to pay for those opioid

medications.

               Below is just a sampling of the rampant fraud that has occurred at Walmart

pharmacies throughout the United States.

               Specific Examples of Unlawful Dispensing Conduct: Colorado

                      Walmart failed to investigate or halt dispensing of inappropriate or
                      medically unnecessary opioid prescriptions in Colorado

               The opioid epidemic has had a significant impact on the health and well-being of

the State of Colorado. In 2006, more than 2.9 million opioid prescriptions were written in

Colorado, a rate of approximately 62.2 prescriptions dispensed per 100 persons.219

               Opioid prescribing in Colorado peaked in 2012 at nearly 3.9 million prescriptions,

a rate of 73.5 prescriptions per 100 residents.220 From 2006 to 2012, opioid prescriptions in

Colorado increased by about 30%.221



219
           CDC,          U.S.        State         Prescribing             Rates,            2006,
https://www.cdc.gov/drugoverdose/maps/rxstate2006.html.
220
           CDC,          U.S.        State         Prescribing             Rates,            2012,
https://www.cdc.gov/drugoverdose/maps/rxstate2012.html.
221
            CDC,          U.S.         State         Prescribing        Rates,         2006,
https://www.cdc.gov/drugoverdose/maps/rxstate2006.html; United States Census Bureau, County
Intercensal Datasets: 2000-2010 (Dec. 2, 2016), https://www.census.gov/data/datasets/time-
series/demo/popest/intercensal-2000-2010-counties.html; CDC, U.S. Prescribing Rates,
https://www.cdc.gov/drugoverdose/maps/rxstate2012.html; United States Census Bureau (Mar.
23, 2017), https://www2.census.gov/programssurveys/popest/datasets/2010-2016/counties/totals/.



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               Prescriptions for opioids have declined in the last couple of years, dropping to

approximately 3.3 million prescriptions in 2016, a rate of 59.8 prescriptions per 100 residents.222

For most years, this translated to an opioid prescription for two out of every three Coloradans.

               In Colorado, there were nearly 3,000 overdose deaths between 1999 and 2017

related to natural or semi-synthetic opioids, and a total of 4,287 deaths (excluding heroin) if

synthetic opioids are included.223 During this period, opioid related overdose deaths in Colorado

(excluding heroin) increased more than 409%.224

               Between 2012 and 2014, the rate of opioid-related non-fatal overdose emergency

department visits in Colorado was at the rate of 15.2 visits per 100,000 Coloradans, and opioid-

related hospitalizations for an overdose were at the rate of 18.6 per 100,000 Coloradans.225 Overall

hospitalizations in Colorado from an opioid-related adverse event ranged from as low as 123 in-

patient stays per 100,000 Coloradans in 2008 to a high of 251 in-patient stays per 100,000

Coloradans in 2016.226



222
        CDC,     U.S.    State   Prescribing     Rates,          2016      (July     31,     2017),
https://www.cdc.gov/drugoverdose/maps/rxstate2016.html.
223
     Colorado Dep’t of Public Health & Env’t, Vital Statistics Program, Drug
poisoning/overdosedeaths by sex, manner of death, and involvement of specific drug types:
Colorado residents, 1999-2017, https://colorado.gov/pacific/cdphe/vital-statistics-program.
224
      Id.
225
   Colorado Dep’t of Public Health and Env’t, Colorado Prescription Drug Profile 5-6 (July 2017),
available                                                                                      at
https://www.colorado.gov/pacific/sites/default/files/PW_ISVP_Colorado%20Rx%20Drug%20D
ata%20Profile.pdf.
226
   Healthcare Cost and Utilization Project, HCUP Fast States - Opioid-Related Hospital Use (June
26,                                                                                      2018),
https://www.hcupus.ahrq.gov/faststats/OpioidUseServlet?radio3=on&location1=CO&characteris
tic1=01&setting1=IP&location2=US&characteristic2=01&setting2=IP&expansionInfoState=hid
e&dataTablesState=hide&definitionsState=hide&exportState=hide.


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               Despite having some 106 stores located all over the State of Colorado, Walmart’s

gross inadequacies in the performance of its CSA due diligence obligations are underscored by the

following examples of illegal prescribing and diversion activities.

               Upon information and belief, none of the following health care professionals (many

of whose prescriptions were filled at Walmart pharmacies), who were apprehended (and many of

them later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Walmart despite their prescribing habits rising to a criminal level:

 Date      Name                               City                    Sentence
  5-Dec-03 Michael Anthony Spector,           Superior, CO            2 years probation
           MD
  9-Dec-08 Christine Ann Connolly,            Littleton, CO           1 year probation
           MD
 19-Nov-09 Peter Grigg, MD                    Colorado Springs,       5 yr probation
                                              CO
  29-Mar-12 Louis Constantine                 Aurora, CO              5 years
              Hampers, MD
     2-Jan-14 Kevin Clemmer, DO               Silverthorne, CO        48 months
   4-May-15 Keith A. Schwartz                 Silverthorne, CO        15 years
    8-Feb-16 Sam Jahani, MD                   Grand Junction, CO      6 months
   24-Feb-16 Eric Peper, MD                   Grand Junction, CO      time served
  13-May-16 Joel E. Miller, DO                Craig, CO               5 years
  27-May-16 Larry Eckstein, MD                Boulder, CO             Probation
   24-Apr-19 John Alan Littleford, DO         Parker, CO              87 months
    30-Jul-19 Bonifacio Guillena III,         Greeley, CO             3 years
              DDS
   27-Sep-19 Agnes Flaum, MD                  Colorado Springs,       18 months probation
                                              CO
  15-Oct-19 John Van Wu, MD                   Golden, CO              51 months
  25-Oct-19 Debra Rice, NP                    Alamosa, CO             90 days
  13-Jan-20 Andrew Mark Ho, MD                Denver, CO              5 years probation


                       Alamosa, Colorado (Dr. Chavez)

               As the opioid epidemic arrived in Colorado, 1,022,073,725 prescription pain pills

flowed through the state during a seven-year period, according to the DEA’s ARCOS data. The

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pills hit Alamosa County the hardest. More than 9.4 million oxycodone and hydrocodone pills

were distributed in Alamosa County between 2006 and 2012 — or enough for 88 pills per person

per year.227

               Relator Isela Chavez, Pharm.D., has worked at the Walmart store located at 3333

Clark Street, Alamosa, Colorado since 2014. She has been the store manager since 2016. Her NPI

Number is 1174824668 and she holds License No. 18580 (Colorado).

               Dr. Chavez’s store services the four top-ranking counties most affected by opioids

in the State of Colorado, including Alamosa, Costillo, Huerfano, and Las Animas Counties. These

are the poorest counties in Colorado so, except for those over age 65 and on Medicare, almost

everyone qualifies for government-funded prescription drug coverage through Medicaid.

               Walmart has been at the center of the opioids problem in the San Luis Valley where

Alamosa is located. According to the DEA records, between 2006 and 2014 Dr. Chavez’s Walmart

dispensed some 2,332,060 dosage units of opioids or some 25,215,745 MME.

               Despite the fact that Walmart was well aware of the epidemic devastating

communities across America, only when there was a growing number of DEA investigations

related to physician prescribing did it begin to ensure that its pharmacies complied with their CSA

“corresponding responsibilities.”

               As a Pharmacy Manager at the Alamosa Walmart, Dr. Chavez received notification

emails called “control substance audits.” The only red flags they receive are on the legitimacy of



227
   Jessica Seaman, More than a billion prescription opioid pills streamed into Colorado amid
national crisis: New database tracks the path of oxycodone and hydrocodone pills between 2006
and 2012, THE DENVER POST (July 26, 2019) https://www.denverpost.com/2019/07/26/colorado-
opioid-epidemic-pills/.


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the prescriber. The combination of drugs or quantity were not concerns to the company until 2017

when it became concerned about DEA and DOJ investigations into bad doctors.

               The control substance audits came through by email when the pharmacy ordered

an amount that was considered “suspicious.” There was no indication of what would flag this audit.

For example, if cough and cold season was occurring and her store had to dispense more cough

syrup with codeine and she had ordered 4 bottles, she would get that email. However, she was

never denied her order. She just had to let it clear the process.

               As the opioid problem was raging in the San Luis Valley and around the United

States, Walmart did very little to ensure its pharmacists ever checked the state PDMP databases.

In Dr. Chavez’s experience, Walmart did not require its pharmacists to check state PDMP

databases despite the evidence that using this data reduces overdose deaths, doctor shopping, and

inappropriate or medically unnecessary reimbursements. The only exception was that Walmart

required pharmacists to check the PDMP for all Oxycodone 30 mg prescriptions. At no time was

there an explanation why Walmart did not require pharmacists to check for other opioid drugs.

               Walmart’s complete lack of emphasis on checking state PDMP databases illustrates

just how negligible were its efforts to monitor and control inappropriate and/or medically

unnecessary prescribing in its pharmacies. The Company’s POM 1316, first adopted in August

2012, sets out its low expectations for checking the state PDMP, and makes clear that checking

was not mandatory. POM 1316 sets an expectation that pharmacists document when they utilized

the PDMP, by either Narxcare or because they decided to check the PDMP for any given reason.

However, POM 1316 does not require that Walmart pharmacists use PDMP as a blanket tool for

every control in an effort to continue to identify prescriber patterns and or patient red flags.



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               Demonstrating its inadequate efforts to monitor whether its pharmacists were

actually checking the state PDMP databases, until it was revised in June 2018, there was no

requirement that pharmacists ever document whether they had checked the state PDMP. Only in

June 2018 did POM 1316 first require pharmacists document in the Rx notes section of Connexus

when they accessed PDMP information and detailed the red flags identified and how each was

resolved:




               Even then, the Company has been unwilling to require that pharmacists must check

the PDMP for all controlled substance prescriptions. For example, Health & Wellness Market

Manager Jason Perry in a January 6, 2016 email to Dr. Chavez’s district explained that pharmacists

(beyond checking for Oxycodone 30 mg prescriptions) should not check the state PDMP databases

for every controlled substance prescription and outlined instead a “streamline[d]” process to

“improve” the approval of controlled substance prescriptions:




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    .

               Perry’s email makes it very clear that Walmart management was focused on

dispensing quickly – not upholding their duties under the law. In Walmart management’s eyes,

doing things like checking like PDMP were impediments for pharmacists rather than sound

practice. In reality, Walmart was cloaking the discouragement of proper due diligence under the

guise of exercising “professional judgment.”

               In fact, this direction in 2016 undid previous informal practice of checking all

controlled substance prescriptions against the PDMP. Inexcusable at any point, but especially in

2016.

               Another example of its utter disregard of its duties under the CSA was the fact that

until 2017 it provided no means for Dr. Chavez and other Walmart pharmacists could block what

it knew (or should have known) were suspicious prescribers. In the version of POM 1311 that was

in effect from 2011 until 2017, Dr. Chavez and other Walmart pharmacists could not enter so-

called “blanket refusals of prescriptions” and instead had to evaluate every prescription separately:



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               This has meant that until 2017 Walmart provided very few tools for Dr. Chavez and

other pharmacists could use to report suspicious prescribers, nor a means by which they could

investigate Walmart databases to determine whether a prescriber had been blocked by other

pharmacists.

               Dr. Chavez had taken over as manager in 2016. Prior to her becoming store

manager, the previous managers had let a bulk of narcotics dispensed in Alamosa pass through as

a result of a lack of Walmart policy and procedure.

               In late 2017, Dr. Chavez’s region changed configuration and they went from being

part of the Colorado Region to the Northern New Mexico Region and Market. In 2018, they were

required to complete a pain management forum. The training focused on appropriate strategies for

preventing and addressing opioid misuse and overdose while ensuring proper management of

chronic pain in patients. During this time, their new Market Director, Charlene Kalin, held weekly

conference calls discussing opioid stewardship and refusal to fill forms.

               In 2018, Dr. Chavez began receiving weekly reports of how many “refusal to fill

forms” were documented in Archer for each store and was broken down to each pharmacist.

Shortly after, they began also receiving information on the percentage of control substances filled

per week for each store in their Market.




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                 Walmart also informed managers that, if they did not have at least one refusal to

fill in a given week, they would need to reevaluate our understanding of red flags. There was a

constant warning from their Regional leadership to the Market level that pharmacists who could

not document thoroughly would not have a job with a Walmart.

                 The documentation process takes time, and recently the pressure to fill along with

widespread layoffs has only added more stress to increase their business.

                        Walmart Continues to Fill Inappropriate Prescriptions from Patients of
                        Debra Rice, N.P.

                 One example of a problematic prescriber is Nurse Practitioner Debra Rice from

Alamosa, Colorado.

                 Dr. Chavez had seen only a few prescriptions from Rice before 2016, but started to

get a significant influx of patients with prescriptions from Rice in late spring into the early summer

of 2016. The patients often had questionable prescriptions, including cocktail prescriptions like

the “Holy Trinity.” Furthermore, Rice exhibited “pattern prescribing” – i.e. nearly every patient

had the same or similar prescriptions for opioids. But perhaps the most glaring red flag of all was

that Dr. Chavez learned that the increased number of Rice’s patients coming to Walmart was

because other pharmacies in the area, such as Walgreens, had stopped filling all of Rice’s

prescriptions.

                 Dr. Chavez not only heard directly from Rice’s patients that other pharmacies were

refusing to fill her prescriptions, but she also confirmed that fact with her friend Anastascio “AJ”

Duran, a manager at the nearby Walgreens. Mr. Duran confirmed that the Walgreens had stopped

filling any of Rice’s prescriptions, including non-controlled substances.




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                Given these red flags concerning Rice’s prescriptions, Dr. Chavez was concerned

about continued dispensing for these patients at Walmart. Despite the obvious red flags and Dr.

Chavez’s legitimate concerns, there was no Walmart tool available to the pharmacy to investigate

this prescribing further, nor a means by which she could put in place a “blanket” refusal to fill

these prescriptions. Indeed, the corporate version of POM 1311 in place at the time would not

allow pharmacists to put in place a “blanket” refusal to fill.

                After she first began to see the influx of Rice customers in 2016, Dr. Chavez sent

an email to her then Market Manager, Jason Perry, explaining that their competitors in the Alamosa

area were refusing to fill any of Rice’s prescriptions, and as a result their Walmart pharmacy was

experiencing an influx of Rice’s prescriptions for Schedule II-IV controlled substances. Dr.

Chavez was looking for guidance and support from her management. She ended up sorely

disappointed.

                Perry did not respond to Dr. Chavez’s email, but instead forwarded it to Shelley

Tustison, Walmart Director of Ethics and Compliance. Eventually, Tustison replied, but her

response provided little guidance and no support, telling her instead to keep following Walmart

policy and to use her professional judgment. At the time the Walmart policy was merely to check

the PDMP for oxycodone 30mg prescriptions alone.

                The response was extremely ambiguous and ultimately unhelpful. At no point did

Walmart offer to investigate Rice, give any additional information about Rice’s prescribing habits

that could be gleaned from Walmart’s data (as opposed to Chavez’s personal experience), or

provide reassurance that Walmart would support Dr. Chavez’s decision not to fill. Nor did

Tustison provide any guidance, much less encouragement, to Dr. Chavez about reporting Rice to

the proper authorities like the DEA or the State Board of Nursing.

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               After getting the ambiguous and unhelpful response, Dr. Chavez and her staff

pharmacist, Seth Levulis, had a conversation concerning what to do about Rice’s questionable

prescriptions. Ultimately, they concluded that Walmart was not looking out for their licenses and

decided that for Rice’s customers, they would no longer just without question fill her “Holy

Trinity” prescriptions, and instead would always check the PDMP for all opioids she prescribed

(and not just Oxycodone 30mg, which is all that Walmart required at the time). And they would

document everything.

               Dr. Chavez explained this was part of their “clinical relevance” and “due diligence”

review, and that no opioid prescriptions processed in a pharmacy where she was the manager

would be dispensed without proper documentation. Since at the time Walmart did not have any

other policies in place other than an optional PDMP review, Dr. Chavez did the best she could to

set the expectations, knowing that Walmart would not support her efforts in doing so.

               However, given Dr. Chavez’s background in poison control, she knew that every

record in their data base could be subpoenaed in litigation for wrongful death or injury. She also

knew that poison control data had subjective and objective data, and unfortunately in healthcare

people do make mistakes and people misuse and abuse. As a pharmacist in poison control,

documentation of vitals, and patient history and the plan of action – also referred to as a “SOAP

note” – was considered proper documentation. In poison control the initial note at intake of a

poisoning or overdose must be documented this way without exception. SOAP notes are taught in

pharmacy school as proper documentation.

               Before Dr. Chavez applied this training to Rice’s prescriptions, she first set up a

time for them to have a call to discuss these questionable prescriptions. None of this was part of

Walmart policy.

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               When Dr. Chavez first spoke with Rice, the N.P. was upset with pharmacists for

not filling her prescriptions and was threatening the pharmacists’ licenses. Rice indicated she had

retained a lawyer to represent her suing individual pharmacists. In fact, she did eventually serve

papers on AJ Duran of Walgreens.

               In her conversation with Rice, Dr. Chavez explained that moving forward at the

Alamosa Walmart pharmacy they had to make sure that any prescriptions coming in from Rice’s

patients would require proper documentation. Dr. Chavez stressed that the amounts, combinations,

diagnosis, strengths, and treatment plan had to all make sense. Rice agreed.

               The process Dr. Chavez developed (without support from Walmart) to control

Rice’s inappropriate prescribing included:

      Calling on every patient from Rice and the initial visit to fill at the Alamosa pharmacy,

       which meant that the patient may have to wait 24 to 48 hours to receive medications. PDMP

       was performed on every control prescription.

      Documenting everything and anything – e.g., vitals, x-rays, UAs Rice performed, failed

       surgeries, failed therapies, diagnosis codes, etc. However, her Alamosa Walmart pharmacy

       never received or requested copies of any of these exams/reports. The notes were made on

       the paper prescription, and some were inputted into the prescription or patient notes in

       Connexus.

      For “Holy Trinity” prescriptions, only filling the combination once and with assurance

       from Rice directly that her patient would not get the Trinity cocktail again. This

       information was to be documented in the notes of Connexus. When a Rice customer who

       got the Trinity once returned, the next round of prescriptions would still undergo PDMP



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          and, if they had seen any part of the “Holy Trinity” filled at another pharmacy, their

          pharmacy would refuse to fill any part of the prescription. Furthermore, Dr. Chavez insisted

          that for Rice customers who got the Trinity prescriptions, the subsequent prescriptions had

          to include a plan for reducing the dosage, frequency, etc. Otherwise, the Alamosa Walmart

          would not fill the prescription. For example, if a customer came in with an opioid and a

          benzodiazepine, the next time the customer came in, there had to be a plan to titrate down

          the benzodiazepine amount.

         All Rice patients would be maintained on their diabetic medications, asthma meds, etc.

          This was not optional. If any patient refused to pick up those meds, that meant a call to

          Rice and refusal to fill their narcotics, but never their maintenance medications (insulin,

          inhalers, etc.).

         If a patient was disrespectful by word or actions and/or demonstrated aggression toward

          her or any of her staff, they were to be refused and not allowed back in the pharmacy

          permanently. They would call Rice’s office and have her notified.

                  None of this was supported by Walmart policy. The lead technician, Melissa

Trujillo, assisted Dr. Chavez and the Alamosa staff pharmacist by ensuring they still met proper

wait times and expectations.

                  During this time frame, articles first began to appear in the local newspaper (Valley

Courier) of three reported deaths associated with Rice’s practice.228 All three individuals, two

males and one female, had filled prescriptions not only at the Alamosa Walmart pharmacy and at



228
     Ruth Heide, Chronic Pain – Fatal Practice, VALLEY COURIER (May 3, 2017),
https://alamosanews.com/article/chronic-pain-fatal-practice.


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other pharmacies throughout the San Luis Valley. Although these deceased patients’ toxicology

screens came back positive for “street drugs,” the Rice prescriptions immediately preceding their

deaths were found in their toxicology reports post-mortem as well.

               Despite the troubling news of the deaths, Dr. Chavez maintained her ad hoc system

through the end of 2016 and into early 2017. Without any assistance from Walmart, it simply was

the best she could do in the situation.

               In March 2017, Dr. Chavez heard from the manager at City Market Pharmacy in

the area who informed her that they were not processing Rice’s prescriptions. Dr. Chavez

suspected this was because Rice no longer had a valid license to prescribe controlled substances.

               Shortly thereafter, Dr. Chavez was proved correct. She learned through a local

newspaper that Rice finally had her license suspended by the State Board of Nursing.229 According

to the Valley Courier: “After conducting an investigation that revealed thousands of controlled

substance prescriptions written within a year’s time — including prescriptions for the ‘holy trinity’

of drugs — and the deaths of three patients related to drug intoxication, on March 8 the State Board

of Nursing under Program Director Sam Delp issued a summary suspension of the professional

nursing license of Alamosa nurse practitioner Debra Rice, R.N., A.P.N., R.X.N., practicing at

SoCo Medical Services in Alamosa.”230

               According to the Board findings, Rice had written more than 2,400 prescriptions

for controlled substances, including oxycodone/acetaminophen, Diazepam, Methadone,



229
      Id.
230
   Teresa Benns, Pharmaceutical company exposed as SLV opioid supplier, CENTER POST
DISPATCH (December 20, 2017), https://centerpostdispatch.com/article/pharmaceutical-company-
exposed-as-slv-opioid-supplier.


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Oxycodone (10 mg, 16 mg and 20 mg) and Tramadol. “From January 1, 2016 through February

25, 2017, Rice wrote more than 7,000 prescriptions for controlled substances including

Oxycodone/Acetaminophen, diazepam, methadone, oxycodone (10 mg, 15 mg and 20 mg),

morphine and tramadol, according to the state board.” 231 According to the news story, three (3) of

Rice’s patients had died from drug combinations or overdoses while in her care.

               The official suspension of Rice’s license allowed Dr. Chavez the justification she

needed to stop filling Rice’s prescriptions altogether, cover that Walmart would not provide. Dr.

Chavez decided to submit a “Blanket Refusal to Fill” (“BRTF”) form for Rice, using the just-

revised procedure which had been announced in POM 1311.

               At that point, Troy Rorex was Dr. Chavez’s Market Director and he was on leave,

so Dr. Chavez had to speak to the person covering for him. However, Rorex’ replacement did not

know what to do because Walmart’s BRTF process changes to POM 1311 had just become active.

In any event, Dr. Chavez filled out the first BRTF form in her Market, and (as directed by POM

1311) she then contacted other stores via telephone or sent them an email to caution them about

Rice’s inappropriate prescribing. Dr. Chavez had to undertake those efforts purely on her own as

there was not yet a central blocking option in the Walmart systems for pharmacists to share

information about bad doctors.

               Dr. Chavez also contacted the Colorado Board of Pharmacy inspector, Mark Kalkis,

by email in March 2017. He forwarded her email to Sam Delp, Program Director for the Board of

Pharmacy.




231
      Id.


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               When her Market Manager Troy Rorex came back from leave, they had a Market

conference call in May 2017 where Dr. Chavez first learned that Rice’s prescriptions were still

processing. Even though Walmart had just initiated the new BRTF process, there was apparently

no system in place at Walmart to stop Rice’s prescriptions from processing. Instead, Dr. Chavez

was directed that, in order to stop Rice’s prescriptions from processing, she had to call IT to

deactivate her prescriptions from the system.

               Dr. Chavez then in 2017 contacted the Walmart home office and spoke with IT to

deactivate Rice’s profile. Unfortunately, it took several months for IT to deactivate Rice from the

system because Walmart had still not implemented “Central Blocking,” which Walmart would not

adopt until 2019. During this time, Dr. Chavez would periodically check to see if she was still able

to process Rice’s prescriptions. Sadly, it took nearly two additional months for the block to be

fully implemented.

               Later in the fall of 2017, DEA agents came into Dr. Chavez’s Walmart store and

asked her questions regarding Rice’s prescribing patterns. Dr. Chavez thereafter reported this to

the Walmart corporate office.

               Later on, Dr. Chavez received notification from Walmart corporate of which reports

concerning Rice they needed to run. Dr. Chavez forwarded this data to Tustison and Debbie Mack,

Walmart Healthcare Compliance Consultant, on October 24, 2017. Dr. Chavez did not ever hear

back from either of these Walmart Compliance officials concerning the information she had

gathered concerning Rice.

               In early 2019, the DEA returned to Dr. Chavez’s pharmacy and this time they had

a subpoena, which gave two weeks to pull the prescriptions requested.



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                 Prescriptions for all three deceased individuals cited in the newspaper articles were

included in the DEA subpoena. The following Rice opioid prescriptions for one male (4), another

male (12), and for the female (14) were all filled at the Alamosa Walmart:

       Patient 1 (male deceased February 25, 2016), Colorado Medicaid No. L555785:

        Rx No.       Date Picked Up              Drug Name              Schedule            Quantity

       2039259              10/26/15   methadone 10mg         C II                               120
       2039676              11/30/15   oxycodone 10 mg        C II                                90
       2039677              11/30/15   amphetamine/dextro     C II                                90
                                       combo 10 mg

       2039678              11/30/15   methadone 10mg         C II                               180




       Patient 2 (male deceased May 24, 2016), Colorado Medicaid No. G464341:

        Rx No.       Date Picked Up            Drug Name                Schedule            Quantity
       2039807              12/10/15   methadone 10 mg       C II                                 90
       2039809              12/10/15   oxycodone 15 mg       C II                                120
       2040210               1/11/16   methadone 10 mg       C II                                120
       2040211               1/11/16   oxycodone 15 mg       C II                                120
       4094749              12/26/15   diazepam 5 mg         C IV                                 30
       4095148               1/21/16   diazepam 5 mg         C IV                                 30
       4095148                2/9/16   diazepam 5 mg         C IV                                 30
       6697575                2/9/16                         NON CONTROL
       6697575                3/3/16                         NON CONTROL           REFILL
       6697576                2/9/16                         NON CONTROL           REFILL
       6697576                3/3/16                         NON CONTROL




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       Patient 3 (female deceased July 25, 2016), AARP MedicareRx, BIN: 610097, PCN: 9999,

       Grp No. PDPIND:

          Rx No.               Date Picked Up                 Drug Name          Schedule      Quant.

         2040771                       2/23/16           oxycodone 15 mg              C II        120
         2042204                       6/20/16      oxycodone/apap 10/325             C II         84


         2042277                       6/24/16           methadone 10 mg              C II         84
         4096788                       6/24/16                clonazepam             C IV          24
         6716742                       6/21/16                              Non-controlled
         6716743                       6/15/16                              Non-controlled
         6716749                       6/15/16                              Non-controlled
         6716750                       7/19/16                              Non-controlled
         6716751                       6/21/16                              Non-controlled
         6717296                       6/21/16                              Non-controlled
         6717298                       6/21/16                              Non-controlled
         6721149                       7/18/16                              Non-controlled
         6721156                       7/18/16                              Non-controlled



               Illustrating the problem with Walmart’s lack of communication and failure to

provide pharmacists with the tools to properly evaluate prescriptions, the prescriptions for Patient

1 (Oxycodone, Methadone, and Amphetamine/Dextro) dated November 30, 2015 were filled by a

floater pharmacist who was apparently unaware of Dr. Rice’s prescribing patterns. With better

communication to its pharmacists about problematic prescribers in the area or combinations of

drugs, dispensing of those prescriptions could have been avoided.

               The DEA subpoenaed a total of 14 patients for whom Walmart was to pull

prescriptions. Between all of them, Dr. Chavez had copied 371 prescriptions that the DEA

included as evidence in its complaint against Rice.




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                The indictment cited over 7000 prescriptions written by Rice between January 2016

and February 2017 just for controlled substances.232 Many of those prescriptions had been filled

at the Alamosa Walmart.

        A sample of the prescriptions:

 Patient Name   Prescription         MCO ID     MEDICATION                   QUANTITY
                number to
                reference in
                spread sheet
 Patient 4                 2040249   B195048    FENTANYL PATCH 25 MG                       10
 Patient 5                2039551    K102704    OXYCODONE/APAP 7.5/325                    120
 Patient 6                2036692    E211479    OXYCODONE 15 MG                            90
 Patient 7                2036958    E167861    OXYCODONE 15 MG                           120
 Patient 8                2037901    D360681    OXYCODONE 10 MG                           120
 Patient 9                2042080    H118002    OXYCODONE/APAP 10/325                     120
 Patient 10               2034284    E099932    OXYCODONE 15 MG                            30
 Patient 11               2035477    J465250    OXYCODONE 10 MG                            60
 Patient 12               2034846    R785303    OXYCODONE 10 MG                           120
 Patient 13               2038679    K129129    FENTANYL PATCH 25 MG                       10



                Critically, none of the prescriptions above (or for the three people who died from

drug overdoses) would have been identified by Walmart’s dispensing policies at the time. Walmart

only required its pharmacists to check the PDMP for Oxycodone 30mg prescriptions, which was

the only thing that Tustison reminded Dr. Chavez to do in response to her concerns about Rice.

Clearly, such a policy was woefully insufficient.

                Dr. Chavez found herself between a rock and hard place with Rice’s prescriptions.

Dr. Chavez was exercising her corresponding responsibility as a pharmacist by trying to ensure

that Rice’s prescriptions were legitimate. Indeed, even without Walmart’s help, Dr. Chavez was


232
    Heide, Ruth, Medical provider faces 50 charges, VALLEY COURIER (Jan. 11, 2019),
https://www.alamosanews.com/article/medical-provider-faces-50-charges.


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able to reduce the number of Holy Trinity prescriptions while ensuring that patients got needed

maintenance medications by proactively working with Rice.

               Yet, without the full support of Walmart management, Dr. Chavez could only do

so much as a pharmacist. Nor could she be confident that, if she took a harder line with Rice, that

Walmart would support her judgment. She was not confident that if Rice went after her pharmacist

license (i.e., Dr. Chavez’s livelihood) that Walmart would support her if she were later sued by

Rice. Especially after the initial unhelpful response from Walmart management, Dr. Chavez took

many of her actions regarding Rice’s prescriptions without the knowledge of her manager (Jason

Perry) for those very reasons. As such, Dr. Chavez did the best she could under the circumstances,

entirely without guidance or support from Walmart.

                      Walmart Discourages Internal Reporting and Notetaking that Would
                      Assist the DEA and the Colorado State Board of Medicine

               In Dr. Chavez’s experience, Walmart discourages internal reporting of

inappropriate prescriptions and prescribers.

               One example has to do with documenting red flags on hard copy prescriptions. In

the summer of 2019, Dr. Chavez’s store had a visit from her Regional Leader, Rachel Phillips,

from the Phoenix, Arizona office. Phillips came in and performed an audit of the store based on

the new POM 1311. Following the audit, the one area Phillips raised was concerns that they were

documenting potential red flags on the paper prescriptions rather than in the Rx Notes field of

Connexus.

               During the audit, Phillips had asked the Alamosa staff pharmacist, Daniella (Ella)

Roehm, how she documented red flags and what the process of controlled substances consisted of.

Roehm explained that they used the same process every time and that Dr. Chavez had trained her


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on how to evaluate control substances, which they documented on the hard copy prescription.

Roehm went on to show Regional Manager Phillips an example because she was processing a

narcotic at that time. This is how Dr. Chavez had trained Roehm as required under the new POM

1311.

               After being admonished because her store was documenting red flags on the hard

copy prescriptions, Dr. Chavez called another Walmart pharmacist in Canon City, Colorado and

learned they too still documented red flags on the hard copy.

               Dr. Chavez also contacted Patti Bennett, Senior Manager Human Resources, about

this issue, through an email informing Bennett about their concerns regarding the inconsistency in

how documentation occurs and why the DEA would disagree with Walmart’s position. In her

view, the written documentation could be very helpful to assist the DEA’s investigation.

               Bennett responded to Dr. Chavez’s email with a phone call and told Dr. Chavez

that Walmart did not want red flag documentation on hard copy prescriptions because, when it

does an investigation, the DEA only reviews hard copy prescriptions and does not request access

to Connexus. In this way, Walmart could avoid sharing with the DEA its pharmacists’ handwritten

notes.

               Additionally, when she emailed her concerns to management regarding Rice, Dr.

Chavez was told they must report only to the corporate office and not to the DEA or the State

Board of Medicine.




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                 Specific Examples of Unlawful Dispensing Conduct: Florida

                        Walmart failed to investigate or halt dispensing of inappropriate or
                        medically unnecessary opioid prescriptions in Florida

                 Florida has been a key supplier of diverted powerful prescription opioid

medications that supplied not only users in Florida, but throughout the East Coast.233 From 2003

to 2010, Florida experienced a proliferation of “pill mills,” a category that includes physicians,

pain clinics, and other providers that dispense large quantities of prescription drugs, typically for

cash only, outside the scope of standard medical practice.234 By 2010, 90 of the 100 doctors

purchasing the most oxycodone nationwide were practicing in Florida.235 Accompanying increases

in pill mills and opioid prescribing was a rapid rise in mortality from prescription opioid overdoses

in Florida.236

                 Despite having some 383 stores located all over the State of Florida, Walmart’s

gross inadequacies in the performance of its CSA due diligence obligations are underscored by the

following examples of illegal prescribing and diversion activities.

                 Upon information and belief, none of the following health care professionals (many

of whose prescriptions were filled at Walmart pharmacies), who were apprehended (and many of


233
   Aric Chokey, Skyler Swisher, 5.6 billion opioid pills flooded the state, and rogue South Florida
doctors helped get them on the streets, South Florida Sun Sentinel (July 27, 2019),
https://www.sun-sentinel.com/news/florida/fl-ne-opioids-flood-florida-data-20190726-
3gltamcwojbltehe45aj73fyoy-story.html.
234
       Malbran  P.,   What’s   a    pill    mill?,         CBS        News    (May     31,     2007)
http://www.cbsnews.com/news/whats-a-pill-mill.
235
   Office of National Drug Control Policy, Fact sheet: prescription drug monitoring programs.
(2011) http://www.whitehouse.gov/sites/default/files/ondcp/Fact_Sheets/pdmp_fact_sheet_4-8-
11.pdf.
236
  Centers for Disease Control and Prevention, Drug overdose deaths—Florida, 2003–2009, 60
Morb. And Mort. Wkly. Rep. 869–872 (2011).


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them later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Walmart despite their prescribing habits rising to a criminal level:

 Date          Name                           City                    Sentence
  23-Mar-06    Mario Diaz, MD                 Miami, FL               30 months
   4-Apr-06    Megaly Bethencourt, MD         Miami, FL               2 years probation
  20-Apr-06    Carlos Manuel Barrera          Miami, FL               3 years probation
   5-May-06    Jean Dominique, MD             Tampa, FL               5 years probation
   25-Jul-06   Augustin Castellanos, MD       Palm Beach Gardens,     36 months
                                              FL
  30-Aug-07    John Durfey, MD                Panama City, FL         240 months
   27-Jul-09   Robert L. Ignasiak, MD         Freeport, FL            292 months
  19-Aug-09    Craig Bammer, DO               Gulfport, FL            17 years
   11-Sep-09   Kevin Denny, MD                Tierra Verde, FL        70 months
    2-Oct-09   John Rew, MD                   Tampa, FL               3 years probation
   15-Oct-10   Jeffrey Friedlander, MD        Tampa, FL               9 years
  18-May-11    Cesar Deleon, MD               Lake Worth, FL
  24-May-11    Robert Bourlier, MD            Destin, FL              30 years
  18-Aug-11    Arthur Carl Haspel, DPM        Boca Raton, FL          7 years
  23-Aug-11    Beau Boshers, MD               Palm Beach Gardens,     78 months
                                              FL
  23-Aug-11  Michael Aruta, MD                Boca Raton, FL          72 months
  23-Aug-11  Roni Dreszer, MD                 Sunny Isles, FL         72 months
  23-Aug-11  Patrick Graham, MD               Boca Raton, FL          4 years
  23-Aug-11  Daniel Hauser, MD                Hollywood, FL           6 months
  23-Aug-11  Robert Meek, DO                  Davie, FL               66 months
  23-Aug-11  Vernon Atreidis, MD              Ft. Lauderdale, FL      66 months
  23-Aug-11  Augusto Lizarazo, MD             Jupiter, FL             36 months home con.
  23-Aug-11  Irwin Beretsky, MD               Boca Raton, FL
  23-Aug-11  Jacobo Dreszer, MD               Sunny Isles, FL
   2-Sep-11  Steven Pearlstein, MD            Coral Springs, FL       12 months
  16-Aug-12  Michael Fronstin, MD             West Palm Beach, FL
  16-Aug-12  Adeline Essian, MD               Pompano Beach, FL
  16-Aug-12  Khanh Van Kim Duong, MD          Pompano Beach, FL
   5-Sep-12  John Anthony Gianoli, MD         St. Petersburg, FL      5 years
  27-Nov-12  Terrie Jaime, RN                 Apopka, FL              6 years
   5-Feb-13  Ihad “Steve” Barsoum,            Lutz, FL                17 years
             PharmD
    3-Jul-13 Vijay Chowdary, MD               Boca Raton, FL
   16-Jul-13 Scott Becker, MD                 Pembroke Pines, FL      70 months
   1-Aug-13 Cynthia Cadet, MD                 Parkland, FL            66 months


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    1-Aug-13 Joseph Castronuovo, MD          Key Largo, FL           18 months
   24-Apr-14 Stephen Anthony, MD             Davie, FL               3 years
     2-Jun-14 Thomas James Rodenberg,        Pompano Beach, FL       220 months
               MD
   13-Jun-14 Christopher Wayne, DO           Miami Beach, FL         70 months
      9-Jul-14 Michael Windley, DVM          Cantonment, FL          20 months
    23-Jul-14 Martha Otano, PharmD           Cape Coral, FL          3 years
    24-Jul-14 Ronald John, MD                Brandon, FL             20 years
   12-Feb-15 Jorge Otano, PharmD             Cape Coral, FL          3 years
    1-May-15 Richard Vitalis, DO             North Ft. Lauderdale,
                                             FL
  27-May-15     Lynn Averill, MD             Ft. Lauderdale, FL
    8-Jun-15    Ibem Borges, MD              Orlando, FL
     6-Jul-15   Brian C. Weller, PharmD      Melbourne, FL           8 years
   23-Jul-15    Fred Joseph Turner, MD       Sarasota, FL            151 months
  31-Aug-15     Armando Solis, MD            Miami Beach, FL         46 months
   12-Jan-16    Jacinta Irene Gillis, MD     Fort Myers, FL          30 years
  21-Mar-16     Valentine Okonkwo, PharmD    Orlando, FL             24 years, 4 months
  24-May-16     Kim Xuan Feldman             Tampa, FL               4 years
  25-May-16     Edward Neil Feldman, MD      Tampa, FL               25 years
    1-Jan-17    Russell Sachs, MD            Green Cove Springs,     2 years
                                             FL
   12-Jul-16    Thomas Merrill, DO           Panama City, FL         Life
  12-Jan-17     Michael Morgan Dietch        Port Orange, FL         135 months
  25-Jan-17     John Peter Christensen, MD   West Palm Beach, FL     4 years
   5-Apr-17     Peter Katz, MD               Boynton Beach, FL
  15-Jun-17     William Ouw, MD              Pompano Beach, FL       22 years
  30-Aug-17     Anil Sahijwani               Tampa, FL               45 months
  22-Jun-18     John M. Gayden, MD           West Melbourne, FL      19 years
   20-Jul-18    Jeffrey John Abraham, MD     Tampa, FL               36 months probation
   1-Aug-18     Barry Schultz                West Delray Beach,      157 years
                                             FL
   30-Jan-19    Jayam Krishna Iyer, MD       Clearwater, FL          6 months
    7-Feb-19    Victor Hugo Espinosa, MD     Ft. Lauderdale, FL      Pled Guilty
   7-May-19     Marta Elena Farinas, MD      Miami Beach, FL
  29-May-19     Kendrick Eugene Duldulao,    Tampa, FL               Convicted
                MD
  29-May-19     Medardo Queg Santos, MD      Lakeland, FL            Convicted
    6-Jul-19    Johnny Clyde Benjamin, MD    Vero Beach, FL          Life
  26-Aug-19     Rodolfo Gonzalez-Garcia,     Weston, FL              Pled Guilty
                MD
   26-Sep-19    Robert Patrick Jensen, MD    Gulf Breeze, FL         Indicted
   26-Sep-19    Michael T. Harris, MD        Gulf Breeze, FL         Indicted


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   26-Nov-19 Jeanne E. Germeil, MD              Aventura, FL             210 months


                       Orlando, Florida (Pharmacist No. 5)

               Pharmacist No. 5 was a pharmacist and pharmacy manager for Walmart in Orlando,

Florida for ten years, from 2006 to 2017. She was terminated in 2017. As pharmacy manager for

Walmart, she reported to Kelly Altman, a Walmart Market Manager.

               Pharmacist No. 5 said she had a reputation among other pharmacists for being a

vigilant pharmacist in the area. “Everybody knew my name,” she said. “I ran a tight ship.”

               When the DEA allowed controlled substances to be prescribed electronically, she

did not feel comfortable doing that. Pharmacist No. 5 wanted prescriptions for opioids and other

controlled substances to be handwritten, signed, with the patient in the store. She said she knew

other pharmacists who weren’t comfortable with the change. Some would fill electronic

prescriptions for ADHD drugs for children but not for opioids. To keep things straightforward for

her pharmacy technicians, she said would not fill any electronic prescriptions for controlled

substances.

               She was aware of some practices involving electronic prescriptions that she did not

like, such as doctors allowing their nursing staff to file electronic prescriptions.

               Pharmacist No. 5 recalled an incident when a patient had two electronic

prescriptions for the same controlled substances, one from New York and one from Florida. He

had residences in both states. Using Walmart’s data, she found he had filled the prescription in

New York. When he came to the store to pick it up, she put a hold on it. Following her refusal, she

was fired by her Market Manager, Kelly Altman.




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               Walmart provided only minimal training on using the state’s prescription

monitoring program, but did nothing to follow up or enforce its use. There was some “slight”

training on using Florida’s prescription monitoring program, EFORSCE, but its use was very

loosely monitored.

               Walmart monitored things like properly disposing of expired controlled substances,

and whether controlled substances were filled correctly with all the required information, but it

failed to adequately monitor whether basic safeguards were being followed when filling

prescriptions for opioids. “Some pharmacists were able to get away with anything and everything

they were doing,” Pharmacist No. 5 said.

               Walmart emphasized sales over safety. “You understood that you needed to grow

the business,” Pharmacist No. 5 said. “The pharmacies that grew the business, they sold a lot of

controlled substances.”

               Pharmacy managers were given a business plan at the beginning of each year. “That

was their expectation of what their numbers should look like,” she said. Sometimes she did not

meet her numbers for prescription count because of her strictness. That meant not getting a bonus

or a raise for the year. She would have been eligible for a $16,000 or $17,000 bonus in 2016, but

did not receive a bonus since she did not make her dispensing quota, including opioids.

               Pharmacist No. 5 witnessed pharmacists not going to the state’s prescription

monitoring database to make sure the patients were not getting refills too soon. She saw a

pharmacist fill two different prescriptions for different quantities of the same drug, Adderall, on

the same day for a customer. One was for a 60-day supply, the other for a 90-day supply.

               She also knew of a Walmart pharmacist who did not know her own password to

access the Florida PMP, EFORSCE.

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               These shortcomings occurred because Walmart management prioritized sales and

customer satisfaction over safety, Pharmacist No. 5 said. “A lot of pharmacists are doing things

that may not be clinically sound or safe for the patient,” she said. “They don’t want anyone to

complain. Walmart does not want to hear any complaints from their customers.”

               She said she confronted management about this, warning them: “The country is in

an opioid epidemic right now and you’re allowing these people to fill prescriptions

indiscriminately.” But nothing was done.

               Specific Examples of Unlawful Dispensing Conduct: Kentucky

                      Walmart failed to investigate or halt dispensing of inappropriate or
                      medically unnecessary opioid prescriptions in Kentucky

               The Commonwealth of Kentucky has been hit especially hard by the opioid

epidemic, ranking fifth in the nation for opioid-related deaths in 2015. In 2015, 102 opioid

prescriptions were written for every 100 Kentucky residents, 1.5 times the national average. In

2016 alone, there were 1,404 reported fatal drug overdoses in Kentucky—117 per month. Fentanyl

was involved in 623—approximately 47%—of those deaths. In 2017, there were 1,565 fatal drug

overdoses in Kentucky, which increased the average death rate to approximately 130 deaths per

month.

               In addition to opioid-related fatalities, the Commonwealth has suffered other

serious injuries. Kentucky has seen a dramatic increase in opioid addiction, reflected, in part, in

the increase in Medicaid spending for medications to treat such addiction, which doubled in just

two years—from $56 million in 2014 to $117 million in 2016.

               Children are especially vulnerable to the opioid epidemic. In just one 12-month

period, between August 1, 2014 and July 31, 2015, 1,234 infants in Kentucky were born addicted



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to opioids, more than 100 newborns per month. Many of these infants must be treated in neonatal

intensive care units while they painfully withdraw from the drugs. Children also suffer when

removed from their homes due to their parents’ opioid abuse and addiction.

               Kentucky has had one of the highest rates of pregnant women using opioids in the

country. In 2014, the Commonwealth had the third-highest rate of pregnant women with opioid

use disorder. In 2017, the number of babies born with NAS in the Commonwealth had increased

by 375% since 2007.

               Despite having 101 pharmacies located all over the Commonwealth of Kentucky,

Walmart’s gross inadequacies in the performance of its CSA due diligence obligations are

underscored by the following examples of illegal prescribing and diversion activities in Kentucky.

               Upon information and belief, none of the following health care professionals (many

of whose prescriptions were filled at Walmart pharmacies), who were apprehended (and many of

them later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Walmart despite their prescribing habits rising to a criminal level:

 Date          Name                           City                    Sentence

   18-Aug-03 David Herbert Procter, MD        South Shore, KY         11 years

   22-Feb-07 Fortune Williams, MD             Garrison, KY            20 years

   26-Oct-09 Milton Lee Brindley, MD          Augusta, KY             71 months

  14-May-10 Stanley Naramore, MD              Cincinnati, OH          48 months

   12-Dec-11 Richard Albert, MD               Paintsville, KY         75 months

    3-Aug-12 Michael D. Leman, owner          Lexington, KY           15 years

   18-Dec-12 Clara Rodriguez-Iznaga, MD       Plantation, FL          20 years

   14-Jan-13 Ernest William Singleton,        Springfield, KY         20 years
             MD



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   18-Jun-13 Gregory B. White             Georgetown, KY        2 years

   18-Dec-13 Charles Tenhet, PharmD       London, KY            10 years

    1-Aug-14 Tammy Cantrell, MD           Paintsville, KY       9 years

    1-Aug-14 Shelby Lackey                Paintsville, KY       97 months

   29-Aug-14 Rano Bofill, MD              Paintsville, KY       4 years

   10-Sep-14 Beverly Lockhart, Pharm Mgr Pikesville, KY         72 months

   30-Mar-15 Ronald Hungerbuhler, DDS     Corbin, KY            1 year

   16-Jun-15 Charles Fred Gott, MD        Warren County, KY     8 years

  13-May-16 James Guerrero, MD            Louisville, KY        8 years

     1-Jul-16 Sean P. McDonald, MD        McCracken County,     Probation
                                          KY
    11-Jul-16 Alan Craig Schold           Georgetown, KY

    1-Apr-17 Clelia Hayes, MD             Tompkinsville, KY     1 year

   24-Apr-17 Ezekiel O. Akande, MD        Somerset, KY          5 years

    5-Jun-17 George Kudmani               Louisville, KY        48 months

   30-Jun-17 Lonnie Hubbard, PharmD       Berea, KY             30 years

   29-Sep-17 James Chaney, MD             Hazard, KY            180 months

   26-Apr-18 Alan Arnold Godofsky, MD     Cincinnati, OH        5 years

   7-May-18 Fred Gott, MD                 Bowling Green, KY     96 months

   10-Aug-18 Roy D. Reynolds, MD          Franklin, KY          50 months

   17-Apr-19 Raymond Noschang, MD         Sycamore Township,    Pled guilty
                                          KY
   19-Apr-19 Christopher Nelson, MD       Louisville, KY

   30-Apr-19 Curtis Edens, MD             Louisa, KY            2 years probation

    29-Jul-19 Michael Lee Cummings, MD    Albany, KY            30 months

   17-Oct-19 Mohammed A. H. Mazumder, Prestonburg KY            Pled guilty
             MD


                     Mayfield, Kentucky (Pharmacy Technician No. 1)



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                 Mayfield, Kentucky is a community of just over 10,000 residents in Western

Kentucky located about two hours northeast of Nashville, three hours southwest of St. Louis, and

three hours west of Louisville. A quick look at the town’s website shows upcoming events like

the Mayfield Food Fest, a Rodeo at the Mayfield-Graves County Fairgrounds, an Antique Tractor

show, and Religious Art Show hosted by the Mayfield-Graves County Art Guild.237

                 At first blush, Mayfield is not the type of town one might associate with the opioid

epidemic. But that is the nature of the opioid epidemic in 2019. It reaches into every corner of our

society, from tough inner cities to peaceful country towns like Mayfield where opioids have been

pouring in.

                 In Graves County, where Mayfield is located, there were twenty-three opioid

overdose deaths between 2009 and 2013, or an annual rate of 27.1 per 100,000 population.238

                 Walmart’s failures under the CSA and state pharmacy laws and regulations have

been at the center of the problem in Mayfield. Its pharmacy at 1225 Paris Road dispensed a total

of 1,241,855 opioid pills between 2006 and 2012 for a total of 7,953,677 MME.

                 That means that at the CDC’s highest bounds of the recommended MME per day

(90 MME/day) the store was supplying an average of nearly 36 opioid prescriptions per day. Here

is a summary of this Walmart store’s dispensing by type of opioid during this time period,

particularly Hydrocodone:




237
      See http://mayfieldky.gov/.
238
   Svetla Savova, et al., Kentucky Injury Prevention and Research Center, Drug Overdose
Deaths in Kentucky, 2000 – 2013, at 10 (March 6, 2015),
http://www.mc.uky.edu/kiprc/projects/ddmarpdak/pdf/KyDrugOverdoseDeaths-2000-2013.pdf.


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               Despite the opioid epidemic raging in Mayfield, Kentucky at that time, Walmart

provided no training on how to recognize and deal with physicians who were suspected of over-

prescribing opioids. Nor did Walmart provide a list of physicians suspected of over-prescribing

or of patients suspected of pill shopping.

               One Walmart pharmacy technician who worked at the Paris Road Walmart store

between October 2016 and October 2018 said her pharmacy never provided her with any training

on “red flags” for inappropriate prescriptions, nor did the Walmart pharmacy have a policy or

protocol on how to deal with suspicious physicians. (Pharmacy Technician No. 1)

               Because of the significant volume of prescriptions coming through the Paris Road

Walmart, she never looked at the Kentucky PDMP for potential pill shopping because her job

responsibilities did not give her sufficient time to do so.

               At no time during the two years of her employment did the pharmacy do anything

to address the ongoing opioid epidemic. In fact, she was aware of only two patients who were

ever denied prescriptions at this pharmacy.


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               Specific Examples of Unlawful Dispensing Conduct: New Jersey

                       Walmart failed to investigate or halt dispensing of inappropriate or
                       medically unnecessary opioid prescriptions in New Jersey

               New Jersey has not been spared from the ravages of the opioid epidemic. In New

Jersey, there were 1,053 confirmed opioid-related drug deaths in 2012. That total rose a staggering

232% to 3,497 confirmed opioid-related drug deaths in New Jersey in 2017—a number that is

larger than the population of many New Jersey towns.239 As reported by the New Jersey 101.5 FM

radio station, the epidemic has gotten so bad that staff at the State’s libraries—typically the most

open buildings in their communities—are being instructed to watch out for users “overdosing

inside . . . bathrooms or behind rows of books.”240

               According to national 2009 data analyzed by the National Institute on Drug Abuse,

overdose deaths represent only the tip of the iceberg. For every overdose death that year, there

were 9 abuse treatment admissions, 30 emergency department visits for opioid abuse or misuse,

118 people with abuse or addiction problems, and 795 non-medical users of opioids. In New

Jersey, opioid-related emergency department visits doubled between 2005 and 2014 and rose

another 13 percent in 2015. Emergency medical technicians have administered naloxone— the

emergency antidote to opioid overdoses—more than 35,000 times from June of 2017 to November

2019.241



239
         Drug-Related       Deaths,      New        Jersey     Department           of        Health,
https://www.state.nj.us/health/populationhealth/opioid/opioid_deaths.shtml.
240
    David Matthau, Overdoses in NJ libraries—more signs of the opioid crisis, New Jersey 101.5
FM Radio (July 6, 2017), http://nj1015.com/overdoses-in-nj-libraries-more-signs-of-the-opioid-
crisis/.
241
       Naloxone (Narcan ®) Incidents, New Jersey Department                              of   Health,
https://www.state.nj.us/health/populationhealth/opioid/opioid_naloxone.shtml.


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                   Rising opioid use, abuse, and addiction have had negative social and economic

consequences far beyond overdoses and hospital visits. According to a 2016 study by a Princeton

economist, unemployment increasingly is correlated with use of prescription pain medications.

Nearly half of surveyed men not in the labor force said they took pain relievers daily, and two-

thirds of them were on prescription medications—compared to just 20% of employed men who

reported taking pain medications.242 Worse still, many of those taking pain medications still said

they experienced pain daily—an echo of the CDC’s recent conclusion that “there is no good

evidence that opioids improve pain or function with long-term use, and . . . complete relief of pain

is unlikely.”243

                   According to an analysis by NJ.com, 6.4 of every 1,000 babies in New Jersey were

born with NAS in 2014—more than double the 2008 figure. The problem is particularly acute in

Atlantic, Cape May and Cumberland counties, where more than one out of every 50 babies in 2014

was born addicted to opioids.244

                   Opioid addiction now outpaces other forms of addiction in demand for substance

abuse treatment, and treatment providers are struggling to keep up. In 2016, prescription opioid

and heroin abuse accounted for half of the substance abuse treatment admissions (including

admissions for alcohol abuse) in New Jersey—more than 37,000 admissions—and accounted for


242
   Alan B. Krueger, Where Have All the Workers Gone?, Princeton University and National
Bureau of Economic Research (Oct. 4, 2016).
243
      2016 CDC Guideline at 20 (emphasis added).
244
    Stephen Stirling, ‘Heroin babies’ skyrocketing in N.J. as statewide epidemic grips newborns,
NJ.com                          (Aug.                           12,                       2016),
https://www.nj.com/healthfit/2016/08/heroin_babies_skyrocketing_in_nj_as_statewide_epidemic
_grips_newborns.html.



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the overwhelming majority of drug abuse admissions. Yet, the demand for treatment far outstrips

the supply. The New Jersey Department of Human Services estimates that 37,000 New Jersey

residents needed and wanted substance abuse treatment in 2016 but did not receive it.245

               A recent, even more sinister problem stemming from the prescription opioid

epidemic involves fentanyl—a powerful opioid carefully prescribed for cancer pain or in hospital

settings that, in synthetic form, is now making its way into New Jersey communities through a

booming trafficking network. Drug dealers are mixing fentanyl into heroin because it can be

cheaply produced and creates an intense high. Patients who moved from prescription opioids to

heroin may now find themselves graduated to heroin plus fentanyl.

               Fentanyl has been linked to an increasing number of the State’s overdoses. Fentanyl

was a factor in 42 New Jersey overdose deaths in 2015, and rose to be a factor in 1429 deaths in

2017.246 Fentanyl is 50 times more potent than heroin, and can quickly induce death in opioid-

naïve users. And fentanyl abuse is often a game of Russian roulette, with users not knowing what

mixture of fentanyl and heroin they are taking.

               Despite having some 70 stores located all over the State of New Jersey, Walmart’s

gross inadequacies in the performance of its CSA due diligence obligations are underscored by the

following examples of illegal prescribing and diversion activities.




245
    Suzanne Borys, Substance Abuse Overview 2016 Statewide, NEW JERSEY DEPARTMENT
OF               HUMAN                 SERVICES,                    (June           2017),
https://www.nj.gov/humanservices/dmhas/publications/statistical/Substance%20Abuse%20Over
view/2016/statewide.pdf
246
         Drug-Related       Deaths,      New        Jersey     Department         of       Health,
https://www.state.nj.us/health/populationhealth/opioid/opioid_deaths.shtml.


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               Upon information and belief, none of the following health care professionals (many

of whose prescriptions were filled at Walmart pharmacies), who were apprehended (and many

later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Walmart despite their prescribing habits rising to a criminal level:

 Date          Name                           City                    Sentence

 16-Feb-05     Muni Faswala, MD               Millville, NJ           indicted/fugitive

 30-Sep-05     John Sireci, DO                Woodbury, NJ            3 years probation

 30-Jun-06     James Stanch, MD               Manahawkin, NJ          57 months

 10-May-07 Philip Mach, MD                    New Brunswick, NJ       15 months

 17-Sep-07     Joan Jaszczult, MD             Bloomfield, NJ          132 months

 10-Feb-09     Pravin Vasoya, MD              Mount Laurel, NJ        57 months

 25-Mar-09     Pankaj Agrawal, MD             Sicklerville, NJ        63 months

 30-Mar-09     Philip Eatough, MD             Middleton, NJ           41 months

 1-Nov-09      Bipin Parikh, MD               Jersey City, NJ         3 years

 4-May-10      Manuel Nigalan, MD             Northfield, NJ          3 years

 1-Jan-12      Augustine Lee, MD              Trenton, NJ             1 year, 1 day

 13-Jan-12     Ronald Rahman, MD              Sicklerville, NJ        25 months

 1-Jun-12      Michael Chung Kay Lam,         Fort Lee, NJ            3 years probation
               MD

 17-Sep-12     Eugene Demczuk, MD             Livingston, NJ          6 months, lost CDS
                                                                      license

 1-Oct-12      William Kropinicki, MD         Lawrence, NJ            7 years

 19-Dec-12     Priscilla Ilem, MD             Wayne, NJ               5 years probation

 1-Jan-13      Carnig Shakajian, MD           Park Ridge, NJ          5 years



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 22-Jul-13   Hassan Lahham, MD         New York, NY          108 months

 29-Jul-13   Jacqueline Lopresti, MD   Fair Haven, NJ        57 months

 17-Dec-13   Michael Durante, MD       Nutley, NJ            136 months

 10-Jul-14   Leonard Stefanelli,       East Hanover, NJ      37 months
             PharmD

 6-Mar-15    Paul DiLorenzo            Ocean Township, NJ    46 months

 1-Apr-15    David C. Lee, MD          Medford, NJ           license suspended

 29-Jun-15   Eugene Evans Jr., MD      Roselle Park, NJ      5 years

 13-May-16 Jay Rosen, MD               South Jersey, NJ      retired, license
                                                             permanently revoked

 14-Jun-16   William R. Wolfe, MD      Voorhees, NJ          license suspended

 24-Jul-16   Vincent Esposito, MD      Madison, NJ           2 years probation

 29-Jul-16   Michael Rutigliano, MD    Paramus, NJ           license suspended

 29-Jul-16   Dyung Kang, MD            Little Falls, NJ      indicted

 3-Aug-16    John R. McGee, MD         Beyonne, NJ           license suspended 5 years

 9-Aug-16    Herbert Rudolph, MD       Tuckerton, NJ         license suspended 5 years

 26-Aug-16   Anthony Greenberg, MD     Newton, NJ            license temporarily
                                                             suspended

 16-Sep-16   Darius Jasinski, MD       Pequannock, NJ        license suspended, 3 years

 28-Oct-16   James Ludden, DPM         Red Bank, NJ          license suspended

 7-Nov-16    Thomas Newmark, MD        Cherry Hill, NJ       license suspended
                                                             permanently

 11-Nov-16   Mudassar Sharif, MD       Kearny, NJ            5 1/2 years

 22-Nov-16   Manoj Patharkar, MD       South Amboy, NJ       license revoked

 23-Dec-16   Vasili Moschowitz, MD     Bernegat, NJ          license revoked



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 8-Feb-17    Ronald Intelisano, DO       Blackwood, NJ        license suspended 5 years

 1-Mar-17    Mohamed Kawam Jabakji,      Prospect Park, MJ    license revoked
             MD

 1-Mar-17    Kenneth Lewandowski,        Middletown, MJ       6 years
             MD

 2-Mar-17    Chowdhury Azam, MD          Edison, NJ           license suspended 5 years

 2-Mar-17    Steven Forman, Podiatrist   Clementon, NJ        license suspended 5 years

 2-Mar-17    Ronald Scott, PA            Toms River, NJ       license revoked

 2-Mar-17    Byung Kang, MD              Little Falls, NJ     indicted

 28-Jun-17   James Morales, MD           Toms River, NJ       1 year, 1 day

 8-Dec-17    James Cowan, Jr., MD        Ridgewood, NJ        license revoked

 22-Dec-17   Binod Sinha, MD             Central New Jersey   license revoked

 4-Mar-18    Vivienne Matalon, MD        Cherry Hill, NJ      license revoked

 10-Sep-18   Kenneth Sun, MD             Phillipsburg, NJ     license revoked

 1-Nov-18    Martin Fried, MD            Ocean Township, NJ   charged

 3-Dec-18    George Beecher, MD          New Providence, NJ   10 years

 21-Mar-19   Alan Faustino, MD           Atlantic City, NJ    4 years

 30-Mar-19   Roberg Lellemand, Jr.       Old Bridge, NJ       Lost license

 26-Apr-19   Craig Gialanella, MD        Essex County, NJ     5 years suspended

 13-May-19 Robert Delagente, MD          Oakland, NJ          charged

 4-Oct-19    Liviu Hoca, MD              Manahawkin, NJ       3 years probation, lost
                                                              license

 4-Dec-19    Morris “Moishe”             Bordentown, NJ       surrendered license in
             Starkman, MD                                     2018, criminally charged
                                                              12/4/2019




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                       Deptford Township, New Jersey (Pharmacist No. 1)

               Deptford Township is located in Gloucester County, New Jersey, which is made up

of largely quiet suburbs just across the river from Philadelphia and northwest of Atlantic City with

a population of just over 290,000 people. New Jersey state statistics show, however, that in 2015

the opioid epidemic not only infested New Jersey’s urban areas, but the more unlikely places where

suburban stories of abuse have developed into a sad, profound narrative. Largely suburban

Gloucester County is on that list.247

               In Gloucester County, the heroin death rate was 17.3 deaths per 100,000 people in

2014 – nearly seven times the national average, according to the New Jersey Department of

Health.248 Between 2004 and 2014, at least 53 people died of heroin or opiate overdoses in

Williamstown, an unincorporated community located almost entirely in Monroe Township,

Gloucester County. Williamstown is not alone. From 2004 to 2014, Washington Township, with

a population of about 50,000, was the site of at least 23 heroin and opiate-related deaths. Glassboro,

home to 20,000 people, had 11 in the same period, and Deptford, which has a population of 30,000,

had about 18. Even tiny Newfield, a town of fewer than 2,000 people, had four overdose deaths.




247
   Tom Davis, 30 N.J. Towns With The Most Heroin Abuse, New Data Says, Morristown Patch,
(Sept. 1, 2016) https://patch.com/new-jersey/morristown/30-new-jersey-towns-most-heroin-
abuse-latest-2016-data-released.
248
   Amy Polhamus, Inside the N.J. town with a heroin death-rate 25 times the national average,
NJ.com, (Jan. 28, 2016) https://www.nj.com/gloucester-
county/2016/01/meet_the_town_leading_the_fight_against_gloucester.html.



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               The two Walmart stores in Deptford Township dispensed significant amounts of

opioids. Its pharmacy at 2000 Clements Bridge Road between 2006 and 2012 dispensed some

664,405 doses of opioids, or 7,384,960 MME.

               That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 32 opioid prescriptions per day.

               The pharmacy at 820 Cooper Street between 2006 and 2012 dispensed some

670,525 doses of opioids, or 6,957,217 MME.

               That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 30 opioid prescriptions per day.

               A former Walmart pharmacist (Pharmacist No. 1) who was the store manager at the

Deptford, New Jersey store from 2010 to 2019 specifically remembered that, despite concerns that

he may be prescribing inappropriate opioids prescriptions, they dispensed opioids even though

they suspected the prescribers to be writing inappropriate prescriptions.

               One such doctor was Dr. Steven Forman, a podiatrist with a practice in Gloucester

County. This former Walmart pharmacy manager recalls the two pharmacies where he worked

regularly filled prescriptions for Dr. Forman even though they suspected he was over-prescribing

opioids. Dr. Forman regularly wrote prescriptions for 120 30mg oxycodone tablets (the most often

abused oxycodone formulation). Dr. Forman would later lose his medical license and pay fines249




249
   Tom Davis, 31 N.J. Doctors Lost Jobs In Statewide Opioid Crackdown, Toms River Patch
(March 2, 2017) https://patch.com/new-jersey/tomsriver/31-n-j-doctors-lost-jobs-statewide-
opioid-crackdown.



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related to investigations going back several years which accused him of indiscriminately

prescribing controlled dangerous substances.250

               This former store manager said that, despite a steadily worsening opioid epidemic

in New Jersey, Walmart provided no corporate policies, protocols or requirements for opioids for

what to do when they encountered suspicious prescriptions. This was the case in spite of the fact

that the opioid problem in Gloucester County was “going off the rails” as early as 2012.

               This changed somewhat in or around 2016. That year, Walmart provided a list of

warning signs for which pharmacists should look out when filling prescriptions. The company

also later added a computer-based learning module to its corporate training courses that outlined

how to handle warning signs for suspicious prescriptions. Even then, however, Walmart did not

provide its pharmacists with lists of physicians it suspected of over-prescribing nor of patients it

suspected of abusing opioids.

               Also, in 2016, Walmart instituted a policy requiring pharmacists to fill out an online

form and submit it through the company internal electronic channels if they refused to fill a

prescription. The form asked for the name of the patient, the doctor and the reason for refusing to

fill.

               According to this former employee, occasionally, but not often, Walmart would

issue an internal report about a doctor who had been cut off because the company had received

multiple reports that pharmacists were refusing to fill prescriptions.



250
   Kevin Kelly, State disciplines four South Jersey medical providers to combat opioid crises,
Philly Voice (March 2, 2017) https://www.phillyvoice.com/state-disciplines-four-south-jersey-
medical-providers-combat-opioid-crises.



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                 Even then, Walmart management still put extraordinary pressure on pharmacists to

meet prescription volume goals. The metrics of profit margin and prescription count accounted for

25 percent of the goals needs to be eligible for bonuses and raises. Nothing in the metrics measured

or held them accountable for ensuring only appropriate and/or medically prescriptions were filled.

                 And bonuses could be significant. This former manager said he had earned a

$19,000 bonus for several years because his prescription volume had grown more exponentially

than forecast.

                 As the epidemic worsened, Walmart eventually eliminated counting the number of

prescriptions for controlled substances in the bonus calculation. However, the company still

continued to measure store profit margins, which did include the sale of controlled substances and

opioids.

                 Specific Examples of Unlawful Dispensing Conduct: New Mexico

                        Walmart failed to investigate or halt dispensing of inappropriate or
                        medically unnecessary opioid prescriptions in New Mexico

                 Since 2008, New Mexico has had one of the highest rates of drug overdose death

in the United States. Between 2008 and 2012, almost every county in New Mexico had a higher

drug overdose death rate than the rate for the entire United States. In some New Mexico counties,

the overdose death rates were more than five times the national rate. According to CDC, New

Mexico had the third highest drug overdose death rate in the nation in 2013, the second highest in

2014, and remained in the highest age-adjusted rate category in the nation in 2015.251




251
   Hector Balderas, New Mexico Attorney General, Fighting the Opioids Crisis in New Mexico,
https://www.nmag.gov/fighting-the-opioid-crisis-in-new-mexico.aspx.


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                The New Mexico Department of Health estimates that in 2007 alone prescription

opioid abuse and misuse cost New Mexico $890 million, taking into account costs such as excess

medical and prescription costs, lost earnings from premature deaths, and the costs of correctional

facility and police services.252

                Despite having some 53 stores located all over the State of New Mexico, Walmart’s

gross inadequacies in the performance of its CSA due diligence obligations are underscored by the

following examples of illegal prescribing and diversion activities.

                Upon information and belief, none of the following health care professionals (many

of whose prescriptions were filled at Walmart pharmacies), who were apprehended (and many

later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Walmart despite their prescribing habits rising to a criminal level:

       Date                Name                        City                     Sentence

  15-Sep-04 Jesse Henry, MD                   Albuquerque, NM         4 years probation

  26-Apr-13 Gloria Vigil, NP                  Albuquerque, NM         41 months

  28-Aug-13 Jason Lucas                       Albuquerque, NM         2 years probation

      4-Mar-15 David Jones, NP                Portales, NM            charged (deceased)

  11-Jan-18 Sophia Ann Villalobos, NP         Carlsbad, NM            12 months

      6-Sep-18 Orrin K. McLeod, D.O.          Albuquerque, NM         $300,000

      9-May-19 Pawankumar Jain, MD            Las Cruces, NM          9 years

      25-Jul-19 Andrei Marchenko, NP          Albuquerque, NM         Charged in three overdose
                                                                      deaths




252
      Id.


                                                 153
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                  Since 2008, New Mexico has had one of the highest rates of drug overdose death

in the United States. Between 2008 and 2012, almost every county in New Mexico had a higher

drug overdose death rate than the rate for the entire United States. In some New Mexico counties,

the overdose death rates were more than five times the national rate. According to CDC, New

Mexico had the third highest drug overdose death rate in the nation in 2013, the second highest in

2014, and remained in the highest age-adjusted rate category in the nation in 2015.253

                  The New Mexico Department of Health estimates that in 2007 alone prescription

opioid abuse and misuse cost New Mexico $890 million, taking into account costs such as excess

medical and prescription costs, lost earnings from premature deaths, and the costs of correctional

facility and police services.254

                         Alamogordo (Pharmacy Technician No. 2)

                  The opioid epidemic has been particularly devastating in Otero County. From 2014

to 2016, there have been 42 drug overdose deaths in Otero County for a drug overdose mortality

rate of 22 deaths per 100,000 residents.255 From 2012 to 2014, there were 41 deaths, and from

2004 to 2010 there were 84 drug poisoning deaths.256

                  According to the New Mexico Department of Health, from 2012 to 2016 there were

66 deaths due to drug overdoses in Otero County for a drug overdose death rate of 20.7. 257 Of


253
   Hector Balderas, New Mexico Attorney General, Fighting the Opioids Crisis in New Mexico,
https://www.nmag.gov/fighting-the-opioid-crisis-in-new-mexico.aspx.
254
      Id.
255
      Drug Overdose Deaths, 2016 tab, County Health Rankings & Roadmaps,
http://www.countyhealthrankings.org/app/new-mexico/2018/measure/factors/138/data.
256
      Id. at 2014 tab.
257
      New Mexico’s Indicator-Based Information System (NM-IBIS), NEW MEXICO DEP’T OF


                                                 154
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those deaths, at least 37 involved prescription opioids.258 In 2015 there were 14 deaths and in 2014

there were 16 deaths for a death rate of 24.6 that year.259

                    The opioid epidemic is also increasing hospital visits and costs. From 2012 to 2016

there were 101 opioid overdose related Emergency Department visits in the County.260

                    The opioid epidemic is also impacting children. In 2015, 9.9% of 9 to 12th graders

in the County had used a painkiller to get high. In addition, 3.9% of those in the County in grades

9 to 12 had used heroin.261

                    According to a former Walmart pharmacy technician who worked at the

Alamogordo Walmart at 233 S. New York Avenue, pharmacists would see patients every day who

were prescribed relatively large quantities of opioids and for multiple varieties that included

hydrocodone, oxycodone and methadone. (Pharmacy Technician No. 2)

                    This pharmacy technician explained that pharmacies were “ground zero for the

[opioids] epidemic.” Despite the epidemic environment and that large numbers of patients who

filled prescriptions at her pharmacy, she had “absolutely no formal training on what to do” to




HEALTH, https://ibis.health.state.nm.us/indicator/view/DrugOverdoseDth.Cnty.html.
258
   New Mexico Dep’t Of Health, New Mexico Substance Abuse Epidemiology Profile (November
2017)                                                                                35,
http://www.nmprevention.org/Project_Docs/NM%20Substance%20Abuse%20State%20Epi%20
Profile%202017Nov.pdf.
259
    Overdose Deaths Decline in Nearly Two-Thirds of New Mexico’s 33 Counties, New Mexico
Dep’t             Of            Health           (September          20,           2016),
https://nmhealth.org/news/information/2016/9/?view=484.
260
      New Mexico Dep’t of Health, New Mexico Substance Abuse Epidemiology Profile, supra, at
38.
261
      Id. at 110.


                                                    155
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identify fraudulent patients or doctors. Nor did Walmart have any policies or procedures in place

on when to refuse to fill such prescriptions or how to handle such customers.

               The Alamogordo Walmart pharmacy filled enormous amounts of opioids between

2006 and 2012, filling 3,293,346 dosage units or 36,304,509 MME.

               That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 157 opioid prescriptions per day. Here is a chart

showing the dispensing at this one Walmart between 2006 and 2012:




               Despite being a town of approximately 30,000 people, the Alamogordo Walmart

was routinely in the top 3-4% of dispensing pharmacies in all of New Mexico, ranking in the top

4% in 2006, top 3% in 2007 and 2008, top 2 % in 2009, top 1% in 2011, and top 4% in 2012.

               Many former Walmart pharmacy employees recall filling prescriptions at Walmart

for “pill mill” doctors. One former pharmacist who worked in Alamogordo, New Mexico recalled

Dr. Mark Beale as being a heavy prescriber. Beale was in his Alamogordo, New Mexico office on

                                               156
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Tuesdays and, because of his copious prescriptions, Tuesdays were usually busy days at the

pharmacy. “If you were doctor shopping, that was the doctor you wanted,” she said. “He would

pretty much write everything you wanted.” (Pharmacy Technician No. 2).

               Dr. Mark Beale was arrested in April of 2019 for raping six (6) of his patients and

also “may have prescribed medications to some of the women without properly diagnosing their

symptoms.”262 Twenty-two percent of Dr. Beale’s 206 patients had filled at least one prescription

for an opioid, compared to an average of 3 percent.263

               The same pharmacy technician also remembered Dr. Brett Butz as being a heavy

opioid prescriber. “We got a ton of scripts from him,” she said. “He seemed excessive.” Despite

Dr. Butz’s suspicious prescribing habits, the pharmacy technician did not recall any instances when

the pharmacy refused to fill one of his prescriptions.

               Despite what it knew was a dire epidemic ravaging the country, including the fact

that it was aware of over-prescribing by clearly pill mill doctors whose patients were receiving

opioids prescriptions, Walmart did not maintain or share with its pharmacy staffs a list or database

of suspicious health care providers who were prescribing or patients who were receiving

inappropriate amounts of opioids. (Pharmacy Technician No. 2)

                       Albuquerque (Dr. Marcilla)




262
   Bethany Freudenthal, Las Cruces psychiatrist who allegedly had sex with patients charged with
rape,     LAS     CRUCES      SUN     NEWS,       April     2,    2019,      https://www.lcsun-
news.com/story/news/local/2019/04/12/las-cruces-psychiatrist-mark-beale-who-allegedly-had-
sex-patients-charged-rape/3451904002/.
263
     ProPublica, Prescriber Checkup: The Doctors and Drugs in Medicare Part D,
https://projects.propublica.org/checkup/providers/1164547709.



                                                157
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                    The opioid epidemic has been particularly devastating in Bernalillo County.

According to the New Mexico Department of Health, from 2013 to 2017 there were 902 deaths

due to drug overdoses in Bernalillo County for a drug overdose death rate of 26.3 per 100,000

residents.264

                    Similarly, from 2012 to 2016 there were 923 drug overdose deaths in Bernalillo

County for a death rate of 27.1 during that period.265 Of those deaths, at least 448 involved

prescription opioids.266 More people have died in Bernalillo County due to drugs – and opioids

specifically – than in any other county in New Mexico.267

                    The opioid epidemic is also increasing hospital visits and costs. From 2012 to 2016

there were 2,482 opioid overdose related Emergency Department visits in the County for a rate of

72.8 such visits per 100,000 residents.268

                    The opioid epidemic is also impacting children. In 2015, 6.4% of 9th to 12th graders

in the County had used a painkiller to get high.269 In addition, 2.1% of those in the County in grades

9 through 12 had used heroin.270




264
   New Mexico’s Indicator-Based Information System (NM-IBIS), NEW MEXICO DEP’T OF
HEALTH, https://ibis.health.state.nm.us/indicator/view/DrugOverdoseDth.Cnty.html.
265
      New Mexico Dep’t of Health, New Mexico Substance Abuse Epidemiology Profile, supra, at
32.
266
      Id. at 35.
267
      Id. at 32, 35.
268
      Id. at 38.
269
      Id. at 110.
270
      Id.


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               Walmart store-level data shows the inappropriate and fraudulent dispensing at the

11 Walmart pharmacies in Bernalillo County. According to DEA ARCOS data, the 10 Bernalillo

County Walmart stores dispensed 20,365,421 doses of opioids or 229,015,358 MME between

2006 and 2012. The annual average was 32,716,479 MME per year.

               That means that at the highest bounds of the recommended MME per day (90

MME/day) the Walmart stores in Bernalillo were supplying enough opioid prescriptions for an

average of 996 regimens of 90 MME/every day for seven years.

               Dr. Marcilla worked from 2011 to 2016 at numerous Bernalillo County Walmart

pharmacies, including at 310 San Mateo Blvd, 2550 Coors Blvd., NW, 2701 Carlisle Blvd, NE,

and 2266 Wyoming Blvd, NE.

               During Dr. Marcilla’s time working as a floater pharmacist at these Bernalillo

County Walmart stores, training for pharmacists was generally limited to how to use the

prescription dispensing software, Connexus. The company also trained pharmacy managers in all

other policies and procedures that other managers in the store needed to know, but these policies

rarely, if ever, applied to the pharmacies.

               Dr. Marcilla was totally unprepared for the types of patients he saw at the Bernalillo

Walmart pharmacies he worked at, patients who were being treated with multiple medications and

some who were being prescribed high doses of opiates.

               It was not until New Mexico mandated the use of its PDMP in 2012 that Dr.

Marcilla felt he had the data and support needed to identify problem patients and prescribers.

               The difficulty then, however, was the PDMP data was not part of the pharmacist’s

work station computer, which had limited internet access only to Walmart’s Connexus database,

and no external internet access. This meant that, in order to check the PDMP database, pharmacists

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were required to check a computer being used by the technicians. This inconvenience only added

to the pharmacist’s intense working environment to meet Walmart’s metrics.

                And, in Dr. Marcilla’s experience, Bernalillo Walmart pharmacists were under

extraordinary pressure to meet customer demands and to meet the company’s volume- and profit-

based performance metrics. In Dr. Marcilla’s experience working at more than 20 Walmart stores,

pharmacists were evaluated on prescription volume using metrics that are all focused on profits.

These metrics had no measurements for patient outcomes. Rather, pharmacists were tasked with

filling prescriptions quickly and with meeting other volume-based measurements.

                The company had perhaps a dozen or more goals that it set for pharmacists,

including the number of prescriptions filled, and number of vaccinations given. District managers

reviewed that information with the store multiple times a week, even daily if the store was behind

on meeting the goals.

                However, Walmart never provided any guidance on what pharmacists should do

when they found a suspicious patient through the New Mexico PDMP.

                At these Bernalillo Walmart pharmacies, he regularly saw examples of suspicious

or inappropriate dispensing. For example, he was asked in 2011 to take over for the Pharmacy

Manager, Mike Black, at the 8511 Golf Course Road, NW Walmart pharmacy. When he arrived

at the pharmacy, he saw that Black was being escorted from the premises by several Walmart Loss

Prevention employees and the District Manager, Jarvis Mixon. He found out later from others

working in the pharmacy that Black had been terminated for alleged diversion of controlled

substances. Two weeks later, Black died of an apparent opioids overdose.271


271
      Obituary for Dr. Michael Joseph Black, Pharm.D (May 8, 1981-May 9, 2011), ObitTree, .


                                               160
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                Dr. Marcilla worked for approximately six months at the Golf Course Road

Walmart pharmacy. During that time, he saw numerous questionable prescriptions being filled,

including numerous scripts for Phernergan, a drug used with opioids to augment opioid-induced

euphoria. In a number of instances, Dr. Marcilla noted that the Phenergan prescriptions had

expired, so he refused to fill them. When he told customers he would not fill these scripts, they

told him that the prior pharmacist (Black) had regularly filled these prescriptions even though they

were expired.

                Dr. Marcilla also noted that a large Cadillac Escalade being driven by a patient on

Medicaid and welfare would regularly appear at the pick-up window to pick up high dose

Oxycodone tablets. He recalls the technicians telling him that they believed the driver of the

Escalade was engaged in diversion and had some kind of arrangement with Black to fill scripts

that otherwise were questionable.

                Dr. Marcilla mentioned these concerns to the replacement store manager at the Golf

Course Road store, but to his knowledge nothing was ever done to investigate whether Black had

been engaged in any inappropriate activity. Nor did any Walmart management provide any kind

of guidance, nor instruct the Golf Course Road employees about what the diversion issues were

that led to Black’s being terminated.

                       Española (Dr. Marcilla)

                Rio Arriba County, just north of Santa Fe, is a Georgia O’Keeffe landscape of

juniper-dotted desert and mountain valleys populated mostly by Hispanics who proudly trace their



https://obittree.com/obituary/us/new-mexico/albuquerque/daniels-family-funeral-services/dr-
michael-black-pharmd/883951/index.php.



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lineage to settlers of the 1600s — and who, two decades ago, discovered that their county had the

nation’s highest per capita rate of deaths from opioid overdoses. Hundreds of Rio Arriba families

have been struggling to live with a multigenerational plague of opioids.272

               Rio Arriba County was reputedly the first U.S. county to be struck by the opioid

epidemic in the late 1990s and has been ranked by the CDC as the county with the highest rate of

opioid overdose deaths for two decades, only recently dropping to fourth place nationally. 273 Rio

Arriba County had the highest total drug overdose death rate (85.8 deaths per 100,000) among all

New Mexico counties during 2011-2015.274

               Walmart’s failures under the CSA and state pharmacy laws and regulations have

been at the center of the problem in Española and Rio Arriba County. According to DEA ARCOS

data, its pharmacy at 1610 North Riverside Drive dispensed a total of 2,006,889 opioid pills

between 2006 and 2012 for a total of 14,583,685 MME into this town of 10,495 people, or 1,385

MME for every man, woman and child in Española.

               That means that at the CDC’s highest bounds of the recommended MME per day

(90 MME/day) the store was supplying an average of nearly 63 opioid prescriptions every day for

seven years. Below is a summary taken from DEA ARCOS data of this Walmart store’s dispensing

by type of opioid during this time period, particularly Hydrocodone:




272
   Eric Eckhold, A Grim Tradition, and a Long Struggle to End It, New York Times (April 2,
2008), https://www.nytimes.com/2008/04/02/us/02overdose.html.
273
   Resolution No. 2018-064, Rio Arriba County Board of Commissioners, A Resolution Protesting
CDC Designation Of Counties Prioritized For Opioid Funding (May 31, 2018), http://www.rio-
arriba.org/pdf/agendas_and_calendars/2018_05_24/resolution_2018_064.pdf.
274
   New Mexico’s Indicator-Based Information System (NM-IBIS), NEW MEXICO DEP’T OF
HEALTH, https://ibis.health.state.nm.us/indicator/view/DrugOverdoseDth.Cnty.html.


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               Dr. Marcilla worked as a floater pharmacist at the Española Walmart and saw first-

hand the impact of the opioid epidemic and how little the company was doing to monitor

inappropriate prescribing. He estimates that between 70% and 80% of the customers at the

Española store were Medicaid beneficiaries and that at least 40% to 50% of the prescriptions filled

were for opioids and benzodiazepines.

               Daily there were lines of 10-30 customers all day long at the Española Walmart,

seeking opioid prescriptions (frequently multiple prescriptions of hydrocodone in combination

with sedative hypnotics, anxiolytics, antiemetics, muscle relaxants and anticonvulsants). Nearly

every day when he arrived to open the Española pharmacy in the morning, there would be a line

of 3-4 customers who had received enough opiates at the local hospital emergency room to make

it through the night and were wanting their prescriptions filled to feed their addiction.

               The lines at the pharmacy were not limited to just the Española Walmart. Dr.

Marcilla recalled lines similar to the ones in Española at nearby stores in Santa Fe and nearly every


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Walmart where he worked, often snaking from the pharmacy section and out into the other sections

in the store.

                Nearly weekly Dr. Marcilla learned from family members, technicians, or the store

manager that a customer had overdosed and died. He regularly received affidavits stating a patient

had overdosed and died from family members who were there seeking the patient’s prescription

drug history. These affidavits were required by Walmart in order to release the drug history, and

were stored by the company as part of its HIPAA records. Clearly, the company was on notice of

the magnitude of the deaths occurring in Española and Rio Arriba County and the patient’s

associated history of taking opioids.

                Despite what was clearly an environment where the Española Walmart was fueling

the epidemic, Walmart did nothing to change its dispensing practices to enhance its compliance

with its obligations under the CSA or state pharmacy laws and regulations. There was no list

provided of physicians who were suspected of writing inappropriate and medically unnecessary

prescriptions, nor any training about how they were to handle patients seeking to fill these suspect

prescriptions. Nor did Walmart make any effort to limit the volume of opioids being dispensed at

the Española store.

                Effectively, Walmart’s inaction in the face of this environment at the Española

Walmart turned what should have been a place where patients could trust pharmacists to provide

medical assistance and appropriate prescriptions into the exact opposite, a place where patients

were receiving inappropriate and medically unnecessary prescriptions and then were regularly

overdosing and dying.




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                       Farmington (Dr. Marcilla)

               Farmington, New Mexico and San Juan County have been deeply affected by the

opioid crisis. San Juan County reported 111 overdose deaths from 2010 to 2014. In 2016, San Juan

County experienced a death due to opioid overdose rate of 17.5 per 100,000 persons.

               The opioid crisis has reshaped daily reality for San Juan County in numerous ways,

including but not limited to increased and intensified emergency medical responses to overdoses;

increased drug-related offenses affecting law enforcement, jails, and courts; enormous resources

spent on community and social programs to treat those with opioid use disorders; higher workers’

compensation costs for prescription opioids and opioid-related claims; and ultimately prevalent

opioid abuse throughout the County, including in public places.

               Walmart store-level data shows the inappropriate and fraudulent dispensing at the

Farmington Walmart pharmacies at 4600 E Main Street and 1400 West Main Street. Farmington

has a population of 45,626 people. According to DEA ARCOS data, between 2006-2012 the two

Farmington Walmart stores dispensed 4,612,504 doses of opioids 61,434,645 MME. The annual

average was 8,776,377 MME.

               That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying enough opioid prescriptions for an average of 267 regimens

per day.

               Dr. Marcilla worked as a floater pharmacist at the Farmington Walmart stores in

2015-2016 and saw first-hand the impact of the opioid epidemic and how little the company was

doing to monitor inappropriate prescribing. He estimates that between 70% and 80% of the

customers at the Farmington store were Medicaid beneficiaries and that at least 40% to or more of

the prescriptions filled were for opioids, anxiolytics, and muscle relaxants.

                                                165
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                  The Farmington West store served as the closest pharmacy to the Navajo

Reservation, another community that has been particularly hard hit with substance use disorders.

Many native patients received high dose narcotics despite multiple co-morbidities related to

alcoholism, diabetes and advanced cardiovascular disease.

                  Daily there were lines of 10-20 customers all day long at the Farmington Walmart

stores, most seeking opioid prescriptions. Nearly every day when he arrived to open the

Farmington pharmacy in the morning, there would be a line of 3 to 4 customers who had received

enough opiates at the hospital emergency room to make it through the night and were wanting their

prescriptions filled to feed their addiction.

                  Nearly weekly Dr. Marcilla learned from family members, technicians, or the store

manager that a customer had overdosed and died. He regularly received affidavits stating a patient

had overdosed and died from family members seeking the prescription drug history. These

affidavits were required by Walmart in order to release the drug history, and were stored by the

company as part of its HIPAA records. Clearly, the company was on notice of the magnitude of

the deaths occurring in Farmington and San Juan County and the patient’s associated history of

taking opioids.

                  Despite what was clearly an environment where the Farmington Walmart stores

were fueling the epidemic, Walmart did nothing to change its dispensing practices to enhance

compliance with its obligations under the CSA or state pharmacy laws and regulations. There was

no list provided of physicians who were suspected of writing inappropriate and medically

unnecessary prescriptions, nor any training about how they were to handle patients seeking to fill

these suspect prescriptions. Nor did Walmart make any effort to limit the volume of opioids being

dispensed at the Farmington stores.

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               In fact, most of the pharmacist’s time, when not dispensing, was spent either

reviewing sales and inventory data or reviewing/researching/writing SCRT reports which had

become a priority to district managers as a result of high volume of customer complaints.

               Effectively, Walmart’s inaction in the face of this environment at the Farmington

Walmart stores turned what should have been a place where patients could trust pharmacists to

provide medical assistance and appropriate prescriptions into the exact opposite, a place where

patients were receiving inappropriate and medically unnecessary prescriptions and then regularly

overdosing and dying.

                        Las Cruces (Pharmacist No. 2)

               Doña Ana County, home to Las Cruces, in particular, is no stranger to drug

overdoses and drug arrests. Doña Ana County ranks 4th out of 33 counties in New Mexico for

opioid-related overdoses.

               Las Cruces is the seat of Doña Ana County. In 2017 the estimated population was

101,712, making it the second largest city in the state, after Albuquerque. Las Cruces is the

economic and geographic center of the Mesilla Valley, the agricultural region on the floodplain of

the Rio Grande.

               The County has the fourth highest number of opioid-related deaths out of 33

counties in New Mexico.275




275
   Jamie Warren, Federal grant will help Dona Ana County address opioid abuse, KVIA, (March
28, 2017), https://www.kvia.com/news/new-mexico/federal-grant-will-help-dona-ana-county-
address-opioidabuse/ 421157015.



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                  From 2014 to 2016, 104 people died from drug overdoses in Doña Ana County, for

a drug overdose mortality rate of 16 deaths per 100,000 population.276 Similarly, from 2012 to

2014, another 104 people died from drug overdoses in the County.277

                  From 2012 to 2016, the overdose death rate per 100,000 residents in the County

was 17.3 per 100,000 people.278

                  A large contributor to the epidemic in the County was Dr. Pawankumar Jain, a

notorious pill mill doctor who operated in Las Cruces, in 2016 pled guilty to prescribing painkillers

to patients—including Government Program beneficiaries—with no legitimate medical

purpose.279 Jain had been a licensed physician with a neurology subspecialty who operated a pain

management medical practice in Las Cruces. Jain’s medical license was suspended in June 2012,

and subsequently revoked in December 2012 by the New Mexico Medical Board.

                  Jain specifically admitted examining one patient on Nov. 25, 2009, who is

identified in the indictment as “M.E.B.” Jain admitted that he conducted only a superficial

examination of M.E.B. before writing M.E.B. two prescriptions for methadone that were outside



276
      County Health Rankings & Roadmap, Drug overdose deaths, 2018                               tab,
http://www.countyhealthrankings.org/app/new-mexico/2018/measure/factors/138/data.
277
      Id. at 2016 tab.
278
    NEW MEXICO DEP’T OF HEALTH, New Mexico’s Indicator-Based Information System (NM-
IBIS),
https://ibis.health.state.nm.us/community/highlight/profile/DrugOverdoseDth.Cnty/GeoCnty/13.
html.
279
   Press Release, Dist. of New Mexico U.S. Attorney’s Office, Former Dona Ana County Doctor
Sentenced to 108 Months for Conviction on Unlawful Distribution of Prescription Painkillers and
Health Care Fraud Charges (May 9, 2019), https://www.justice.gov/usao-nm/pr/former-dona-ana-
county-doctor-sentenced-108-months-conviction-unlawful-distribution.



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the usual course of medical practice and not for any legitimate medical purpose. Each prescription

was for 270 tablets of 10 mg methadone. Jain further admitted that he committed health care fraud

because he knew these unlawful prescriptions would be submitted to Medicare for payment and

that he intended for Medicare to pay for the prescriptions.280

               Jain also acknowledged that M.E.B. died two days after filling the second

methadone prescription.     According to evidence at the sentencing hearing, M.E.B. died of

respiratory depression due to the methadone Jain prescribed.

               The New Mexico Medical Board suspended Jain’s license in June 2012, and

revoked his license in December 2012. In 2011, Dr. Jain had been the top prescriber of pain

medicines in all of New Mexico, writing prescriptions for more than three million doses of

medication to more than 3,200 patients. The second-ranked prescriber was the entire staff of

residents at the University of New Mexico Hospital, which prescribed 500,000 fewer doses for

seven times as many patients.281

               As an example, for just one patient over the course of one year, Jain prescribed 960

tablets of the oxycodone 80mg (the strongest formulation of oxycodone available), 1260 tablets of

oxycodone/APAP 10/325mg, and 270 tablets of oxycodone 30mg tablets (the most commonly

abused formulation). This included individual prescriptions as high as 180 tablets of oxycodone

80mg and 270 tablets of oxycodone 30mg prescribed the same day.




280
      Id.
281
      Id.


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                 Many of Jain’s patients were Government Program beneficiaries. In fact, Jain

specifically targeted patients who were Medicare or Medicaid beneficiaries to fill his inappropriate

prescriptions.

                 Despite the insane number of opioids prescribed by Jain and the inappropriate

combinations of opioids, Walmart filled those prescriptions without hesitation.

                 The Walmart location at 1550 S. Valley Drive in Las Cruces was a prime supplier

for Dr. Jain. In fact, the Walmart store filled so many prescriptions of controlled substances as a

result of Jain’s prescribing that the store had to build an extra storeroom just to make room for all

the narcotics he was dispensing. (Pharmacist No. 2)

                 From 2006-2012, that Walmart in Las Cruces received 3,960,793 opioid pills (4th

most in Doña Ana County), for a total of 60,202,357 MME.

                 That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 261 opioid prescriptions per day.

                 Below is a table taken from the DEA’s ARCOS database summarizing its filling of

opioid prescriptions between 2006 and 2012, showing the huge spike related to prescribing of

Oxycodone in 2011 and 2012 (for those years, the Walmart in Las Cruces was a top 6% dispenser

of opioids in the entire state of New Mexico), particularly oxycodone:




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               Clearly, Walmart should have recognized that the volume of opioids as excessive

and not medically appropriate. Walmart had visibility into the amounts of opioids being dispensed

at its stores yet did nothing, continuing to fill the inappropriate prescriptions and fraudulently

billing Government Programs.

               Not only did Walmart ignore that the individual prescriptions were for

inappropriate amounts for a single individual, Walmart knew how many total opioid prescriptions

were coming from Jain across all its pharmacies and ignored the red flags of Jain’s prescribing.

                      Silver City (Pharmacist No. 2)

               Silver City is a small city with a population of just over 10,000 citizens located in

Grant County in southwest New Mexico. The Silver City website describes it as “a vibrant

community in Grant County, nestled alongside more than 3 million acres of the Gila Wilderness.

With historic ties to mining, ranching and agriculture, our community has grown into a modern

town with friendly people, growing businesses and a terrific year-round climate.” But it is also

the center for opioid abuse and addiction in southwest New Mexico.

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                 Dr. John A. Flores was a pill mill doctor who operated out of Silver City. His

medical license was revoked on May 22, 2017. Flores prescribed a significant number of opioids

to Government Program beneficiaries.282

                 Between just August 2014 and August 2015, Flores wrote prescriptions for 510,406

oxycodone units. In total in 2015, Flores prescribed 10,113 opioid contro1led substances

amounting to 36,316,511 MME to 680 patients.

                 In 2016, Dr. Flores wrote 1,281 prescriptions for opioids that were billed to

Medicare, with 38 percent of his patients being prescribed generic oxycodone. Another 13 percent

of patients were prescribed oxycodone-acetaminophen, and nine percent got OxyContin

prescriptions.

                 On several occasions, Flores placed patients on a regimen of an opioid, a

benzodiazepine, and carisoprodol—a combination of controlled substances that is known as the

“Holy Trinity” because it can cause fatal drug interactions when prescribed together.

                 In 2015 alone, Flores prescribed such high amounts and dangerous combinations

of controlled substances to four patients causing their deaths. At least one of these deaths was the

direct result of toxic effects from multiple controlled substances prescribed to the patient by Flores.

                 Flores’ numerous customers regularly filled prescriptions at Walmart pharmacies.

The Walmart pharmacy in Silver City, New Mexico, a mere five-minute drive away from Flores’

practice, was one of the top 10 dispensers of opioids by dosage units in the entire state of New

Mexico.



282
   ProPublica, Prescriber Checkup: The Doctors and Drugs in Medicare Part D,
https://projects.propublica.org/checkup/providers/1801883533.


                                                 172
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              Walmart store-level data shows the inappropriate and fraudulent dispensing at the

Silver City Walmart pharmacy. Silver City has a population of 9,647. The Silver City Walmart

dispensed 63,302,594 MME between 2006-2012. The annual average was 10,550,432 MME per

year, and the per day average was 28,905 MME.

              That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 321 opioid prescriptions per day. Below is a

table from the DEA’s ARCOS database showing the prescriptions filled at the Silver City Walmart

between 2006 and 2012.




              One former Walmart pharmacist who worked at the Silver City store between 2013

and 2014 explained that the company did not provide any training or direction on refusing to fill

prescriptions for known or suspected over-prescribers, nor did Walmart maintain any database or

list of prescribers known to be or suspected of over-prescribing or operating “pill mills.”

(Pharmacist No. 2).


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                 Specific Examples of Unlawful Dispensing Conduct: Texas

                        Walmart failed to investigate or halt dispensing of inappropriate or
                        medically unnecessary opioid prescriptions in Texas

                 Texas has not escaped the prescription opioid crisis. The use of prescription opioids

in Texas has skyrocketed. In 2014, for every 100 Texas residents, 67 opioid prescriptions were

dispensed.283 And in some Texas counties, the number of opioid prescriptions substantially exceed

the actual number of county residents.284

                 From 1999 to 2015, Texas experienced a 3.5-fold increase in the number of opioid-

related deaths.285 In 2017, the Texas legislature found that deaths resulting from the use of opioids

constitute a public health crisis and confirmed the State’s compelling interest in closely regulating

the prescribing of these drugs.286 Almost 17,000 Texans have died in opioid-involved deaths.287

The casualties continue to mount.

                 Despite having some 590 stores located all over the State of Texas, Walmart’s gross

inadequacies in the performance of its CSA due diligence obligations are underscored by the

following examples of illegal prescribing and diversion activities.

                 Upon information and belief, none of the following health care professionals (many

of whose prescriptions were filled at Walmart pharmacies), who were apprehended (and many of


283
   Div. of Unintentional Injury, Centers for Disease Control & Prevention, Opioid Overdose: U.S.
State         Prescribing          Rates,          2014         (July         31,        2017),
https://www.cdc.gov/drugoverdose/maps/rxstate2014.html.
284
      Id.
  Center for Health Statistics, Tex. Dep’t of St. Health Servs, Texas Health Data: Opioid-Related
285

Deaths in Texas, http://healthdata.dshs.texas.gov/Substance/Deaths (hereinafter Opioid-Related
Deaths in Texas).
286
      5 Tex. Occ. Code § 168.003.
287
      Opioid-Related Deaths in Texas, supra Note 259.


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them later convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Walmart despite their prescribing habits rising to a criminal level:

 Date           Name                          City                    Sentence
   9-Oct-03     Cordell Clark, MD             Dallas, TX              10 years
 19-Mar-07      Bernard Kornell, MD           Duncanville, TX         10 years
  15-Jan-08     Bruce Alexander Brown,        Frisco, TX              6 months home
                MD                                                    confinement, 3 years
                                                                      probation
    1-Jun-08    Harold Marshall, MD           Dallas, TX              10 years probation
    1-Sep-08    Michael L. Williams, MD       Palestine, TX           2 years home confinement
  18-Dec-08     Callie Herpin, MD             Houston, TX             120 months
    1-Jun-09    Kiran Sharma, MD              Webster, TX             8 years
    1-Feb-11    Arun Sharma, MD               Webster, TX             15 years
   4-May-11     Christopher L. Elder, MD      Houston, TX             15 months
     1-Jul-11   Anthony F. Valdez, MD         El Paso, TX             60 months
    1-Sep-12    Gerald Petrash, PA            Montgomery City,
                                              TX
  22-May-14 Mario Bertoni MD                  Houston, TX
  22-May-14 Melanie Mencer Parks,             Houston, TX             2 years
              MD
    16-Jul-14 Lisa Hollier, PharmD            Sunnyvale, TX           5 years
    16-Jul-14 Nicolas Alfonso Padron          Garland, TX             5 years
     1-Oct-15 Eiechi N. Oti, PA               Dallas, TX              8 years
    1-Feb-16 Sameer Andoni Fino               Murphy, TX              Plea
  31-Mar-16 Theodore Okechuku, MD             Dallas, TX              25 years
   9-May-16 John Christopher Esparza,         Granbury, TX            72 months
              PharmD
     9-Jun-16 Ronald M. Mansolo, MD           Leander, TX             plea
    1-Aug-16 Habiboola Niamatali, MD          Garland, TX             78 months
   13-Feb-17 David Devido, PharmD             Houston, TX             60 months
   13-Feb-17 Richard A. Evans, MD             Houston, TX             60 months
    3-Apr-17 Agnes Osire, PharmD              Houston, TX             45 months
    3-Apr-17 Richard Williams, MD             Houston, TX             60 months
  26-May-17 Richard Andrews, DO               McAllen, TX             8 years
  26-May-17 Muhammad Faridi, Owner            McAllen, TX             108 months
  26-May-17 Ndufola Kigham, PharmD            Desoto, TX              27 months
     9-Jun-17 Kumi Frompong, PharmD           Desoto, TX              24 months
   29-Jun-17 Waleed Khan, MD                  Rosenberg, TX
   29-Jun-17 Muhammad Arif                    Rosenberg, TX           found guilty, sentencing
                                                                      March 2020


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  30-Jun-17    Fahim Ahmed Khan, MD        Houston, TX           51 months
   25-Jul-17   Alonzo Peters, MD           Houston, TX           Life
  26-Apr-18    Jerome Pendleton, MD        Corpus Christi, TX    5 years
  9-May-18     Jorge Zamora Quezada,       McAllen, TX
               MD
   17-Jul-18   Michael Pendleton, MD       Corpus Christi, TX    5 years
  20-Sep-18    Gazelle Craig, DO           Houston, TX           420 months
  20-Sep-18    Shane Faithful, Owner       Houston, TX           420 months
    1-Oct-18   Chia Jean Lee, NP           Plano, TX             16.5 years
    1-Oct-18   Theodore W. Taylor, MD      Plano, TX             20 years
    1-Feb-19   Carlos Luis Venegas, MD     Dallas, TX            13 years
  25-Mar-19    Dennis D. Tedford, MD       Brownfield, TX        5 years
   9-May-19    Howard Gregg Diamon,        Sherman, TX           20 years
               MD
  31-May-19    Alfonso Luevano, MD         Carrizo Springs, TX
  31-May-19    Ofelia Martinez, Employee   Carrizo Springs, TX
  28-Aug-19    Manuel Bobmanuel,           Sugar Land, TX
               PharmD
  28-Aug-19    Ardella Fisher, NP          Tomball, TX
  28-Aug-19    Amish Kordia, PharmD        Pearland, TX
  28-Aug-19    Samson Alazar, PharmD       Missouri City, TX
  28-Aug-19    Kesha Lynette Harris,       Houston, TX
               PharmD
  28-Aug-19    Laurel Osazuwa, Owner       Houston, TX
  28-Aug-19    Barbara Marino, MD          Tomball, TX
  28-Aug-19    Bobby Hobbs, MD             Houston, TX
  28-Aug-19    James John Jackson, MD      Houston, TX
  28-Aug-19    Kondre Graves, Owner        Houston, TX
  28-Aug-19    Brandy LaDawan Fears,       Houston, TX
               Owner
  28-Aug-19    Arthur Billings, Owner      Missouri City, TX
  28-Aug-19    Frank Cooper, PharmD        Houston, TX
   23-Oct-19   James Stocks, MD            Tyler, TX             license suspended
   23-Oct-19   David Shafer, MD            Whitehouse, TX        license suspended
   4-Nov-19    Hussamaddin Al-Khadour,     Montgomery
               MD                          County, TX
   4-Nov-19    Miguel Flores, MD           Montgomery
                                           County, TX
   4-Nov-19 Emad Mikhail Bishai, MD        Montgomery
                                           County, TX
   4-Nov-19 Fadi Ghanem, MD                Montgomery
                                           County, TX


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                        Carrollton, Texas (Pharmacist No. 4)

                 One former Walmart clinical pharmacist (Pharmacist No. 4) who worked at its huge

mail pharmacy in Carrollton, Texas from February 2015 to January 2018 (whose job it was to

perform medication therapy reviews for patients around the U.S.) explained how little Walmart

was doing to fulfill its obligations to control inappropriate prescribing.

                 His job was to speak with patients around the country and review the patient’s

medication list to determine whether it reflected an accurate record. He frequently dealt with

patients receiving drugs as beneficiaries of Government Programs and counseled them on potential

issues with their taking opioids. Despite the fact that nearly every patient he talked with appeared

to be taking too many opioids, Walmart provided no training on what to do when confronted with

a provider suspected of dispensing or a patient suspected of taking opioids too frequently.

                 This former employee estimated that at least once a week he encountered situations

with patients where he suspected provider fraud, but he was told by Walmart management “not to

address that.”

                 Even though he felt they should be reporting these instances of fraud to the DEA,

Walmart’s policy was to require his team to report such cases only internally because they were to

“let corporate deal with it.”

                 Even though he reported these cases at least once a week, he was quite certain his

reports never went beyond that, nor did he ever receive any reports back about any actions taken

by Walmart.




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               He also explained that bonus payments for Walmart pharmacists were based on

performance metrics, including how many prescriptions were filled, and how many drugs you

“push out the door,” not whether they complied with the law. (Pharmacist No. 4).

               Specific Examples of Unlawful Dispensing Conduct: Virginia

                       Walmart failed to investigate or halt dispensing of inappropriate or
                       medically unnecessary opioid prescriptions in Virginia

               Between 2007 and 2019, 5,410 Virginians have fatally overdosed on prescription

opioids.288 In 2017, 507 deaths in Virginia were attributable to prescription opioids (excluding

fentanyl), more than in any other year.289

               Even when opioid users do not die from an overdose, they may require significant

medical intervention and incur health care costs. One such cost is the immediate administration of

Narcan (a brand of naloxone), which counteracts the effects of an overdose. Virginia reported

4,076 administrations of Narcan in 2016.290

               Despite having 150 stores located all over the Commonwealth of Virginia,

Walmart’s gross inadequacies under the CSA in its obligations to investigate or halt dispensing of

inappropriate or medically unnecessary opioid prescriptions are underscored by the following

examples of illegal prescribing and diversion activities in Virginia.




288
    Va. Dep’t of Health, Number and Rate of All Fatal Prescription Opioid (Excluding Fentanyl)
Overdoses      by     Locality   of    Injury     and    Year      of    Death,    2007-2019,
http://www.vdh.virginia.gov/content/uploads/sites/18/2019/07/Prescription-Opioids-Ex-
Fentanyl.xlsx.
289
      Id.
290
        Va.    Dep’t      of     Health,     Virginia        Opioid       Addiction    Indicators,
http://www.vdh.virginia.gov/data/opioid-overdose/


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               Not only did Walmart not conduct adequate investigations, it knowingly and

intentionally failed to report or halt inappropriate or medically unnecessary prescriptions. Indeed,

none of the following health care professionals (many of whose prescriptions were filled at

Walmart pharmacies), who were apprehended (and many of them later convicted) as a result of a

DEA or local law enforcement investigation, were identified, investigated, or blocked by Walmart

despite their prescribing habits rising to a criminal level:

 Date           Name                           City                   Sentence
 27-Nov-01      Franklin Sutherland, MD        Grundy, VA             70 months
 15-Nov-02      Freeman Clark, MD              Bland County, VA       6 years
   13-Jul-07    William Hurwitz, MD            McLean, VA             5 years
 18-Nov-08      Ehteshaumul Hague, MD          Norfolk, VA            Plea
   1-Aug-09     James Stanley Ross             Clarksville, VA        19 months
  15-Oct-09     Sidney S. Loxley, MD           Chesapeake, VA         77 months (deceased)
   9-Nov-12     Paul Boccone, Owner            Chantilly, VA          15 years
   9-Nov-12     Charles Brown, CFNP            Chantilly, VA          5 years
   1-Feb-13     Linda Sue Cheek, MD            Dublin, VA             33 months
  25-Apr-13     Larren Wade, MD                Alexandria, VA         70 months
   1-Aug-14     Derron McRae Simon, MD         Arlington, VA          15 years
   1-Sep-14     Steven Collins, MD             Roanoke County,        10 years
                                               VA
  23-Oct-14     Robin Anne Krohn, Patient      Stafford, VA           143 months
   26-Jun-15    Nibedita Mohanty, MD           Stafford, VA           4 years
  23-Mar-16     Gloria Faye Kennedy, FNP       Richlands, VA          46 months
    1-Feb-17    Heatwole Stanley, MD           Lexington, VA          3 year probation
    1-Feb-17    Stanley Elmer Heatwole,        Staunton, VA           3 years probation
                MD
  11-Aug-17     Clarence Scranage, MD          Fredericksburg, VA
  15-Dec-17     Felix Eugene Shepard, MD       Norton, VA             6 months
  19-Mar-18     Gurcharan Kanwal               Wise, VA               2 years probation
   7-Feb-19     Dwight Bailey, MD              Lebanon, VA            151 months
  13-Feb-19     Frank Craig Purpera,           Blacksburg, VA         20 months
  26-Apr-19     Shriharsh L. Pole, MD          Woodbridge, VA         7 years
   19-Jul-19    Una Fage Ford                  Appalachia, VA
   19-Jul-19    Michael B. Ford                Appalachia, VA
  23-Sep-19     Dr. Vincent K. Jones           Martinsville, VA       Indicted (deceased)
    2-Oct-19    Joel Adams Smithers, MD        Martinsburg, WV        40 years


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                        Winchester, Virginia (Pharmacist No. 3)

                 According to the town website, Winchester, Virginia has long been known as the

“Apple Capital” surrounded as it is by vast orchards and constituting one of the largest apple export

markets of the nation.291 Its agricultural heritage belies the more sinister impact the opioid

epidemic has had on the city. Winchester is a small city of less than 28,000 people that has suffered

particularly from the opioid epidemic ravaging the United States.

                 In Virginia, fatal drug overdoses are the leading cause of unnatural death, and have

been since 2013. In Winchester and its five surrounding counties, opioids killed 40 people in 2017;

as of June 2018, they had already killed 13 people.292

                 Winchester City Police Chief Kevin Sauzenbacher explained that “[w]e are on what

is known as the Heroin Highway.” The area surrounding Winchester faced a jump of one fatal

opioids overdose in 2012 to 33 deaths in 2014. “You can see the chart rise in the number of kids

in foster care almost directly correlated with the number of deaths we've had from heroin

overdoses,” explained the chief.293

                 Newborn babies of opioid addicted mothers in Winchester were also falling victim

to the heroin epidemic. “We typically will have somewhere between three and five babies in the



291
      Discover Winchester Virginia, About the Area; https://visitwinchesterva.com/about-the-area/.
292
   Annabelle Timsit, One city has created a blueprint for tackling the opioid epidemic, Quartz
(October 21, 2018), https://qz.com/1429001/the-opioid-epidemic-is-tearing-communities-apart-
heres-how-one-city-came-together-to-fight-it/.
293
   Jeniffer Donelan and Dwayne Myers, Heroin Highway: Part 3 - Virginia, A Commonwealth
in Crisis, ABC 7-WJLA (Feb. 17, 2016), https://wjla.com/features/hooked-on-heroin/heroin-
highway-part-three-virginia-a-commonwealth-in-crisis.



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NICU on a daily basis that are being treated for withdrawal,” said Dr. Teresa Clawson, a

neonatologist with Mednex, Winchester Medical Center.294

              Contributing to the torrent of opioids that has been overwhelming Winchester has

been the Walmart pharmacy at 501 Walmart Drive, which from 2006 to 2012 dispensed some

3,181,261 doses of opioids or 31,221,050 MME, the largest number of opioids dispensed by any

pharmacy in Frederick County, Virginia.

              That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 135 opioid prescriptions per day. Below is a

table taken from the DEA’s ARCOS database graphically illustrating the glut of opioids that came

through this Walmart during this time:




294
      Id.


                                              181
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               A former pharmacist who worked at this Walmart pharmacy from 2012 to 2013

(Pharmacist No. 3) recalled that the Walmart store in Winchester was located next to Interstate 81,

the “Heroin Highway.”

               The Heroin Highway runs from Baltimore, Maryland to Winchester, Virginia,

Interstate 70 and Interstate 81 weave through (and near) towns like Frederick, Maryland,

Hagerstown, Maryland, Charles Town, West Virginia, Martinsburg, West Virginia, Luray,

Virginia, and Winchester, Virginia. This strip of roadway has become sorrowfully known as the

“Heroin Highway” due to the high trafficking of the substance through these once unsuspecting

towns. But it was prescription opioids (much of it dispensed at Walmart pharmacies which dotted

the landscape) that ignited the conflagration along the Heroin Highway.

               Despite this reputation, Walmart did nothing to ensure appropriate and/or medically

necessary scripts were being filled, nor did it provide its pharmacy staff with corporate training on

warning signs to help identify fraudulent prescriptions or patients. Instead its corporate training

regimen for pharmacy staff focused on other policies and procedures, such as how to handle

hazardous materials.

                       Luray, Virginia (Pharmacist No. 3)

               A former Walmart pharmacist (Pharmacist No. 3) who worked as a floater at the

Walmart store at 1036 U.S. Hwy 211 West, Luray, which was located just east of I-81, the Heroin

Highway, described that this pharmacy “was filling crazy amounts of opioids.” He worked as a

floater there about 20 times and always dreaded it because it was such a high-volume and hectic

store.

               He recalled the store filled close to 1,000 prescriptions a day. At least half, or

perhaps up to 75 percent, was in Schedule 2 drugs and the “vast majority” of those were opioids,

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particularly oxycodone. “It would be an assembly line of Schedule 2s,” he said. “That area stuck

out in my mind as a real high-volume area for that.”

               The Luray Walmart pharmacy has been a major contributor to the flow of opioids

that has been devastating the area. The Luray Walmart pharmacy from 2006 to 2012 dispensed

some 2,520,025 doses of opioids or 21,381,326 MME.

               That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 92 opioid prescriptions per day. Below is a table

taken from the DEA’s ARCOS database depicting the glut of opioids dispensed at this Walmart

which saturated the Luray area:




               From his pharmacist’s post, Pharmacist No. 3 could look out and see the line of

people waiting to fill their prescriptions at the Luray Walmart store. He half-jokingly remembered

seeing someone in line and a half-hour later seeing the same person at the same spot in line.



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               Because he was a floater, he relied on full-time staff and management to determine

policy and protocol for filling these prescriptions. At the Luray store, “their thing was, if they’ve

filled here before, go ahead and fill it. If it’s new, then verify it. Otherwise, keep the assembly line

going.”

               This assembly-line attitude meant that as long as one prescription had been filled

previously, subsequent prescriptions would receive little to no scrutiny – an enormous loophole of

which unscrupulous customers took full advantage. In fact, there was an unwritten policy at the

Luray Walmart that pharmacists were not supposed to check the Virginia PMP database. If the

PMP was routinely checked it would mean that fewer prescriptions would be filled because of the

time it took to check the database, but also because the PMP would reveal large numbers of

suspicious or inappropriate prescriptions.

               This protocol was communicated by word of mouth, usually during an overlapping

time at the end of one pharmacist’s shift and the beginning of another’s. He believes word got out

among addicts and opioid abusers about the lenient practices at the store, which only increased the

intensity of the traffic in opioids. It was a common sight to see lines that snaked through the entire

pharmacy area and spilled out into the rest of the retail store area.

               Many of the customers of the worst Walmart pharmacies paid for their prescriptions

through Government Programs. Pharmacist No. 3 estimated that nearly 50% of the opioid

prescriptions filled at the Luray store were paid for by Government Programs. At the other

locations, the percentage of customers paying with Government Programs varied between 25%

and 50%.




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                  At the Luray store especially, but also at the other Walmart stores where he worked,

the company did not hire enough staff to deal with the prescription volume. A typical Sunday shift

would be a pharmacist and an intern, not even a technician.

                  When he complained about staffing, management replied that if volume at the store

increased, then staffing would be increased. Staffing was based on volume of prescriptions, which

he thought was unrealistic. “You want us to double that (volume) just to get one more person in

here?” he said.

                  There was also regular pressure from management and corporate staff to increase

sales and grow volume. That made it difficult to make even a cursory evaluation of opioids

prescriptions or to check the state prescription monitoring programs. “It was just a ‘keep it rolling’

kind of thing,” he said of the pharmacy environment.

                  Specific Examples of Unlawful Dispensing Conduct: West Virginia

                         Walmart failed to investigate or halt dispensing of inappropriate or
                         medically unnecessary opioid prescriptions in West Virginia

                  Opioid abuse and trafficking in West Virginia is widespread. The state has one of

the highest prescription rates for opioids in the United States. Statistics show that illicit

pharmaceutical drug use contributed to approximately 61 percent of state overdose deaths in

2015.295 The extraordinarily high abuse rate of opioids is attributed in part to the large number of

jobs in heavy manual labor such as mining, timbering, and manufacturing. These professions often




295
   DEA Intelligence Report, The West Virginia Drug Situation, DEA-WAS-DIR-024-17 (May
2017),                  https://www.dea.gov/sites/default/files/2018-07/DEA-WAS-DIR-024-
17%20West%20Virginia%20Drug%20Situation%20-UNCLASSIFIED.pdf



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cause injuries to workers that are treated with opioid pain relievers, which in turn can lead to

addiction.296

                Opioid abusers and traffickers in West Virginia obtain the drugs from either

licensed providers or out-of-state drug traffickers who have expanded into West Virginia. In some

instances, doctors and other health care providers, acting outside medical guidelines, write

prescriptions for prescription opioids without a legitimate need on the part of the “patient.” In other

cases, the prescriptions are written by doctors in good faith, for unsuspected “doctor shoppers”

who are providing for their own addictions, supplying pills to dealers, or both.

                Despite having some 43 stores located all over the State of West Virginia,

Walmart’s gross inadequacies in the performance of its CSA due diligence obligations are

underscored by the following examples of illegal prescribing and diversion activities.

                Upon information and belief, none of the following health care professionals (many

of whose prescriptions were filled at Walmart stores), who were apprehended (and many later

convicted) as a result of a DEA or local law enforcement investigation, were identified,

investigated, or blocked by Walmart despite their prescribing habits rising to a criminal level:

 Date          Name                            Location                 Sentence
 24-Mar-06     Louis Ortenzio, MD              Blacksville, WV          6 months home detention
  1-Mar-07     Breton Lee Morgan, MD           Point Pleasant, WV       30 days
  1-Mar-08     Robert J Crake, DO              Wheeling, WV             36 months probation
   7-Jul-08    Robert Allara, MD               Charleston, WV           5 months
  1-Aug-09     Danny Ray Wills, MD             Princeton, WV            6 months
  1-Mar-12     William F Ryckman, MD           Williamson, WV           6 months
               and owner
      7-Jan-13 Anita Dawson, DO                Milton, WV               2 years


296
   David Gutman, How did West Virginia come to lead the nation in overdoses?, Charleston
Gazette-Mail; (October 17, 2015), https://www.wvgazettemail.com/news/health/how-did-wv-
come-to-lead-the-nation-in-overdoses/article_60c46a00-eec5-5c42-b6b0-2050439074f5.html.


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    1-Mar-13 Myra Sue Miller, Office    Williamson, WV      6 months
              Manager
    3-Sep-13 Fernando Gonzales-         Logan City, WV      5 years 11 months
              Ramos, MD
   12-Sep-14 Mario Blount, PharmD       Bridgeport, WV      3 years
    1-Oct-14 Hogan, Robert Timothy II   Wood City, WV       48 months
              Doctor and owner
  12-May-15 Edita Milan, MD             Harrison City, WV   5 years 11 months
     1-Jan-16 Jose Jorge Abbud          Glen Daniel, WV     8 years
              Gordinho, MD
   28-Jun-16 Tressie Duffy, MD          Martinsburg, WV     1 year and 1 day
     8-Jul-16 Iraj Derakhshan, MD       Charleston, WV      probation, home
                                                            confinement
    3-Apr-17 Donald Chaney, MD          Barboursville, WV   6 months
  23-Aug-17 Michael Kostenko, DO        Daniels, WV         20 years
  21-May-18 Manuel Barit, MD            Mullens, WV         Restitution
   1-Nov-18 Roland Chalifoux, DO        McMechen, WV        Restitution and
                                                            supervision
  29-Nov-18 Teresa Emerson              Beckley, WV         3 years probation
   10-Jan-19 John Pellegrini, DO        Beckley, WV         87 months
    1-Apr-19 David M Wasanyi,           Martinsburg, WV     3 years 11months
             Pharmacist
   30-Apr-19 George P. Naum, MD         Wheeling, WV        6 months
  29-May-19 Chad Poage                  Morgantown, WV      5 years probation
    8-Aug-19 James H Blume, DO          Beckley, WV
  24-Aug-19 Muhammed Samer Nasher-      Charleston, WV
             Alneam, MD
  28-Aug-19 Michael T. Moran, MD        Beckley, WV
  28-Aug-19 Sanjay Mehta, DO            Beckley, WV
  28-Aug-19 Brian Gullett, DO           Beckley, WV
  28-Aug-19 Vernon Stanley, MD          Beckley, WV
  28-Aug-19 Mark Clarkson, DO           Beckley, WV
  28-Aug-19 William Earley, DO          Beckley, WV         Pled Guilty (sentencing
                                                            May 11, 2020)
  28-Aug-19 Paul W. Burke, MD           Beckley, WV         Pled Guilty
  28-Aug-19 Roswell Tempest Lowry,      Beckley, WV         Pled Guilty (sentencing
            MD                                              May 4, 2020)
   3-Sep-19 Mark J. Spelar, MD          Huntington, WV      Pled Guilty; License
                                                            revoked
  24-Sep-19 Michael Shramowiat, MD      Vienna, WV
  24-Sep-19 Ricky Houdersheldt, MD      Ona, WV
  24-Sep-19 Seraglio Kari, MD           Charleston, WV


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  17-Dec-19 Jeffery Addison, MD                Charleston, WV           18 months


                       Charles Town, West Virginia (Pharmacist No. 3)

                Opioid abuse and trafficking in West Virginia is widespread. The state has one of

the highest prescription rates for opioids in the United States. Statistics show that illicit

pharmaceutical drug use contributed to approximately 61 percent of state overdose deaths in

2015.297 The extraordinarily high abuse rate of opioids is attributed in part to the large number of

jobs in heavy manual labor such as mining, timbering, and manufacturing. These professions often

cause injuries to workers that are treated with opioid pain relievers, which in turn can lead to

addiction.298

                Opioid abusers and traffickers in West Virginia obtain the drugs from either

licensed providers or out-of-state drug traffickers who have expanded into West Virginia. In some

instances, doctors and other health care providers, acting outside medical guidelines, write

prescriptions for prescription opioids without a legitimate need on the part of the “patient.” In other

cases, the prescriptions are written by doctors in good faith, for unsuspected “doctor shoppers”

who are providing for their own addictions, supplying pills to dealers, or both.

                Charles Town is located in Jefferson County. Jefferson County Attorney Matt

Harvey recently requested the West Virginia governor declare a “state of emergency” to provide

the Eastern Panhandle with the resources needed to fight the opioid crisis. “We are losing a


297
   Drug Enforcement Agency Intelligence Report, The West Virginia Drug Situation, 2 (May
2017),                 https://www.dea.gov/sites/default/files/2018-07/DEA-WAS-DIR-024-
17%20West%20Virginia%20Drug%20Situation%20-UNCLASSIFIED.pdf.
298
   David Gutman, How did WV come to lead the nation in overdoses?, Charleston Gazette-Mail;
(October 17, 2015), https://www.wvgazettemail.com/news/health/how-did-wv-come-to-lead-the-
nation-in-overdoses/article_60c46a00-eec5-5c42-b6b0-2050439074f5.html.


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generation of people to opioid addiction,” Harvey said in a letter to the governor. “Our local

police, firefighters, EMS and my office are committing all our resources to fighting back, but we

need help,” he said. Harvey cited state figures that were released in January that show 23 people

died in Jefferson County due to an overdose in 2016, and 21 of those deaths involved at least one

opioid.299

               On April 17, 2018, the Charles Town City Council unanimously passed a

Resolution declaring a public nuisance related to the opioids epidemic, stating (in part): “The

dumping of millions of pain pills into our state and community has spawned a public health and

safety hazard to the residents of the City of Charles Town, devastated our families, hurt our

economy, wasted our public resources, and created a generation of narcotic dependence.”300 The

Resolution also stated that “the data collected from the City’s Police CAD system from September

2014 to March 2018 reveal that, over the past several months, the Police Department responded to

56 overdoses and the overwhelming majority of overdoses were directly tied to heroin followed

by prescription pills. Of the 56 reported overdoses, 11 were fatal and 45 survived.”301

               Contributing to the flood of opioids that has been drowning Charles Town was the

Walmart pharmacy at 188 Flowing Springs Rd., which from 2006 to 2012 dispensed some

2,626,500 doses of opioids or 21,159,486 MME.




299
   Matthew Umstead, Prosecutor: W.Va. needs to declare opioid emergency, HeraldMedia.com
(March 17, 2017), https://www.heraldmailmedia.com/news/tri_state/west_virginia/prosecutor-w-
va-needs-to-declare-opioid-emergency/article_b8280ba8-0b63-11e7-9ed9-577186995115.html.
300
   The City of Charles Town, West Virginia Resolution on the Opioid Epidemic: Resolution No.
2018-002 (April 18, 2018).
301
      Id.


                                               189
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               That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 92 opioid prescriptions per day every day for

seven years. Below is a table taken from the DEA’s ARCOS database graphically illustrating the

glut of opioids that came through the Flowing Springs Walmart during this time:




               According to a former pharmacist who worked at the Flowing Springs Walmart

(Pharmacist No. 3), he was not aware of any database that Walmart created or maintained

concerning potentially inappropriate prescriptions. Nor did Walmart maintain a database or list of

potential pill mill doctors. Occasionally, but rarely, pharmacy staff would receive an email about

a suspected pill mill doctor or questionable prescriber.

                       Martinsburg, West Virginia (Pharmacist No. 3)

               West Virginia has the highest overdose death rate in the country. Opioids have

devastated the state’s Eastern Panhandle, which includes the town Martinsburg, the county seat



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for Berkeley County. Like nearly all of the residents there, the majority of the addicts are white,

were born in the area, and have modest incomes.302

               In Berkeley County, which has a population of 114,000, when someone under sixty

dies, and the cause of death is not mentioned in the paper, locals assume that it was an opioids

overdose. It has become the default explanation when an ambulance stops outside a neighbor’s

house, and the best guess for why someone is sitting in his car on the side of the road in the middle

of the afternoon.303

               One well known pill mill doctor, Dr. Tressie Duffy, M.D., ran a wellness clinic in

Martinsburg. A grand jury in U.S. District Court in Martinsburg indicted Dr. Duffy on 100 felony

counts of aiding and abetting the distribution of four controlled substances from April 2010 to

February 2012. Duffy was accused of signing blank prescription orders, then allowing employees

to issue 157 of them to 96 patients without being seen by a physician. The substances involved

were oxycodone, oxymorphone, methadone, and methylphenidate, a drug used to treat attention

deficit-hyperactivity disorder.304 In 2016, she was sentenced to a year in federal prison, was

ordered to give up her West Virginia medical license, and was barred from ever applying for

another license anywhere in the United States.305


302
     Margaret Talbot, The Addicts Next Door, The New Yorker (May 29, 2017),
https://www.newyorker.com/magazine/2017/06/05/the-addicts-next-door.
303
      Id.
304
    John Raby, Martinsburg doctor accused of illegal pill prescriptions, Times West Virginian
(Sept. 18, 2014), https://www.timeswv.com/news/west_virginia/martinsburg-doctor-accused-of-
illegal-pill-prescriptions/article_9d9754ce-3ef1-11e4-a376-631dcf004465.html.
305
    Joel Ebert, Martinsburg doctor faces prison time after pleading guilty to drug charges,
Charleston              Gazette-Mail              (Dec.             23,              2015),
https://www.wvgazettemail.com/news/cops_and_courts/martinsburg-doctor-faces-prison-time-


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               The Walmart pharmacy at 800 Fox Croft Ave. has been a major contributor to the

flow of opioids that has been devastating Martinsburg. Located mere yards from I-81, the store

saw immense prescription volume. Often the store filled more than 1,000 prescriptions per day,

with around 30% being for controlled substances.

               Despite the immense prescription volume, Walmart did not adequately staff the

pharmacy. Often there was only one pharmacist and two pharmacy technicians to handle all of the

volume. This forced the pharmacists to spend less time doing their due diligence on prescriptions

than they should have been. This was especially true for dispensing controlled substances – there

simply was not enough time to do all of steps necessary. (Pharmacist No. 3)

               For example, only pharmacists are allowed to get the CIIs (which includes nearly

all the opioids) from the control cabinet, count the pills, print the label, enter the information into

the perpetual inventory system, and dispense the drugs. This means that the pharmacy technicians

were not able to relieve the crush of the volume when it came to dispensing CII controlled

substances.

               As with all the high-volume Walmart stores, the inadequate staffing meant that

instead of having around 15 minutes or more to properly vet controlled substance prescriptions,

Walmart pharmacists typically had less than five minutes.

               The Fox Croft Walmart pharmacy from 2006 to 2012 dispensed some 3,911,990

doses of opioids or 43,919,216 MME.




after-pleading-guilty-to-drug/article_d21dbe9f-8189-5ee0-9971-e7dc8ada140a.html.



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               That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 190 opioid prescriptions per day every day for

seven years. Below is a table taken from the DEA’s ARCOS database depicting the glut of opioids

dispensed at this Walmart which saturated Martinsburg:




               One former pharmacist who worked at the Fox Croft Walmart (Pharmacist No. 3)

recalled that, despite the epidemic of opioids overwhelming the area surrounding Martinsburg,

“[t]here was nothing specific [provided by Walmart] about being on the lookout for opioid addicts

or anything like that,” he said. That type of information was passed on only by word of mouth

between the pharmacists and the technicians, and the level of information varied from store to store

and usually depended on who the pharmacist in charge was.




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               Another topic of discussion among the pharmacists was the nickname for the cluster

of pharmacies in the area: “the Devil’s Triangle.” The pharmacists gave this moniker to the area

because of the high rates of addicts and pill pushers that frequented the surrounding pharmacies.

               Despite these half-hearted attempts from Walmart’s corporate office, Walmart still

dispensed inappropriate prescriptions. In one instance, a pharmacist denied a patient who had

identical prescriptions for both oxycodone and Xanax (a potentially deadly combination) from

multiple doctors. But a few days later, a different customer came in with the very same prescription

for both oxycodone and Xanax. Because the patient had a matching ID to the prescription and did

not have multiple prescriptions, the pharmacist dispensed the medication. Subsequently, the

pharmacist then saw the patient walk out and hand the prescription directly to the same woman

whose prescription he had denied to fill earlier.

               While this former employee assumed that this information was passed up the chain

to corporate management but “what they ended up doing with it, I’m not sure.”

               For 2006 and 2007, the Walmart at 800 Fox Croft Ave. had been in the top 5% of

all pharmacies in the state of West Virginia in MME dispensed.

               Instead of cracking down on the inappropriate dispensing in the “Devil’s Triangle”

Walmart chose to exploit it. Eventually the high volume of prescriptions at the Fox Croft Walmart

induced Walmart to open a second Walmart with a pharmacy up the road in Martinsburg. The new

Walmart at 580 Hammonds Mill Road in Martinsburg was under 9 miles away, and it too was

mere yards from the Heroin Highway, I-81. Walmart had no qualms about opening the new store

despite the notorious reputation of the area as the Heroin Highway and the extremely high

dispensing of opioids at its other location just down the road.



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               As a result of the Hammonds Mill store opening, in 2008 the Fox Croft store

dropped to top 8% in all of West Virginia in MME dispensed.

               The Hammonds Mill Walmart pharmacy from 2008 to 2012 dispensed some

1,114,290 doses of opioids or 10,152,671 MME.

               That means that at the highest bounds of the recommended MME per day (90

MME/day) the store was supplying an average of 44 opioid prescriptions per day.

               From 2008-2012, the two Walmart pharmacies in Martinsburg, both right next to

I-81 and a mere 9 miles apart, dispensed a total of 38,084,817 MME (27,932,145 at the Fox Croft

store and 10,152,672 MME at the Hammonds Mill store).

               That means that at the highest bounds of the recommended MME per day (90

MME/day) the stores were supplying an average of 231 opioid prescriptions per day.

               The Hammonds Mill store also suffered from the same lack of training and short

staffing issues as the other Walmart stores, causing its pharmacists to not properly vet controlled

substance prescriptions.

VIII. INJURY TO GOVERNMENT PROGRAMS RESULTING FROM WALMART’S
      ACTIONS

               Walmart is a registered pharmacy which owned, operated, and was in charge of

DEA-registered pharmacies throughout the U.S., and (a) knowingly or recklessly dispensed

controlled substances without a valid prescription in violation of 21 U.S.C. § 842(a)(1); and (b)

knowingly and intentionally dispensed controlled substances outside the usual course of the

professional practice of pharmacy, in violation of 21 U.S.C.§ 841(a) and corresponding state

statutes.




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                Walmart repeatedly failed to exercise its corresponding responsibility as a DEA

registrant to ensure that controlled substances were dispensed only pursuant to prescriptions issued

for legitimate medical purposes by practitioners acting within the usual course of their professional

practice. Walmart knowingly and/or recklessly ignored readily identifiable red flags that the

controlled substances prescribed were being diverted, abused, or otherwise were not for legitimate

medical purposes and dispensed these prescriptions despite unresolved red flags.

                Walmart’s pharmacists dispensed controlled substances when they knew or should

have known that the prescriptions were not issued in the usual course of professional practice or

for a legitimate medical purpose, including circumstances when its pharmacists knew or should

have known that the controlled substances were abused and/or diverted by the customer.

                Moreover, even in instances in which a prescriber told a Walmart pharmacist that

a suspicious prescription had been issued for a legitimate medical purpose, Walmart willfully

ignored its independent, legally-mandated duty to examine the other, often glaring, evidence that

the prescription had, in fact, not been issued for a legitimate medical purpose or that the prescriber

had acted outside of the usual course of his or her professional practice and dispensed the

prescription.

                Despite the fact that Walmart knew, or had reason to know, from its own robust

data collection databases and from red flags, including the sheer volume of opioid drugs being

dispensed at numerous of its pharmacies, that many hundreds of thousands of prescriptions were

not valid, it nonetheless failed to use its own readily-available and extensive information and

resources from its own data bases to fulfill its obligations under the CSA and ensure that the

prescriptions it dispensed were issued for legitimate medical purposes by practitioners acting

within the usual course of their professional practice.

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               Walmart knew, or had reason to know, the prescriptions were not valid and not only

dispensed those prescriptions, but also failed to notify any authority of these issues. Instead,

Walmart committed affirmative acts to conceal the ongoing and rampant fraud under way, such as

by its continued filling inappropriate and medically unnecessary prescriptions for opioids. By

filling these prescriptions while the fraud was ongoing, Walmart dispensed many hundreds of

thousands of opioid pills based on illegitimate and/or medically unnecessary prescriptions.

               Government Programs have been damaged by Walmart’s unfair, false, misleading,

or deceptive acts or practices in the conduct of the pharmaceutical business by failing to

investigate, report, and cease fulfilling suspicious, inappropriate, and/or medically unnecessary

prescriptions of controlled substances in its pharmacies.

               Government Programs have been damaged by Walmart’s negligent and/or

intentional and reckless actions by its failing to investigate, report, and halt suspicious,

inappropriate, or medically unnecessary prescriptions of controlled substances dispensed at its

pharmacies.

IX.    CAUSES OF ACTION



      (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1); 31 U.S.C. § 3729(a)(1)(A))

               The United States incorporates herein by reference the preceding paragraphs of the

First Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to the




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United States of America false or fraudulent claims for payment or approval of Opioids, in

violation of 31 U.S.C. § 3729(a)(1) and 31 U.S.C. § 3729(a)(1)(A).

               Because of Defendant’s actions, the United States of America has been, and

continues to be, severely damaged.



      (Violation of False Claims Act, 31 U.S.C. § 3729(a)(2); 31 U.S.C. § 3729(a)(1)(B))

               Relators incorporate herein by reference the preceding paragraphs of the First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using or causing to be made or used,

false records or statements material to the payment of false or fraudulent claims, in violation of 31

U.S.C. § 3729(a)(2)and 31 U.S.C. § 3729(a)(1)(B).

               The United States of America, unaware of the falsity of the claims and/or

statements made by Defendant, and in reliance on the accuracy of these claims and/or statements,

paid and may continue to be paying or reimbursing for Opioids prescribed to patients enrolled in

Federal Programs.

               Because of Defendant’s actions, the United States of America has been, and

continues to be, severely damaged.



      (Violation of False Claims Act, 31 U.S.C. § 3729(a)(3); 31 U.S.C. § 3729(a)(1)(C))

               Relators incorporate herein by reference the preceding paragraphs of the First

Amended Complaint as though fully set forth herein.

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               Defendant knowingly conspired, and may still be conspiring, with the various

health care professionals identified and alleged herein (as well as other unnamed co-conspirators)

to commit acts in violation of 31 U.S.C. § 3729(a)(1) & (a)(2), and 31 U.S.C. § 3729(a)(1)(A) &

(a)(1)(B). Defendant and these health care professionals committed overt acts in furtherance of

the conspiracy as alleged above.

               Because of Defendant’s actions, the United States of America has been, and may

continue to be, severely damaged.



     (Violation of False Claims Act, 31 U.S.C. § 3729(a)(7); 31 U.S.C. § 3729(a)(1)(G))

               Relators incorporate herein by reference the preceding paragraphs of the First

Amended Complaint as though fully set forth herein.

               Walmart knowingly avoided or decreased its obligation to pay or transmit money

to the Government. Specifically, Walmart: (i) made, used, or caused to made or used, a record or

statement to conceal, avoid, or decrease an obligation to the United States; (ii) the records or

statements were in fact false; and (iii) Walmart knew that the records or statements were false.

               Because of Defendant’s actions, the United States of America has been, and may

continue to be, severely damaged.



                           (Violation of California False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

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presented or caused to be presented, and may still be presenting or causing to be presented false or

fraudulent claims for payment or approval in violation of Cal. Gov’t Code § 12651(a)(1).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to false or fraudulent claims, in violation of Cal. Gov’t Code

§ 12651(a)(2).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid or decrease an obligation to pay or transmit money to

the State of California or its political subdivisions in violation of Cal. Gov’t Code § 12651(a)(7).

                 The State of California, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state and

state subdivision funded health insurance programs.

                 Because of Defendant’s actions, the State of California, including its political

subdivisions, has been, and may continue to be, severely damaged.



                        (Violation of Colorado Medicaid False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.



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                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented, or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Colorado, or its political subdivisions, false or fraudulent claims

for payment or approval, in violation of Colo. Rev. Stat. § 25.5-4-305(a).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to false or fraudulent claims, in violation of Colo. Rev. Stat. §

25.5-4-305(b).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Colorado, or its political subdivisions, in violation of Colo. Rev. Stat. § 25.5-4-

305(f).

                 The State of Colorado, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state and

state subdivision funded health insurance programs.

                 Because of Defendant’s actions, the State of Colorado and/or its political

subdivisions have been, and may continue to be, severely damaged.



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       (Violation of Connecticut False Claims Act for Medical Assistance Programs)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, presented, or

caused to be presented to, and may still be presenting or causing to be presented to, an officer or

employee of the State of Connecticut or its political subdivisions false or fraudulent claims for

payment, in violation of Conn. Gen. Stat. § 4-275(a)(1).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to get false or fraudulent claims paid in violation of Conn. Gen. Stat. §

4-275(a)(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Connecticut or its political subdivisions in violation of Conn. Gen. Stat. § 4-

275(a)(7).

               The State of Connecticut, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or



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statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state and

state subdivision funded health insurance programs.

               Because of Defendant’s actions, the State of Connecticut and/or its political

subdivisions have been, and may continue to be, severely damaged.



                   (Violation of Delaware False Claims and Reporting Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Delaware, or its political subdivisions, false or fraudulent claims

for payment or approval, in violation of Del. Code Ann. tit. 6, §1201(a)(1).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to get false or fraudulent claims paid or approved by the State of

Delaware, or its political subdivisions, in violation of Del. Code Ann. tit. 6, §1201(a)(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, increase or decrease an obligation to pay or transmit



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money to the State of Delaware, or its political subdivisions, in violation of Del. Code Ann. tit. 6,

§ 120l(a)(7).

                The State of the State of Delaware, or its political subdivisions, unaware of the

falsity of the claims and/or statements made by Defendant, and in reliance on the accuracy of these

claims and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients

of health care programs funded by the State of Delaware.

                Because of Defendant’s actions, the State of Delaware and/or its political

subdivisions have been, and may continue to be, severely damaged.



                      (Violation of District of Columbia False Claims Act)

                Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented, or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the District, or its political subdivisions, false or fraudulent claims for

payment or approval, in violation of D.C. Code § 2-381.02(a)(l).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be used, and may still be making, using, or causing to be made or used, false

records or statements to get false claims paid or approved by the District, or its political

subdivisions, in violation of D.C. Code § 2-381.02(a)(2).



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               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the District, or its political subdivisions, in violation of D.C. Code § 2-381.02(a)(6).

               The District of Columbia, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance upon the accuracy of these claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of health

insurance programs funded by the District.

               Because of Defendant’s actions, the District of Columbia and/or its political

subdivisions have been, and may continue to be, severely damaged.



                             (Violation of Florida False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Florida, or its agencies, false or fraudulent claims for payment

or approval, in violation of Fla. Stat. § 68.082(2)(a).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

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false records or statements to get false or fraudulent claims paid or approved by the State of Florida,

or its agencies, in violation of Fla. Stat. § 68.082(2)(b).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Florida, or its agencies, in violation of Fla. Stat. § 68.082(2)(g).

                The State of Florida, or its agencies, unaware of the falsity of the claims and/or

statements made by Defendant, and in reliance on the accuracy of these claims and/or statements,

paid, and may continue to pay, for Opioids prescriptions for recipients of health insurance plans

funded by the State of Florida or its agencies.

                Because of Defendant’s actions, the State of Florida and/or its agencies have been,

and may continue to be, severely damaged.



                        (Violation of Georgia False Medicaid Claims Act)

                Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to the

Georgia Medicaid program false or fraudulent claims for payment or approval, in violation of Ga.

Code Ann. § 49-4-168.1(a)(1).



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               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to get false or fraudulent claims paid or approved by the Georgia

Medicaid program, in violation of Ga. Code Ann. § 49-4-168.1(a)(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Georgia, or its political subdivisions, in violation of Ga. Code Ann. § 49-4-

168.1(a)(7).

               The State of Georgia, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of Medicaid.

               Because of Defendant’s actions, the State of Georgia and/or political subdivisions

have been, and may continue to be, severely damaged.



                            (Violation of Hawaii False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

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officer or employee of the State of Hawaii, or its political subdivisions, false or fraudulent claims

for payment or approval, in violation of Haw. Rev. Stat. § 661-21(a)(l).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made and used, and may still be making, using, or causing to be made or

used, false records or statements to get false or fraudulent claims paid or approved by the State of

Hawaii, or its political subdivisions, in violation of Haw. Rev. Stat. § 661-21(a)(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Hawaii, or its political subdivisions, in violation of Haw. Rev. Stat. § 661-21(a)(7).

               The State of Hawaii, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance upon the accuracy of these claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state

funded health insurance programs.

               Because of Defendant’s actions, the State of Hawaii and/or its political subdivisions

have been, and may continue to be, severely damaged.



                             (Violation of Illinois False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

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                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of 740 Ill. Comp. Stat. 175/3(a)(1)(A).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to get false or fraudulent claims paid or approved by the State

of Illinois, or its political subdivisions, in violation of 740 Ill. Comp. Stat. 175/3(a)(1)(B).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to conceal, avoid or decrease an obligation to pay or transmit

money to the State of Illinois, or its political subdivisions, in violation of 740 Ill. Comp. Stat.

175/3(a)(1)(G).

                The State of Illinois, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of those claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state

funded health insurance programs.

                Because of Defendant’s actions, the State of Illinois and/or its political subdivisions

have been, and may continue to be, severely damaged.




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            (Violation of Indiana False Claims and Whistleblower Protection Act)

                Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly or

intentionally presented, or caused to be presented, and may still be presenting or causing to be

presented, false claims to the State of Indiana, or its political subdivisions, for payment or approval,

in violation of Ind. Code § 5-11-5.5-2(b)(l).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly or

intentionally made, used, or caused to be made or used, and may still be making, using, or causing

to be made or used, false records or statements to obtain payment or approval of false claims from

the State of Indiana, or its political subdivisions, in violation of Ind. Code § 5-11-5.5-2(b)(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly or

intentionally made, used, or caused to be made or used, and may still be making, using, or causing

to be made or used, false records or statements to avoid an obligation to pay or transmit money to

the State of Indiana, or its political subdivisions, in violation of Ind. Code § 5-11-5.5-2(b)(6).

                The State of Indiana, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of those claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state

funded health insurance programs.

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               Because of Defendant’s actions, the State of Indiana and/or its political

subdivisions have been, and may continue to be, severely damaged.



                              (Violation of Iowa False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance for the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

presented, or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of Iowa Code § 685.2(1)(a).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to false or fraudulent claims, in violation of Iowa Code §

685.2(1)(b).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Iowa, or its political subdivisions, in violation of Iowa Code § 685.2(1)(g).

               The State of Iowa, or its political subdivisions, unaware of the falsity of the claims

and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or



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statements, paid for Opioids prescriptions for recipients of health insurance programs funded by

the state or its political subdivisions.

                Because of Defendant’s actions, the State of Iowa and/or its political subdivisions

have been, and may continue to be, severely damaged.



             (Violation of Louisiana Medical Assistance Programs Integrity Law)

                Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented, or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims, in violation of La. Rev. Stat. Ann. § 46:438.3(A).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

engaged in misrepresentation, and may still be engaging in misrepresentation, to obtain, or attempt

to obtain, payment from medical assistance programs funds, in violation of La. Rev. Stat. Ann. §

46:438.3(B).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

submitted, and may continue to submit, claims for goods, services or supplies which were

medically unnecessary or which were of substandard quality or quantity, in violation of La. Rev.

Stat. Ann. § 46:438.3(D).



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               The State of Louisiana, its medical assistance programs, political subdivisions,

and/or the Department, unaware of the falsity of the claims and/or statements made by Defendant,

or their actions as set forth above, acted in reliance, and may continue to act in reliance, on the

accuracy of Defendant’s claims and/or statements in paying for Opioids prescriptions for medical

assistance program recipients.

               Because of Defendant’s actions, as set forth above, the State of Louisiana, its

medical assistance programs, political subdivisions, and/or the Department have been, and may

continue to be, severely damaged.



                       (Violation of Maryland False Health Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of Md. Code Ann., Health-Gen. § 2-

602(a)(1).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to false or fraudulent claims, in violation of Md. Code Ann.,

Health-Gen. § 2-602(a)(2).



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                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Maryland, or its political subdivisions, in violation of Md. Code Ann., Health-Gen.

§ 2-602(a)(8).

                 The State of Maryland, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid for Opioids prescriptions for recipients of health insurance programs funded by

the state or its political subdivisions.

                 Because of Defendant’s actions, the State of Maryland and/or its political

subdivisions have been, and may continue to be, severely damaged.



                          (Violation of Massachusetts False Claims Act)

                 Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of Mass. Gen. Laws ch. 12 § 5B(1).

                 Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

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false records or statements to obtain payment or approval of claims by the Commonwealth of

Massachusetts, or its political subdivisions, in violation of Mass. Gen. Laws ch. 12 § 5B(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the Commonwealth of Massachusetts, or its political subdivisions, in violation of Mass. Gen.

Laws ch. 12 § 5B(8).

               The Commonwealth of Massachusetts, or its political subdivisions, unaware of the

falsity of the claims and/or statements made by Defendant, and in reliance on the accuracy of these

claims and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients

of health insurance programs funded by the state or its political subdivisions.

               Because of Defendant’s actions, the Commonwealth of Massachusetts and/or its

political subdivisions have been, and may continue to be, severely damaged.



                       (Violation of Michigan Medicaid False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made

or caused to be made, and may still be making or causing to be made, false statements or false

representations of material facts in an application for Medicaid benefits, in violation of Mich.

Comp. Laws § 400.603(1).

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               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made

or caused to be made false statements or false representations of a material fact for use in

determining rights to a Medicaid benefit, in violation of Mich. Comp. Laws § 400.603(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

concealed or failed to disclose, and may still be concealing or failing to disclose, an event affecting

its initial or continued right to receive a Medicaid benefit, or the initial or continued right of any

other person on whose behalf Defendant has applied for or is receiving a benefit with intent to

obtain a benefit to which Defendant were not entitled or in an amount greater than that to which

Defendant were entitled, in violation of Mich. Comp. Laws § 400.603(3).

               Defendant, in possession of facts under which they are aware or should be aware

of the nature of their conduct and that their conduct is substantially certain to cause the payment

of a Medicaid benefit, knowingly made, presented, or caused to be made or presented, and may

still be making, presenting, or causing to be presented, to an employee or officer of the State of

Michigan, or its political subdivisions, false claims under the Social Welfare Act, Mich. Comp.

Laws §§ 400.1-400.122, in violation of Mich. Comp. Laws § 400.607(1).

               The State of Michigan, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of Medicaid.

               Because of Defendant’s actions, the State of Michigan and/or its political

subdivisions have been, and may continue to be, severely damaged.



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                           (Violation of Minnesota False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Minnesota, or its political subdivisions, false or fraudulent

claims for payment or approval, in violation of Minn. Stat. § 15C.02(a)(1).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to get false or fraudulent claim paid or approved by the State of

Minnesota, or its political subdivisions, in violation of Minn. Stat. § 15C.02(a)(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Minnesota, or its political subdivisions, in violation of Minn. Stat. § 15C.02(a)(7).

               The State of Minnesota, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state and

state subdivision funded health insurance programs.

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               Because of Defendant’s actions, the State of Minnesota and/or its political

subdivisions have been, and may continue to be, severely damaged.



                            (Violation of Montana False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Montana, or its political subdivisions, false or fraudulent claims

for payment or approval, in violation of Mont. Code Ann. § 17-8-403(1)(a).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to get false or fraudulent claims paid or approved by the State of

Montana, or its political subdivisions, in violation of Mont. Code Ann. § 17-8-403(1)(b).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Montana, or its political subdivisions, in violation of Mont. Code Ann. § 17-8-

403(1)(g).



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               The State of Montana, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of health

insurance programs funded by the state or its political subdivisions.

               Because of Defendant’s actions, the State of Montana and/or its political

subdivisions have been, and may continue to be, severely damaged.



                            (Violation of Nevada False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

claims for payment or approval, in violation of Nev. Rev. Stat. § 357.040(1)(a).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to obtain payment or approval of false claims, in violation of Nev. Rev.

Stat. § 357.040(1)(b).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,



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false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Nevada, or its political subdivisions, in violation of Nev. Rev. Stat. § 357.040(1)(g).

               The State of Nevada, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of health

insurance programs funded by the state or its political subdivisions.

               Because of Defendant’s actions, the State of Nevada and/or its political

subdivisions have been, and may continue to be, severely damaged.



                           (Violation of New Jersey False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly or

intentionally presented or caused to be presented, and may still be presenting or causing to be

presented, to an employee, officer, or agent of the State of New Jersey, or to any contractor,

grantee, or other recipient of State funds, false or fraudulent claims for payment or approval, in

violation of N.J. Stat. Ann. § 2A:32C-3(a).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to made or used, and may still be making, using, or causing to be made or used,

false records or statements to get false or fraudulent claims paid or approved by the State of New

Jersey, or its political subdivisions, in violation of N.J. Stat. Ann. § 2A:32C-3(b).

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               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of New Jersey, or its political subdivisions, in violation of N.J. Stat. Ann. § 2A:32C-

3(g).

               The State of New Jersey, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of Medicaid.

               Because of Defendant’s actions, as set forth above, the State of New Jersey and/or

its political subdivisions have been, and may continue to be, severely damaged.



                   (Violation of New Mexico Fraud Against Taxpayers Act)

               Relators incorporate herein by reference the preceding paragraphs of the First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to the

State of New Mexico, or its political subdivisions, false or fraudulent claims for payment under

the Medicaid program, in violation of N.M. Stat. Ann. § 44-9-3(A)(1).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

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false records or statements to obtain false or fraudulent claims under the Medicaid program paid

for or approved by the State of New Mexico, or its political subdivisions, in violation of N.M. Stat.

Ann. § 44-9-3(A)(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of New Mexico, or its political subdivisions, relative to the Medicaid program, in

violation of N.M. Stat. Ann. § 44-9-3(A)(8).

               The State of New Mexico, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for prescription drugs for recipients of health insurance

programs funded by the state or its political subdivisions.

               Because of Defendant’s actions, as set forth above, the State of New Mexico and/or

its political subdivisions have been, and may continue to be, severely damaged.



                           (Violation of New York False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of N.Y. State Fin. Law § 189(1)(a).

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               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to false or fraudulent claims, in violation of N.Y. State Fin.

Law § 189(1)(b).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to an obligation to pay or transmit money to the State of New

York, or its political subdivisions, in violation of N.Y. State Fin. Law § 189(1)(g).

               The State of New York, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of health

insurance programs funded by the state or its political subdivisions.

               Because of Defendant’s actions, set forth above, the State of New York and/or its

political subdivisions have been, and may continue to be, severely damaged.



                        (Violation of North Carolina False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly



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presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment or approval, in violation of N.C. Gen. Stat. § 1-607(a)(1).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to false or fraudulent claims, in violation of N.C. Gen. Stat. §

1-607(a)(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of North Carolina, or its political subdivisions, in violation of N.C. Gen. Stat. § 1-

607(a)(7).

               The State of North Carolina, or its political subdivisions, unaware of the falsity of

the claims and/or statements made by Defendant, and in reliance on the accuracy of these claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of health

insurance programs funded by the state or its political subdivisions.

               Because of Defendant’s actions, as set forth above, the State of North Carolina

and/or its political subdivisions have been, and may continue to be, severely damaged.



                     (Violation of Oklahoma Medicaid False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

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                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Oklahoma, or its political subdivisions, false or fraudulent

claims for payment or approval, in violation of Okla. Stat. tit. 63, § 5053.1(B)(1).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made

or caused to be made, and may still be making or causing to be made, false records or statements

to get false or fraudulent claims paid or approved by the State of Oklahoma, or its political

subdivisions, in violation of Okla. Stat. tit. 63, § 5053.1(B)(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Oklahoma, or its political subdivisions, in violation of Okla. Stat. tit. 63, §

5053.1(B)(7).

                The State of Oklahoma, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of Medicaid.

                Because of Defendant’s actions, as set forth above, the State of Oklahoma and/or

its political subdivisions have been, and may continue to be, severely damaged.




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                         (Violation of Rhode Island False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Rhode Island or a member of Rhode Island’s National Guard,

false or fraudulent claims for payment or approval, in violation of R.I. Gen. Laws § 9-1.1-3(a)(1).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made

or caused to be made, and may still be making or causing to be made, false records or statements

to get false or fraudulent claims paid or approved by the State of Rhode Island, or its political

subdivisions, in violation of R.I. Gen. Laws § 9-1.1-3(a)(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the State of Rhode Island, or its political subdivisions, in violation of R.I. Gen. Laws § 9-1.1-

3(a)(7).

               The State of Rhode Island, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of Medicaid.

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               Because of Defendant’s actions, as set forth above, the State of Rhode Island and/or

its political subdivisions have been, and may continue to be, severely damaged.



                     (Violation of Tennessee Medicaid False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to the

State of Tennessee, or its political subdivisions, false or fraudulent claims for payment under the

Medicaid program, in violation of Tenn. Code Ann. § 71-5-182(a)(1)(A).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false or fraudulent records or statements to get false or fraudulent claims under the Medicaid

program paid for or approved by the State of Tennessee, or its political subdivisions, in violation

of Tenn. Code Ann. § 71-5-182(a)(1)(B).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false or fraudulent records or statements to conceal, avoid or decrease an obligation to pay or

transmit money to the State of Tennessee, or its political subdivisions, relative to the Medicaid

program, in violation of Tenn. Code Ann. § 71-5-182(a)(1)(D).

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               The State of Tennessee, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for Opioids prescriptions for recipients of the Medicaid

program.

               Because of Defendant’s actions, as set forth above, the State of Tennessee and/or

its political subdivisions have been, and may continue to be, severely damaged.



       (Violation of Texas Medical Assistance Program, Damages, and Penalties Act)

               Relators incorporate herein by reference the preceding paragraphs of the First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made

or caused to be made, and may still be making or causing to be made, false statements or

misrepresentations of material fact that permitted Defendant to receive a benefit or payment under

the Medicaid program that was not authorized or that was greater than the benefit or payment that

was authorized, in violation of Tex. Hum. Res. Code Ann. § 36.002(1).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

concealed or failed to disclose, or caused to be concealed or not disclosed—and may still be

concealing or failing to disclose, or causing to be concealed or not disclosed—information that

permitted Defendant to receive a benefit or payment under the Medicaid program that was not

authorized or that was greater than the payment that was authorized, in violation of Tex. Hum.

Res. Code Ann. § 36.002(2).

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               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

caused to be made, induced, or sought to induce, and may still be making, causing to be made,

inducing, or seeking to induce, false statements or misrepresentations of material fact concerning

information required to be provided by a federal or state law, rule, regulation or provider agreement

pertaining to the Medicaid program, in violation of Tex. Hum. Res. Code Ann. § 36.002(4)(B).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

and may still be making, claims under the Medicaid program for products that were inappropriate,

in violation of Tex. Hum. Res. Code Ann. § 36.002(7)(C).

               The State of Texas, or its political subdivisions, unaware of the falsity of the claims

and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for prescription drugs for recipients of Medicaid.

               Because of Defendant’s actions, as set forth above, the State of Texas and/or its

political subdivisions have been, and may continue to be, severely damaged.



                            (Violation of Vermont False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of the First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made

or caused to be made, and may still be making or causing to be made, false statements or

misrepresentations of material fact that permitted Defendant to receive a benefit or payment under

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the Medicaid program that was not authorized or that was greater than the benefit or payment that

was authorized, in violation of Vt. Stat. Ann. tit. 32, § 631(a)(1)-(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

concealed or failed to disclose, or caused to be concealed or not disclosed—and may still be

concealing or failing to disclose, or causing to be concealed or not disclosed—information that

permitted Defendant to receive a benefit or payment under the Medicaid program that was not

authorized or that was greater than the payment that was authorized, in violation of Vt. Stat. Ann.

tit. 32, § 631(a).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

caused to be made, induced, or sought to induce, and may still be making, causing to be made,

inducing, or seeking to induce, false statements or misrepresentations of material fact concerning

information required to be provided by a federal or state law, rule, regulation or provider agreement

pertaining to the Medicaid program, in violation of Vt. Stat. Ann. tit. 32, § 631(a)(2).

                Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

and may still be making, claims under the Medicaid program for products that were inappropriate,

in violation of Vt. Stat. Ann. tit. 32, § 631(a).

                The State of Vermont, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims and/or

statements, paid, and may continue to pay, for prescription drugs for recipients of Medicaid.



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               Because of Defendant’s actions, as set forth above, the State of Vermont and/or its

political subdivisions have been, and may continue to be, severely damaged.



                    (Violation of Virginia Fraud Against Taxpayers Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the Commonwealth of Virginia, or its political subdivisions, false or

fraudulent claims for payment or approval, in violation of Va. Code Ann. § 8.01-216.3(A)(1).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to get false or fraudulent claims paid or approved by the

Commonwealth of Virginia, or its political subdivisions, in violation of Va. Code Ann. § 8.01-

216.3(A)(2).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

to the Commonwealth of Virginia, or its political subdivisions, in violation of Va. Code Ann. §

8.01-216.3(A)(7).

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               The Commonwealth of Virginia, or its political subdivisions, unaware of the falsity

of the claims and/or statements made by Defendant, and in reliance upon the accuracy of these

claims and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients

of state funded health insurance programs.

               Because of Defendant’s actions, as set forth above, the Commonwealth of Virginia

and/or its political subdivisions have been, and may continue to be, severely damaged.



                     (Violation of Washington Medicaid False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, false

or fraudulent claims for payment of approval, in violation of Wash. Rev. Code § 74.66.020(1)(a).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements material to false or fraudulent claims, in violation of Wash. Rev. Code

§ 74.66.020(1)(b).

               Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of the

information involved, or with actual knowledge of the falsity of the information, knowingly made,

used, or caused to be made or used, and may still be making, using, or causing to be made or used,

false records or statements to conceal, avoid, or decrease an obligation to pay or transmit money

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to the State of Washington, or its political subdivisions, in violation of Wash. Rev. Code §

74.66.020(1)(g).

               The State of Washington, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance upon the accuracy of these claims

and/or statements, paid, and may continue to pay, for Opioids prescriptions for recipients of state

funded health insurance programs.

               Because of Defendant’s actions, as set forth above, the State of Washington and/or

its political subdivisions have been, and may continue to be, severely damaged.

                                        COUNT XXXVI

                            (Violation of Chicago False Claims Act)

               Relators incorporate herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

               This is a claim for treble damages and penalties against all Defendant on behalf of

the City of Chicago under the Chicago False Claims Act, Municipal Code of Chicago § 1-22-010-

§1-22-060.

               By virtue of the above-alleged acts, among others, Defendant knowingly and

willfully promoted Opioids for unapproved and unsafe uses.

               By virtue of the above-alleged acts, Defendant knowingly made or caused to be

made false claims for Defendant’s drugs to the City of Chicago.

               By virtue of the above-alleged acts, Defendant knowingly made, used, or caused to

be made or used false records and statements, and omitted material facts, to induce the City of

Chicago to approve and pay such false and fraudulent claims.



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               The Chicago City Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

continues to pay the claims that would not be paid but for Defendant’s illegal inducements and/or

business practices.

               By reason of the Defendant’s unlawful acts, the City of Chicago has been damaged,

and continues to be damaged, in substantial amount to be determined at trial.

                                         COUNT XXXVI

                      (Violation of Hallandale Beach False Claims Ordinance)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               By virtue of the above-described acts, Defendants knowingly and willfully

promoted Opioids for unapproved and unsafe uses.

               By virtue of the above-described acts, Defendants knowingly made or caused to be

made false claims for Defendants’ drugs to the Hallandale Beach City Government.

               By virtue of the above-described acts, Defendants knowingly made, used, or caused

to be made or used false records and statements, and omitted material facts, to induce the

Hallandale Beach City Government to approve and pay such false and fraudulent claims.

               The Hallandale Beach City Government, unaware of the falsity of the records,

statements and claims made, used, presented or caused to be made, used or presented by

Defendants, paid and continues to pay the claims that would not be paid but for Defendants’ illegal

inducements and/or business practices.

               By reason of the Defendants’ unlawful acts, the City of Hallandale Beach has been

damaged, and continues to be damaged, in substantial amount to be determined at trial.

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                                       COUNT XXXVII

                      (Violation of Broward County False Claims Ordinance)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               By virtue of the above-described acts, Defendants knowingly made or caused to be

made false claims for Defendants’ drugs to the Broward County Government.

               By virtue of the above-described acts, Defendants knowingly made, used, or caused

to be made or used false records and statements, and omitted material facts, to induce the Broward

County Government to approve and pay such false and fraudulent claims.

               The Broward County Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ illegal inducements and/or

business practices.

               By reason of the Defendants’ unlawful acts, Broward County has been damaged,

and continues to be damaged, in substantial amount to be determined at trial.



                                       COUNT XXXVIII

                        (Violation of Miami-Dade False Claims Ordinance)

               Relators incorporate herein by reference the preceding paragraphs of this First

Amended Complaint as though fully set forth herein.

               By virtue of the above-described acts, Defendants knowingly made or caused to be

made false claims for Defendants’ drugs to the Miami-Dade County Government.




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               By virtue of the above-described acts, Defendants knowingly made, used, or caused

to be made or used false records and statements, and omitted material facts, to induce the Miami-

Dade County Government to approve and pay such false and fraudulent claims.

               The Miami-Dade County Government, unaware of the falsity of the records,

statements and claims made, used, presented or caused to be made, used or presented by

Defendants, paid and continues to pay the claims that would not be paid but for Defendants’ illegal

inducements and/or business practices.

               By reason of the Defendants’ unlawful acts, Miami-Dade County has been

damaged, and continues to be damaged, in substantial amount to be determined at trial.



X.     PRAYER FOR RELIEF

       WHEREFORE, Relators prays for judgment against Defendant as follows:

       A.       That Defendants be ordered to cease and desist from submitting any more false

claims, or further violating 31 U.S.C. §§ 3729 et seq.; Cal. Gov’t Code §§ 12650 et seq.; Colo.

Rev. Stat. §§ 25.5-4-304 et seq.; Conn. Gen. Stat. §§ 4-274 et seq.; Del. Code Ann. tit. 6, §§ 1201

et seq.; D.C. Code §§ 2-381.01 et seq.; Fla. Stat. §§ 68.081 et seq.; Ga. Code Ann. §§ 49-4-168 et

seq.; Haw. Rev. Stat. §§ 661-21 et seq.; 740 Ill. Comp. Stat. §§ 175/1 et seq.; Ind. Code §§ 5-11-

5.7 et seq.; Iowa Code tit. 15 §§ 685.1 et seq.; La. Rev. Stat. Ann. §§ 46:437.1 et seq.; Md. Code

Ann., Health Gen. §§ 2-601 et seq.; Mass. Gen. Laws ch. 12, §§ 5A et seq.; Mich. Comp. Laws

§§ 400.601 et seq.; Minn. Stat. §§ 15C.01 et seq.; Mont. Code Ann. §§ 17-8-401 et seq.; Nev. Rev.

Stat. §§ 357.010 et seq.; N.J. Stat. Ann. §§ 2A:32C-1 et seq.; N.M. Stat. Ann. §§ 44-9-3(C)(1) et

seq.; N.Y. State Fin. Law Art. XIII §§ 187 et seq.; N.C. Gen. Stat. §§ 1-605 et seq.; Okla. Stat. tit.
63, §§ 5053 et seq.; R.I. Gen. Laws §§ 9-1.1-1 et seq.; Tenn. Code Ann. §§ 71-5-181 et seq.; Tex.

Hum. Res. Code Ann. §§ 36.001 et seq.; Tex. Hum. Res. Code. Ann. §§ 32.039 et seq.; Va. Code


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Ann. §§ 8.01-216.1 et seq.; Vt. Stat. Ann. tit. 32, §§ 630 et seq.; Wash Rev. Code §§ 74.66.005 et

seq.; 2018 P.R. Act 154 (H.B. 1627); Chicago Mun. Code §§ 1-21-010 et seq.; Hallandale Beach

Code of Ordinances §§ 8-201 et seq.; Broward Cnty. Code of Ordinances §§ 1-276 et seq.; Miami-

Dade Cty. Code §§ 21-255 et seq.;

        B.       That judgment be entered against Defendants in the amount of each false or

fraudulent claim, multiplied as provided for in 31 U.S.C. § 3729(a), plus a civil penalty of not less

than eleven thousand four hundred sixty-three dollars ($11,463) or more than twenty-two thousand

nine hundred twenty-seven dollars ($22,927) per false claim, as provided by 31 U.S.C. § 3729(a)

and 15 C.F.R. § 63(a)(3),306 to the extent such multiplied penalties shall fairly compensate the

United States of America for losses resulting from the various schemes undertaken by Defendants,

together with penalties for specific claims to be identified at trial after full discovery;

        C.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of California or its political subdivisions multiplied as

provided for in Cal. Gov’t Code § 12651(a), plus a civil penalty of not less than eleven thousand

four hundred sixty-three dollars ($11,463) or more than twenty-two thousand nine hundred twenty-

seven dollars ($22,927) per false claim, as provided by Cal. Gov’t Code § 12651(a),307 to the extent

such penalties shall fairly compensate the State of California or its political subdivisions for losses
resulting from the various schemes undertaken by Defendants, together with penalties for specific

claims to be identified at trial after full discovery;

        D.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Colorado or its political subdivisions multiplied as

provided for in Colo. Rev. Stat. § 25.5-4-305(1), plus a civil penalty of not less than the minimum


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civil penalty and not more than the maximum civil penalty allowed under the federal False Claims

Act (31 U.S.C. § 3729(a)(1)) per false claim, as provided by Colo. Rev. Stat. § 25.5-4-305(1), to

the extent such multiplied penalties shall fairly compensate the State of Colorado or its political

subdivisions for losses resulting from the various schemes undertaken by Defendants, together

with penalties for specific claims to be identified at trial after full discovery;

        E.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Connecticut multiplied as provided for in Conn. Gen.

Stat. § 4-275(b)(2), plus a civil penalty of not less than eleven thousand four hundred sixty-three

dollars ($11,463) or more than twenty-two thousand nine hundred twenty-seven dollars ($22,927)

per false claim, as provided by Conn. Gen. Stat. § 4-275(b)(1),308 to the extent such multiplied

penalties shall fairly compensate the State of Connecticut for losses resulting from the various

schemes undertaken by Defendants, together with penalties for specific claims to be identified at

trial after full discovery;

        F.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Delaware multiplied as provided for in Del. Code Ann.

tit. 6, §1201(a), plus a civil penalty of not less than five thousand five hundred dollars ($5,500) or

more than eleven thousand dollars ($11,000) per false claim, as provided by Del. Code Ann. tit. 6,
§1201(a), to the extent such multiplied penalties shall fairly compensate the State of Delaware for

losses resulting from the various schemes undertaken by Defendants, together with penalties for

specific claims to be identified at trial after full discovery;

        G.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the District of Columbia, multiplied as provided for in D.C. Code § 2-

381.02(a), plus a civil penalty of not less than five thousand five hundred dollars ($5,500) or more


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than eleven thousand dollars ($11,000) per false claim, and the costs of this civil action brought to

recover such penalty and damages, as provided by D.C. Code § 2-381.02(a), to the extent such

multiplied penalties shall fairly compensate the District of Columbia for losses resulting from the

various schemes undertaken by Defendants, together with penalties for specific claims to be

identified at trial after full discovery;

        H.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Florida or its agencies multiplied as provided for in Fla.

Stat. § 68.082(2), plus a civil penalty of not less than five thousand five hundred dollars ($5,500)

or more than eleven thousand dollars ($11,000) per false claim, as provided by Fla. Stat. Ann.

§ 68.082(2), to the extent such multiplied penalties shall fairly compensate the State of Florida or

its agencies for losses resulting from the various schemes undertaken by Defendants, together with

penalties for specific claims to be identified at trial after full discovery;

        I.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Georgia or its political subdivisions multiplied as provided

for in Ga. Code Ann. § 49-4-168.1(a), plus a civil penalty of not less than five thousand five

hundred dollars ($5,500) or more than eleven thousand dollars ($11,000) per false claim, as

provided by Ga. Code Ann. § 49-4-168.1(a), to the extent such multiplied penalties shall fairly
compensate the State of Georgia or its political subdivisions for losses resulting from the various

schemes undertaken by Defendants, together with penalties for specific claims to be identified at

trial after full discovery;

        J.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Hawaii, multiplied as provided for in Haw. Rev. Stat.

§ 661-21(a), plus a civil penalty of not less than five thousand five hundred dollars ($5,500) or

more than eleven thousand dollars ($11,000) per false claim, as provided by Haw. Rev. Stat. § 661-
21(a), to the extent such multiplied penalties shall fairly compensate the State of Hawaii for losses



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resulting from the various schemes undertaken by Defendants, together with penalties for specific

claims to be identified at trial after full discovery;

        K.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Illinois, multiplied as provided for in 740 Ill. Comp. Stat.

§ 175/3(a)(1)(A), plus a civil penalty of not less than five thousand five hundred dollars ($5,500)

or more than eleven thousand dollars ($11,000) per false claim, as provided by 740 Ill. Comp. Stat.

§ 175/3(a)(1)(A), and the costs of this civil action as provided by 740 Ill. Comp. Stat.

§ 175/3(a)(1)(B), to the extent such penalties shall fairly compensate the State of Illinois for losses

resulting from the various schemes undertaken by Defendants, together with penalties for specific

claims to be identified at trial after full discovery;

        L.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Indiana, multiplied as provided for in Ind. Code § 5-11-

5.5-2(b), plus a civil penalty of at least five thousand dollars ($5,000) per false claim, as provided

by Ind. Code § 5-11-5.5-2(b), to the extent such penalties shall fairly compensate the State of

Indiana for losses resulting from the various schemes undertaken by Defendants, together with

penalties for specific claims to be identified at trial after full discovery;

        M.       That judgment be entered in Relators’ favor and against Defendants in the amount
of the damages sustained by the State of Iowa, multiplied as provided for in Iowa Code § 685.2(1),

plus a civil penalty of not less than eleven thousand four hundred sixty-three dollars ($11,463) or

more than twenty-two thousand nine hundred twenty-seven dollars ($22,927) per false claim,309 as

provided by Iowa Code § 685.2(1), to the extent such multiplied penalties shall fairly compensate

the State of Iowa or its political subdivisions for losses resulting from the various schemes




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undertaken by Defendants, together with penalties for specific claims to be identified at trial after

full discovery;

        N.        That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by Louisiana’s medical assistance programs, multiplied as provided for

in La. Rev. Stat. Ann. § 46:438.6(B)(2), plus a civil penalty of no less than five thousand five

hundred dollars ($5,500) and no more than eleven thousand dollars ($11,000) per false claim, plus

payment of interest as provided for in La. Rev. Stat. Ann. § 46:438.6(C)(1)(b), to the extent such

multiplied fines and penalties shall fairly compensate the State of Louisiana’s medical assistance

programs for losses resulting from the various schemes undertaken by Defendants, together with

penalties for specific claims to be identified at trial after full discovery;

        O.        That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of Maryland or its political subdivisions for the value of payments or benefits provided,

directly or indirectly, as a result of Defendants’ unlawful acts, as provided for in Md. Code Ann.,

Health-Gen. § 2-602(a), multiplied as provided for in Md. Code Ann., Health-Gen. § 2-

602(b)(1)(ii), plus a civil penalty of not more than ten thousand dollars ($10,000) per false claim,

pursuant to Md. Code Ann., Health-Gen. § 2-602(b)(1)(i), to the extent such penalties fairly

compensate the State of Maryland or its political subdivisions for losses resulting from the various
schemes undertaken by Defendants, together with penalties for specific claims to be identified at

trial after full discovery;

        P.        That judgment be entered in Relators’ favor and against Defendants for restitution

to the Commonwealth of Massachusetts or its political subdivisions in the amount of a civil penalty

of not less than eleven thousand four hundred sixty-three dollars ($11,463) or more than twenty-

two thousand nine hundred twenty-seven dollars ($22,927) per false claim, plus three times the

amount of damages, including consequential damages, sustained by Massachusetts as the result of
Defendants’ actions, plus the expenses of the civil action brought to recover such penalties and



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damages, as provided by Mass. Gen. Laws ch. 12. § 5B,310 to the extent such penalties shall fairly

compensate the Commonwealth of Massachusetts or its political subdivisions for losses resulting

from the various schemes undertaken by Defendants, together with penalties for specific claims to

be identified at trial after full discovery;

        Q.       That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of Michigan or its political subdivisions for the value of payments or benefits provided

as a result of Defendants’ unlawful acts, plus a civil penalty of triple the amount of damages

suffered by Michigan as a result of Defendants’ unlawful conduct, as well as not less than five

thousand dollars ($5,000) or more than ten thousand dollars ($10,000) per false claim, as provided

by Mich. Comp. Laws § 400.612(1), as well as the costs incurred by both Michigan and Relators,

as provided by §§ 400.610a(9) and 400.610b, in order to fairly compensate the State of Michigan

or its political subdivisions for losses resulting from the various schemes undertaken by

Defendants, together with penalties for specific claims to be identified at trial after full discovery;

        R.       That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of Minnesota or its political subdivisions for the value of payments or benefits provided

as a result of Defendants’ unlawful acts, plus a civil penalty of triple the amount of damages

suffered by Minnesota as a result of Defendants’ unlawful conduct, as well as not less than five
thousand five hundred dollars ($5,500) or more than eleven thousand dollars ($11,000) per false

claim, as provided by Minn. Stat. § 15C.02(a), as well as the costs incurred by both Michigan and

Relators, as provided by Minn. Stat. § 15C.12, in order to fairly compensate Minnesota or its

political subdivisions for losses resulting from the various schemes undertaken by Defendants,

together with penalties for specific claims to be identified at trial after full discovery;




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        S.       That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of Montana or its political subdivisions for the value of payments or benefits provided,

directly or indirectly, as a result of Defendants’ unlawful acts, as provided for in Mont. Code Ann.

§ 17-8-403, multiplied as provided for in Mont. Code Ann. § 17-8-403(2), plus a civil penalty of

not less than five thousand dollars ($5,000) or more than ten thousand dollars ($10,000) per false

claim, pursuant to Mont. Code Ann. § 17-8-403(2), to the extent such multiplied penalties shall

fairly compensate the State of Montana or its political subdivisions for losses resulting from the

various schemes undertaken by Defendants, together with penalties for specific claims to be

identified at trial after full discovery;

        T.       That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of Nevada for the value of payments or benefits provided, directly or indirectly, as a

result of Defendants’ unlawful acts, as provided for in Nev. Rev. Stat. § 357.040, multiplied as

provided for in Nev. Rev. Stat. § 357.040(1), plus a civil penalty of not less than eleven thousand

four hundred sixty-three dollars ($11,463) or more than twenty-two thousand nine hundred twenty-

seven dollars ($22,927) per false claim, pursuant to Nev. Rev. Stat. § 357.040(2)(c),311 to the

extent such multiplied penalties shall fairly compensate the State of Nevada for losses resulting

from the various schemes undertaken by Defendants, together with penalties for specific claims to
be identified at trial after full discovery;

        U.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of New Jersey or its political subdivisions multiplied as

provided for in N.J. Stat. Ann. § 2A:32C-3, plus a civil penalty of not less than the minimum civil

penalty and not more than the maximum civil penalty allowed under the federal False Claims Act

(31 U.S.C. § 3729(a)(1)) per false claim, to the extent such multiplied penalties shall fairly


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compensate the State of New Jersey or its political subdivisions for losses resulting from the

various schemes undertaken by Defendants, together with penalties for specific claims to be

identified at trial after full discovery;

        V.       That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of New Mexico or its political subdivisions for the value of payments or benefits

provided, directly or indirectly, as a result of Defendants’ unlawful acts, as provided for in N.M.

Stat. Ann. § 44-9-3(C), multiplied as provided for in N.M. Stat. Ann. § 44-9-3(C)(1), plus a civil

penalty of not less than five thousand dollars ($5,000) and not more than ten thousand dollars

($10,000) per false claim, as provided by N.M. Stat. Ann. § 44-9-3(C)(2), to the extent such

multiplied penalties shall fairly compensate the State of New Mexico or its political subdivisions

for losses resulting from the various schemes undertaken by Defendants, together with penalties

for specific claims to be identified at trial after full discovery, as well as the costs of this action

and reasonable attorney fees as provided by N.M. Stat. Ann. § 44-9-3(C)(3)-(4);

        W.       That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of New York or its political subdivisions for the value of payments or benefits

provided, directly or indirectly, as a result of Defendants’ unlawful acts, as provided for in N.Y.

State Fin. Law § 189(1), multiplied as provided for in N.Y. State Fin. Law § 189(1), plus a civil
penalty of not less than six thousand dollars ($6,000) or more than twelve thousand dollars

($12,000) per false claim, pursuant to N.Y. State Fin. Law § 189(1), to the extent such multiplied

penalties shall fairly compensate the State of New York or its political subdivisions for losses

resulting from the various schemes undertaken by Defendants, together with penalties for specific

claims to be identified at trial after full discovery;

        X.       That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of North Carolina for the value of payments or benefits provided, directly or indirectly,
as a result of Defendants’ unlawful acts, as provided for in N.C. Gen. Stat. § 1-607, multiplied as



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provided for in N.C. Gen. Stat. § 1-607(a), plus a civil penalty of not less than five thousand five

hundred dollars ($5,500) or more than eleven thousand dollars ($11,000) per false claim, as

provided by N.C. Gen. Stat. § 1-607(a), to the extent such multiplied penalties shall fairly

compensate the State of North Carolina for losses resulting from the various schemes undertaken

by Defendants, together with penalties for specific claims to be identified at trial after full

discovery;

        Y.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Oklahoma or its political subdivisions multiplied as

provided for in Okla. Stat. tit. 63, § 5053.1(B), plus a civil penalty of not less than five thousand

dollars ($5,000) or more than ten thousand dollars ($10,000) per false claim, as provided by Okla.

Stat. tit. 63, § 5053.1(B), to the extent such multiplied penalties shall fairly compensate the State

of Oklahoma or its political subdivisions for losses resulting from the various schemes undertaken

by Defendants, together with penalties for specific claims to be identified at trial after full

discovery;

        Z.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Rhode Island or its political subdivisions multiplied as

provided for in R.I. Gen. Laws § 9-1.1-3(a), plus a civil penalty of not less than five thousand five
hundred dollars ($5,500) or more than eleven thousand dollars ($11,000) per false claim, as

provided by R.I. Gen. Laws § 9-1,1-3(a), to the extent such multiplied penalties shall fairly

compensate the State of Rhode Island or its political subdivisions for losses resulting from the

various schemes undertaken by Defendants, together with penalties for specific claims to be

identified at trial after full discovery;

        AA.      That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of Tennessee for the value of payments or benefits provided, directly or indirectly, as
a result of Defendants’ unlawful acts, as provided for in Tenn. Code Ann. § 71-5-182, multiplied



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as provided for in Tenn. Code Ann. § 71-5-182(a)(l), plus a civil penalty of not less than five

thousand dollars ($5,000) or more than twenty-five thousand dollars ($25,000) per false claim,

pursuant to Tenn. Code Ann. § 71-5-182(a)(l),312 to the extent such multiplied penalties shall fairly

compensate the State of Tennessee for losses resulting from the various schemes undertaken by

Defendants, together with penalties for specific claims to be identified at trial after full discovery;

        BB.      That judgment be entered in Relators’ favor and against Defendants for restitution

to the State of Texas for the value of payments or benefits provided, directly or indirectly, as a

result of Defendants’ unlawful acts, as provided for in Tex. Hum. Res. Code Ann. § 36.052(a) and

Tex. Hum. Res. Code Ann. § 32.039, multiplied as provided for in Tex. Hum. Res. Code Ann.

§ 36.052(a)(4), the interest on the value of such payments or benefits at the prejudgment interest

rate in effect on the day the payment or benefit was paid or received, for the period from the date

the payment or benefit was paid or received to the date that restitution is made to the State of

Texas, pursuant to Tex. Hum. Res. Code Ann. § 36.052(a)(2), plus an administrative penalty not

to exceed twice the amount paid, as provided by Tex. Hum. Res. Code. Ann. § 32.039(c)(2), plus

a civil penalty of not less than the minimum civil penalty and not more than the maximum civil

penalty allowed under the federal False Claims Act (31 U.S.C. § 3729(a)(1)) per false claim, as

provided by Tex. Hum. Res. Code Ann. § 36.052(a)(3)(A) & (B), plus an administrative penalty
of not less than five thousand dollars ($5,000) or more than fifteen thousand dollars ($15,000) for

each unlawful act, pursuant to Tex. Hum. Res. Code. Ann. § 32.039(c)(2)(A) & (B), to the extent

such multiplied penalties shall fairly compensate the State of Texas for losses resulting from the

various schemes undertaken by Defendants, together with penalties for specific claims to be

identified at trial after full discovery;




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        CC.      That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the State of Vermont or its political subdivisions, multiplied as

provided for in Vt. Stat. Ann. tit. 32, § 631(b)(2), plus a civil penalty of not less than five thousand

five hundred dollars ($5,500) and not more than eleven thousand dollars ($11,000) per false claim,

as provided by Vt. Stat. Ann. tit. 32, § 631(b)(1), as well as the costs incurred by the State of

Vermont, as provided by Vt. Stat. Ann. tit. 32, § 631(b)(3), in order to fairly compensate the State

of Vermont or its political subdivisions for losses resulting from the various schemes undertaken

by Defendants, together with penalties for specific claims to be identified at trial after full

discovery;

        DD.      That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the Commonwealth of Virginia, multiplied as provided for in Va.

Code Ann. § 8.01-216.3(A), plus a civil penalty of not less than five thousand five hundred dollars

($5,500) or more than eleven thousand dollars ($11,000) per false claim, as provided by Va. Code

Ann. § 8.01-216.3(A), to the extent such multiplied penalties shall fairly compensate the

Commonwealth of Virginia for losses resulting from the various schemes undertaken by

Defendants, together with penalties for specific claims to be identified at trial after full discovery;

        EE.      That judgment be entered in Relators’ favor and against Defendants in the amount
of the damages sustained by the State of Washington or its political subdivisions multiplied as

provided for in Wash. Rev. Code § 74.66.020 (1), plus a civil penalty of not less than eleven

thousand four hundred sixty-three dollars ($11,463) or more than twenty-two thousand nine

hundred twenty-seven dollars ($22,927) per false claim, as provided by Wash. Rev. Code

§ 74.66.020(1) and Wash. Admin. Code § 44-02-010,313 to the extent such penalties shall fairly

compensate the State of Washington or its political subdivisions for losses resulting from the


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various schemes undertaken by Defendants, together with penalties for specific claims to be

identified at trial after full discovery;

        FF.      That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the Commonwealth of Puerto Rico and its political subdivisions,

multiplied as provided for in 2018 P.R. Act 154 (H.B. 1627), § 4.01(1)(d), plus a civil penalty of

not less than eleven thousand four hundred sixty-three dollars ($11,463) or more than twenty-two

thousand nine hundred twenty-seven dollars ($22,927) per false claim, as provided by 2018 P.R.

Act 154 (H.B. 1627), § 4.01(1)(d),314 as well as the costs incurred by Relators and the

Commonwealth of Puerto Rico, as provided by 2018 P.R. Act 154 (H.B. 1627), § 4.01(3), in order

to fairly compensate the Commonwealth of Puerto Rico or its political subdivisions for losses

resulting from the various schemes undertaken by Defendants, together with penalties for specific

claims to be identified at trial after full discovery;

        GG.      That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the City of Chicago, multiplied as provided for in Chicago Mun. Code

§ 1-22-020, plus a civil penalty of not less than five thousand dollars ($5,000) or more than ten

thousand dollars ($10,000) per false claim, as provided by Chicago Mun. Code § 1-22-020, as well

as the costs incurred by Relators and the City of Chicago, as provided by Chicago Mun. Code § 1-
22-020, in order to fairly compensate the City of Chicago for losses resulting from the various

schemes undertaken by Defendants, together with penalties for specific claims to be identified at

trial after full discovery;

        HH.      That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by the City of Hallandale Beach, multiplied as provided for in Hallandale

Beach Code of Ordinances § 8-204(c)(1), plus civil penalties, as provided by Hallandale Beach


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Code of Ordinances § 8-204(c)(5), as well as the costs incurred by Relators and the City of

Hallandale Beach, as provided by Hallandale Beach Code of Ordinances § 8-207(a), in order to

fairly compensate the City of Hallandale Beach for losses resulting from the various schemes

undertaken by Defendants, together with penalties for specific claims to be identified at trial after

full discovery;

        II.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by Broward County, multiplied as provided for in Broward Cty. Code of

Ordinances § 1-279(c)(1), as well as the costs incurred by Relators and Broward County, as

provided by Broward Cty. Code of Ordinances § 1-283(a)-(b), in order to fairly compensate

Broward County for losses resulting from the various schemes undertaken by Defendants, together

with penalties for specific claims to be identified at trial after full discovery;

        JJ.       That judgment be entered in Relators’ favor and against Defendants in the amount

of the damages sustained by Miami-Dade County, multiplied as provided for in Miami-Dade Cty.

Code § 21-258(3)(a), as well as the costs incurred by Relators and Broward County, as provided

by Miami-Dade Cty. Code §§ 21-258(3)(c), -262(1)-(2), in order to fairly compensate Miami-Dade

County for losses resulting from the various schemes undertaken by Defendants, together with

penalties for specific claims to be identified at trial after full discovery;
        KK.       That Defendants be ordered to disgorge all sums by which they have been enriched

unjustly by their wrongful conduct;

        LL.       That judgment be granted for Relators against Defendants for all costs, including,

but not limited to, court costs, expert fees and all attorneys’ fees incurred by Relators in the

prosecution of this suit;

        MM.       That the Court issue an order enjoining the Defendants from continuing to engage

in the fraudulent conduct alleged herein; and
        NN.       That this Court award such further relief as it deems just and proper.



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                                       JURY DEMAND

      Plaintiffs hereby demand a trial by jury on all claims so triable in this action.


                                             Dated: March 24, 2020

                                             BARON & BUDD, P.C.

                                             By: /s/ Scott Simmer ______________________

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